Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further1 of 402. PageID #: 224000
                                                      Confidentiality      Review

     1                 UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                               - - -
     5    IN RE:    NATIONAL                 :
          PRESCRIPTION                       :   MDL No. 2804
     6    OPIATE LITIGATION                  :
          ___________________________ :          Case No.
     7                                       :   1:17-MD-2804
          THIS DOCUMENT RELATES              :
     8    TO ALL CASES                       :   Hon. Dan A. Polster
     9                               - - -
    10                  Tuesday, January 22, 2019
    11         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                          CONFIDENTIALITY REVIEW
    12

                                     - - -
    13
    14              Videotaped deposition of CHRISTOPHER J. FORST,
    15    held at the offices of Baker & Hostetler,
    16    200 South Civic Drive, Columbus, Ohio            43215,
    17    commencing at 9:14 a.m., on the above date, before
    18    Carol A. Kirk, Registered Merit Reporter and Notary
    19    Public.
    20
    21                               - - -
    22
    23                  GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
    24                        deps@golkow.com

   Golkow Litigation Services                                             Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further2 of 402. PageID #: 224001
                                                      Confidentiality      Review

     1                 A P P E A R A N C E S:
     2    On behalf of the Plaintiffs:
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                      AMY J. QUEZON, ESQUIRE
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          On behalf of Cardinal Health, Inc.:
    10
                   WILLIAMS & CONNOLLY LLP
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          On behalf of Walmart:
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                   Columbus, Ohio 43215-2673
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   Golkow Litigation Services                                             Page 2
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further3 of 402. PageID #: 224002
                                                      Confidentiality      Review

     1    On behalf of CVS Indiana, LLC and CVS RX Services,
          Inc.:
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                   ZUCKERMAN SPAEDER LLP
     3             BY: DANIEL P. MOYLAN, ESQUIRE
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                   Baltimore, Maryland 21202
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          On behalf of Endo Pharmaceuticals, Inc.,
     7    Endo Health Solutions, Inc., and Par Pharmaceutical
          Companies, Inc. (via video stream and realtime):
     8
                   ARNOLD & PORTER KAYE SCHOLER, LLP
     9             BY: DAVID HIBEY, ESQUIRE
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                   Washington, DC 20001
    11             202-942-5041
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          On behalf of Johnson & Johnson and
    13    Janssen Pharmaceuticals:
    14           TUCKER ELLIS LLP
                 BY: GIUSEPPE W. PAPPALARDO, ESQUIRE
    15                gwp@tuckerellis.com
                 950 Main Avenue, Suite 1100
    16           Cleveland, Ohio 44113
                 216-592-5000
    17
    18    On behalf of McKesson:
    19           COVINGTON & BURLING LLP
                 BY: EMILY L. KVESELIS, ESQUIRE
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    21           850 Tenth Street, NW
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    24

   Golkow Litigation Services                                             Page 3
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further4 of 402. PageID #: 224003
                                                      Confidentiality      Review

     1    On behalf of Pernix Therapeutics (via video stream and
          realtime):
     2
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     3             BY: BRUCE CLARK, ESQUIRE
                        bruce.clark@clarkmichie.com
     4             220 Alexander Street
                   Princeton, New Jersey 08540
     5             609-423-2142
     6
          On behalf of Rochester Drug Cooperative (via video
     7    stream and realtime):
     8           ALLEGAERT BERGER & VOGEL, LLP
                 BY: LUCY N. ONYEFORO, ESQUIRE
     9                lonyeforo@abv.com
                 111 Broadway, 20th Floor
    10           New York, New York 10006
                 212-616-7060
    11
    12    On behalf of the West Virginia Board of Pharmacy
          (via video stream and realtime):
    13
                   BAILEY & WYANT, PLLC
    14             BY: JUSTIN C. TAYLOR, ESQUIRE
                        jtaylor@baileywyant.com
    15             500 Virginia Street East
                   Charleston, West Virginia 25301
    16             304-345-4222
    17
          On behalf of Christopher J. Forst:
    18
                   SYBERT, RHOAD, LACKEY & SWISHER, LLC
    19             BY: ZACHARY M. SWISHER, ESQ.
                        zach@law153group.com
    20             153 South Liberty Street
                   Powell, Ohio 43065
    21             614-785-1811
    22
    23
    24

   Golkow Litigation Services                                             Page 4
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further5 of 402. PageID #: 224004
                                                      Confidentiality      Review

     1    On behalf of UCB (via teleconference):
     2             HUGHES HUBBARD & REED, LLP
                   BY:    DIANE E. LIFTON, ESQUIRE
     3                    diane.lifton@hugheshubbard.com
                   One Battery Park Plaza
     4             New York, New York       10004
                   212-837-6860
     5
     6    On behalf of C&R Pharmacy (via teleconference):
     7              COLLINSON, DAEHNKE, INLOW & GRECO
                    BY:    AMANDA E. ROSENTHAL, ESQUIRE
     8                     amanda.rosenthal@cdiglaw.com
                    2110 East Flamingo Road, Suite 305
     9              Las Vegas, Nevada       89119
                    702-979-2132
    10
    11
    12    ALSO PRESENT:
    13         Edna Jamison, McHugh Fuller
               Mike Newell, Videographer
    14         Gina Veldman, Trial Technician
    15
    16
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   Golkow Litigation Services                                             Page 5
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further6 of 402. PageID #: 224005
                                                      Confidentiality      Review

     1     VIDEOTAPED DEPOSITION OF CHRISTOPHER J. FORST

     2                      INDEX TO EXAMINATION

     3    WITNESS                                                        PAGE

     4    CHRISTOPHER J. FORST

     5          CROSS-EXAMINATION BY MR. FULLER:                            13

     6

     7

     8

     9

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    18

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    21

    22

    23

    24

   Golkow Litigation Services                                             Page 6
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further7 of 402. PageID #: 224006
                                                      Confidentiality      Review

     1     VIDEOTAPED DEPOSITION OF CHRISTOPHER J. FORST
     2                   INDEX TO EXHIBITS
     3    CARDINAL-FORST     DESCRIPTION                                PAGE
     4    Cardinal-Forst 1   Letter to Mr. Forst from                    17
                             Mr. Moné, dated February 1,
     5                       2008, with attachments,
                             Bates-stamped CAH_MDL2804_
     6                       03195258 through 3195309
     7    Cardinal-Forst 2   E-mail to Mr. Reardon and                   46
                             others from Ms. McPherson,
     8                       dated 1/28/2008, with
                             attachments, Bates-stamped
     9                       CAH_MDL_PRIORPROD_DEA07_008
                             63981 through 863982
    10
          Cardinal-Forst 3        Document titled "Process to            63
    11                            Establish SOM Threshold
                                  Limits," Bates-stamped
    12                            CAH_MDL_PRIORPROD_AG_000001
                                  7 through 20
    13
          Cardinal-Forst 4        Chemical Handler's Manual             101
    14
          Cardinal-Forst 5        Document titled "Report to            104
    15                            the U.S. Attorney General
                                  by the Suspicious Orders
    16                            Task Force (Comprehensive
                                  Methamphetamine Control Act
    17                            of 1996)," Bates-stamped
                                  CAH_MDL_PRIORPROD_HOUSE_000
    18                            2207 through 2298
    19    Cardinal-Forst     6    21 U.S.C.A. 830                       109
    20    Cardinal-Forst     7    21 C.F.R. 1301.74                     127
    21    Cardinal-Forst     8    21 U.S.C.A. 801                       117
    22    Cardinal-Forst     9    Demonstrative prepared by             133
                                  Attorney Fuller
    23
    24

   Golkow Litigation Services                                             Page 7
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further8 of 402. PageID #: 224007
                                                      Confidentiality      Review

     1               INDEX TO EXHIBITS (CONT'D)
     2    CARDINAL-FORST     DESCRIPTION                                PAGE
     3    Cardinal-Forst 10 Document titled "On-Site                    133
                             Investigations," Bates-
     4                       stamped CAH_MDL_PRIORPROD_
                             AG_0000174 through 188
     5
          Cardinal-Forst 11       21 C.F.R. 1310.05                     139
     6
          Cardinal-Forst 12       Document titled "Detecting            148
     7                            and Reporting Suspicious
                                  Orders and Responding to
     8                            Threshold Events,"
                                  Bates-stamped CAH_MDL_
     9                            PRIORPROD_HOUSE_0001004
                                  through 1010
    10
          Cardinal-Forst 13       Document titled "Daily                166
    11                            Threshold Reporting," Issue
                                  Date: 1/29/10, Bates-
    12                            stamped CAH_MDL_PRIORPROD_
                                  AG_0000007 through 12
    13
          Cardinal-Forst 14       Demonstrative prepared by             189
    14                            Attorney Fuller
    15    Cardinal-Forst 15       Corporate Quality                     198
                                  Regulatory Compliance
    16                            Manual," Bates-stamped
                                  CAH_MDL_PRIORPROD_DEA07_011
    17                            88147 through 1188182
    18    Cardinal-Forst 16       Document titled "Compliance           205
                                  Group Ingredient Limit
    19                            Report," Bates-stamped
                                  CAH_MDL_2804_00689780
    20                            through 689780
    21    Cardinal-Forst 17       Demonstrative prepared by             245
                                  Attorney Fuller
    22
          Cardinal-Forst 18       Demonstrative prepared by             245
    23                            Attorney Fuller
    24

   Golkow Litigation Services                                             Page 8
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-9 Filed:
                               Subject   to 07/24/19
                                             Further9 of 402. PageID #: 224008
                                                      Confidentiality      Review

     1               INDEX TO EXHIBITS (CONT'D)
     2    CARDINAL-FORST     DESCRIPTION                                PAGE
     3    Cardinal-Forst 19 E-mail to Mr. Hartman and                   248
                             others from Mr. Forst,
     4                       dated 11/6/2009, Bates-
                             stamped CAH_MDL2804_
     5                       00992982 through 992983
     6    Cardinal-Forst 20 E-mail chain ending with an                 269
                             e-mail to Ms. Todd from
     7                       Mr. Forst, dated 9/9/2011,
                             Bates-stamped CAH_MDL2804_
     8                       00289420 and 289421
     9    Cardinal-Forst 21 Declaration of Michael A.                   294
                             Moné Pursuant to 28 U.S.C.
    10                       1746, Bates-stamped
                             CAH_MDL_PRIORPROD_DEA12_000
    11                       14053 through 1408
    12    Cardinal-Forst 22 E-mail chain ending with an                 297
                             e-mail to Ms. Swedyk and
    13                       Mr. Forst from Ms. Hug,
                             dated 2/15/10, Bates-
    14                       stamped CAH_MDL_PRIORPROD_
                             DEA12_00011836 and 11837
    15
          Cardinal-Forst 23       E-mail ending with an                 300
    16                            e-mail to GMB-QRA-
                                  Anti-Diversion from
    17                            Mr. Forst, dated 9/30/10,
                                  Bates-stamped CAH_MDL_
    18                            PRIORPROD_DEA12_00003250
                                  and 3251
    19
          Cardinal-Forst 24       Document titled "Cardinal             312
    20                            Health - Lakeland Threshold
                                  Events," Bates-stamped
    21                            CAH_MDL_PRIORPROD_DEA12_000
                                  04353 through 4355
    22
    23
    24

   Golkow Litigation Services                                             Page 9
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 402. PageID #: 224009
                                                                              Review

      1               INDEX TO EXHIBITS (CONT'D)
      2    CARDINAL-FORST     DESCRIPTION                                  PAGE
      3    Cardinal-Forst 25 E-mail to Mr. Quintero from                   322
                              Mr. Rausch, dated 10/22/10,
      4                       with attachment, Bates-
                              stamped CAH_MDL2804_
      5                       01103874 through 1103876
      6    Cardinal-Forst 26 Amended Declaration of                        336
                              Michael A. Moné Pursuant to
      7                       28 U.S.C. 1746, Bates-
                              stamped CAH_MDL_PRIORPROD_
      8                       DEA12_00014224 through
                              14253
      9
           Cardinal-Forst 27        Cardinal Health, Inc.'s                376
     10                             Second Supplemental
                                    Objections and Responses to
     11                             Plaintiffs' First Combined
                                    Discovery Requests
     12
           Cardinal-Forst 28        E-mail chain ending with an            369
     13                             e-mail to Mr. Reardon and
                                    others from Mr. Lawrence,
     14                             dated 10/19/2007, Bates-
                                    stamped CAH_MDL_PRIORPROD_
     15                             DEA07_00883454 through
                                    883456
     16
     17    CERTIFIED QUESTIONS
     18    Page 244, line 18
     19    Page 342, line 12
     20
     21
     22
     23
     24

   Golkow Litigation Services                                               Page 10
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 402. PageID #: 224010
                                                                              Review

      1                               - - -

      2                     P R O C E E D I N G S

      3                               - - -

      4                      THE VIDEOGRAPHER:        We are now

      5              on the record.       My name is Michael

      6              Newell.     I am a videographer for

      7              Golkow Litigation Services.

      8                      Today's date is January 22,

      9              2018.    The time is 9:14 a.m.

     10                      This deposition is being held

     11              in Columbus, Ohio in the matter of

     12              National Prescription Opiate

     13              Litigation for the Northern

     14              District of Ohio, Eastern Division.

     15                      The deponent today is Chris

     16              Forst.

     17                      Will counsel please identify

     18              themselves.

     19                      MR. FULLER:      Mike Fuller on

     20              behalf of the Plaintiff.

     21                      MR. ELKINS:      A.J. Elkins on

     22              behalf of the Plaintiff.

     23                      MS. BORSAY:      Casteel Borsay

     24              with Jones Day on behalf of

   Golkow Litigation Services                                               Page 11
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 402. PageID #: 224011
                                                                              Review

      1              Walmart.

      2                      MR. MOYLAN:      Daniel Moylan,

      3              Zuckerman Spaeder, for the CVS

      4              Defendants.

      5                      MR. PAPPALARDO:       Giuseppe

      6              Pappalardo with Tucker Ellis for

      7              Johnson & Johnson and Janssen

      8              Pharmaceuticals.

      9                      MS. KVESELIS:       Emily

     10              Kveselis, Covington & Burling, for

     11              McKesson.

     12                      MS. CALLAS:      Gretchen Callas

     13              of the law firm of Jackson Kelly

     14              for AmerisourceBergen.

     15                      MR. SWISHER:      Zach Swisher on

     16              behalf of Mr. Forst.

     17                      MS. SALGADO:      Suzanne

     18              Salgado, Williams & Connolly, on

     19              behalf of Cardinal Health and

     20              Mr. Forst.

     21                      MS. WICHT:      I'm Jennifer

     22              Wicht from Williams & Connolly on

     23              behalf of Cardinal Health and

     24              Mr. Forst.

   Golkow Litigation Services                                               Page 12
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 402. PageID #: 224012
                                                                              Review

      1                      MR. FULLER:      Anybody on the

      2              phone?

      3                      MR. HIBEY:      Hello.    This is

      4              David Hibey of Arnold & Porter on

      5              behalf of Endo Health Solutions,

      6              Endo Pharmaceuticals, Par

      7              Pharmaceutical.

      8                      MS. ROSENTHAL:       Amanda

      9              Rosenthal from Collinson, Daehnke,

     10              Inlow & Greco for C&R Pharmacy.

     11                      MS. LIFTON:      Diane Lifton,

     12              Hughes Hubbard & Reed, UCB.

     13                      THE VIDEOGRAPHER:        The court

     14              reporter today is Carol Kirk and

     15              will now swear in the witness.

     16                               - - -

     17                      CHRISTOPHER J. FORST

     18    being by me first duly sworn, as hereinafter

     19    certified, deposes and says as follows:

     20                       CROSS-EXAMINATION

     21    BY MR. FULLER:

     22              Q.      Sir, please state your name for

     23    the record.

     24              A.      It's Christopher John Forst.

   Golkow Litigation Services                                               Page 13
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 402. PageID #: 224013
                                                                              Review

      1              Q.      And, Mr. Forst, where are you

      2    currently working?

      3              A.      I'm actually not working right

      4    now.

      5              Q.      When's the last time you did work?

      6              A.      June 30th of 2017.

      7              Q.      And what position was that?

      8    Where?

      9              A.      At Cardinal Health, quality and

     10    regulatory affairs.

     11              Q.      And your employment with Cardinal

     12    Health goes back to about 2005; is that correct?

     13              A.      Correct.

     14              Q.      Do you know when in 2005?

     15              A.      I think my start date was

     16    December 1st.

     17              Q.      And what position did you

     18    originally hold?

     19              A.      I was director of pharmacy at a

     20    small suburban hospital in Lancaster, Texas.

     21              Q.      Was that pharmacy owned by

     22    Cardinal?

     23              A.      The pharmacy was managed by

     24    Cardinal.

   Golkow Litigation Services                                               Page 14
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 402. PageID #: 224014
                                                                              Review

      1              Q.      And that lasted till about

      2    February of 2008; is that correct?

      3              A.      Correct.

      4              Q.      And I believe in February 2008,

      5    you moved to Columbus area and took a position

      6    inside the QRA department; is that right?

      7              A.      That's correct.

      8              Q.      And what was your position when

      9    you started in QRA in February of 2008?

     10              A.      Director of quality and

     11    regulatory, the caveat of anti-diversion.

     12                      (Reporter clarification.)

     13              A.      Caveat of anti-diversion.          It

     14    was -- the title was kind of back and forth.

     15                      Do I need to speak up?         Okay.

     16              Q.      And did you hold that position

     17    until the time you left?          I think you said, in

     18    June of 2017.

     19              A.      Yes.    I was always the director in

     20    quality and regulatory affairs.

     21              Q.      So being the director of

     22    quality/regulatory affairs, you helped to

     23    oversee and to address potential diversion

     24    issues with controlled substances, correct?

   Golkow Litigation Services                                               Page 15
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 402. PageID #: 224015
                                                                              Review

      1                      MS. WICHT:      Objection to the

      2              form.

      3                      You can go ahead and answer

      4              the question.       My objection is

      5              preserved for the record.

      6              A.      Okay.    Yes.

      7              Q.      And so you know how it flows

      8    and -- I'm sorry.

      9                      Have you ever been deposed before?

     10              A.      No.

     11              Q.      Okay.    I'm going to ask most of

     12    the questions.

     13                      Counsel may object.        Let her get

     14    her objection out before you start your answer.

     15              A.      Okay.

     16              Q.      We'll screw this up, trust me,

     17    several times, but we'll work to make sure it's

     18    clear and that the record is clear.             Okay?

     19              A.      Okay.

     20              Q.      All right.

     21                      MS. LIFTON:      Can I just let

     22              our court reporter know that the

     23              questioner's microphone is very

     24              muffled.      We can hear the witness

   Golkow Litigation Services                                               Page 16
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 402. PageID #: 224016
                                                                              Review

      1              very clearly, but it's very

      2              difficult to hear the questioner.

      3                      Sorry about that.

      4                      MR. FULLER:      Oh, it's because

      5              the phone is over there by the

      6              witness and not necessarily by me.

      7                      MS. LIFTON:      Oh, I'm sorry.

      8              There's no microphone.          Okay.

      9              Thank you.      We'll do our best.

     10                      (Discussion off the record.)

     11                               - - -

     12     (Cardinal-Forst Deposition Exhibit 1 marked.)

     13                               - - -

     14    BY MR. FULLER:

     15              Q.      Let's go to P1.3504.

     16                      MR. FULLER:      It's only one

     17              copy, but there's copies of it on

     18              there if you want to pass that down

     19              and people want to just download

     20              them.

     21                      MS. WICHT:      Oh, okay.     Sure.

     22                      MR. FULLER:      Trying to not

     23              kill as many trees.

     24                      MS. WICHT:      Okay.    Oh, so

   Golkow Litigation Services                                               Page 17
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 402. PageID #: 224017
                                                                              Review

      1              this is just one.        Okay.    So I may

      2              look on with the witness a little

      3              bit.

      4    BY MR. FULLER:

      5              Q.      Now, Mr. Forst, this has been

      6    produced to me.       What you have in front of you

      7    is 3504.

      8                      You should also see it on the

      9    screen.     Maybe not.

     10                      All right.      We'll do the copy you

     11    have in front of you.

     12                      Have you seen this document

     13    before, Mr. Forst?

     14              A.      Yes.

     15              Q.      Okay.    Now, the first letter

     16    appears to be your hire letter or at least the

     17    date you got hired and transferred into a

     18    different position with Cardinal here in

     19    Columbus; is that correct?

     20              A.      Yes.

     21              Q.      Did you have a personnel file

     22    before this; meaning for your time frame from

     23    '05 until February of '08, did you receive

     24    evaluations and have stuff that would be in a

   Golkow Litigation Services                                               Page 18
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 402. PageID #: 224018
                                                                              Review

      1    personnel file, if one existed, or do you know?

      2              A.      I had evaluations.        I don't know

      3    where it was filed.

      4              Q.      Fair enough.

      5                      And if you'll go to page 3.           And

      6    the way this is going to work is I called out

      7    the P1. number, which is the number in the upper

      8    right-hand corner of the document.

      9                      Do you see where it says P1.3504?

     10              A.      Yes.

     11              Q.      And then the point will give us

     12    the page number, so third page is .3.

     13                      Fair enough?

     14              A.      Mm-hmm.

     15              Q.      Okay.    Now, this is, at least

     16    appears to be, a year-end performance evaluation

     17    for Christopher J. Forst, right?

     18              A.      Yes.

     19              Q.      And it says the manager is Michael

     20    Moné; is that correct?

     21              A.      Yes.

     22              Q.      Was he your boss at that period of

     23    time?

     24              A.      Yes.

   Golkow Litigation Services                                               Page 19
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 402. PageID #: 224019
                                                                              Review

      1              Q.      And it also says a second level

      2    manager is Mark Hartman.          Was that accurate?

      3              A.      Yes, that's correct.

      4              Q.      And explain to the jury who

      5    Mr. Moné is.

      6              A.      Mr. Moné is -- was the vice

      7    president over the anti-diversion group.

      8              Q.      Okay.    And you reported directly

      9    to the vice president, correct?

     10              A.      Correct.

     11              Q.      And who was Mr. Hartman at this

     12    time?

     13              A.      Mr. Hartman was either a senior

     14    vice president or executive vice president, and

     15    he was Michael's boss.

     16              Q.      Okay.    And that's your

     17    understanding at this point in 2009, in the

     18    fiscal year 2009, correct?

     19              A.      Correct.

     20              Q.      Okay.    Now, let's go back with a

     21    caveat.

     22                      So now the document is up in front

     23    of you.     You should have a screen in front of

     24    you that displays what's on the big screen and

   Golkow Litigation Services                                               Page 20
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 402. PageID #: 224020
                                                                              Review

      1    what everybody else down the table and myself

      2    are seeing.

      3                      You'll notice as we go along,

      4    Ms. Gina to my right, your left, she'll

      5    highlight the different sections we're talking

      6    about and blow them up because some of the

      7    things may be small and harder to read.              So it

      8    will help us as we go along.           Okay?

      9              A.      Okay.

     10              Q.      And you're more than welcome to

     11    use the hard copy or refer to the screen, but if

     12    you're wondering where I may be reading from, if

     13    you look at the screen, Gina should be following

     14    right along.

     15              A.      Okay.

     16              Q.      All right.      So let's look at this.

     17    This is --

     18                      MR. FULLER:      On page 3, Gina.

     19    BY MR. FULLER:

     20              Q.      This is dated June 30 of 2009,

     21    correct?

     22              A.      Correct.

     23              Q.      And it's -- part 1 is "Review of

     24    performance goals, 50 percent of overall

   Golkow Litigation Services                                               Page 21
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 402. PageID #: 224021
                                                                              Review

      1    performance rating."

      2                      Do you see that section?

      3              A.      Yes.

      4              Q.      And did you normally have

      5    performance goals related to your job and your

      6    duties?

      7              A.      Yes.

      8              Q.      And who set those goals; do you

      9    know?

     10              A.      They were a combination of the

     11    employee, which is me, and Michael or Mark.

     12              Q.      All right.      So it would be a sort

     13    of a collaborative effort between the three of

     14    you?

     15              A.      Correct.

     16              Q.      Okay.    So read the first goal to

     17    us, if you don't mind.

     18              A.      "Prevent DEA license suspensions

     19    at the distribution centers."

     20              Q.      Okay.    And this time frame, I'm

     21    assuming if it goes back from a year from

     22    June 30th of 2009 to June 30th of 2008, do you

     23    know if you were successful in that goal during

     24    that time frame?

   Golkow Litigation Services                                               Page 22
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 402. PageID #: 224022
                                                                              Review

      1              A.      I don't know.

      2              Q.      Do you remember that being one of

      3    your goals?

      4              A.      I believe that was the goal of

      5    everyone in the -- on the team.

      6              Q.      Okay.    Fair enough.

      7                      Let's go to goal number 2.           Strike

      8    that.    Let me ask you another question first.

      9                      How were you supposed to prevent

     10    the license suspension of the distribution

     11    centers?

     12              A.      By reviewing orders for customers,

     13    making sure they met the parameters of the

     14    federal guidelines.

     15              Q.      So you had to know in doing your

     16    job what the parameters were for the federal

     17    guidelines, correct?

     18              A.      Yes.

     19              Q.      And you needed tools to assist you

     20    in doing that job, correct?

     21                      MS. WICHT:      Object to the

     22              form.

     23              A.      Yes.

     24              Q.      And mainly those tools would

   Golkow Litigation Services                                               Page 23
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 402. PageID #: 224023
                                                                              Review

      1    include possibly on-site investigations; is that

      2    true?

      3              A.      Yes.

      4              Q.      It would also include having

      5    access to information related to the particular

      6    customer as well, correct?

      7              A.      Yes.

      8              Q.      What type of information would you

      9    have to utilize in doing that or trying to

     10    achieve that goal to review these orders and

     11    prevent the suspension of licenses from your

     12    distribution centers?

     13              A.      That would depend on the customer.

     14              Q.      Can you give us some examples,

     15    though?

     16              A.      Where the customer is located,

     17    what the business model of the customer was,

     18    meaning were they a retail independent, a chain,

     19    a hospital, a specialty pharmacy.

     20              Q.      So I think I've seen it referred

     21    to as the type of customer, correct?

     22              A.      Correct.

     23              Q.      Okay.    Keep going.      I'm sorry.

     24              A.      If available, purchase history for

   Golkow Litigation Services                                               Page 24
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 402. PageID #: 224024
                                                                              Review

      1    that customer.       If available, purchase histories

      2    of a like customer, preferably in the area.

      3                      Those are, you know, the basics.

      4    I mean, that's not -- that's not just the

      5    limited set.      That's just some of the basics.

      6              Q.      That's not an exhaustive set, but

      7    that's some of the core items, correct?

      8              A.      Correct.

      9              Q.      You might also want to know the

     10    number of scripts that they fill on a -- a daily

     11    or monthly basis, right?

     12              A.      If that was available, yes.           But

     13    that doesn't tell you that much.            I mean, just

     14    because it's a number, it's just a number.

     15              Q.      Now, you mentioned purchase

     16    history.     If they're a Cardinal customer, you

     17    would certainly have access to that, correct?

     18              A.      Yes.

     19                      MS. WICHT:      Object to the

     20              form.

     21              A.      Yes.

     22              Q.      Now, I'm assuming that you've seen

     23    occasions where a customer has purchased from

     24    multiple distributors as well, correct?

   Golkow Litigation Services                                               Page 25
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 402. PageID #: 224025
                                                                              Review

      1              A.      We didn't have access to the other

      2    distributors' information unless it was given to

      3    us by the customer, and then we -- that was just

      4    hearsay by what they said.          We're not sure if

      5    that was always correct or not.

      6              Q.      Meaning we don't know if the

      7    customer is always giving us accurate

      8    information, right?

      9              A.      Correct.

     10              Q.      So the best we can --

     11              A.      Or the form that they give us

     12    is -- it's not an accurate representation of

     13    what it is.

     14              Q.      Say that again.       I'm sorry.

     15              A.      Well, if the customer doesn't

     16    understand exactly what we're asking for, then

     17    sometimes they would, you know, not give the

     18    correct information or information that was

     19    usable.

     20                      And, again, it was a source from

     21    that customer, so ...

     22              Q.      Sure.    Now, you guys -- I say "you

     23    guys."

     24                      Depending on the customer,

   Golkow Litigation Services                                               Page 26
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 402. PageID #: 224026
                                                                              Review

      1    certainly, you had the ability to ask for drug

      2    utilization reports, drug usage logs, right?

      3                      MS. WICHT:      Object to the

      4              form.

      5              A.      Yes.

      6              Q.      And can you explain to the jury

      7    what those are?

      8              A.      Drug usage forms?

      9              Q.      Yes, sir.     And you just correct me

     10    if I am wrong, but you guys could make requests

     11    of the pharmacy to print out what they have

     12    dispensed over a certain period of time?

     13              A.      Yes.    If the pharmacy was -- had

     14    the ability and their software was able to do

     15    that, yes.

     16              Q.      Sure.    And, actually, in the

     17    standard order -- standard operating procedures

     18    for Cardinal, that's one of the key documents

     19    that you're told to ask for when approving new

     20    customers, correct?

     21                      MS. WICHT:      Object to the

     22              form.

     23              A.      Correct.

     24              Q.      Okay.    Now --

   Golkow Litigation Services                                               Page 27
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 402. PageID #: 224027
                                                                              Review

      1              A.      But I wasn't usually the person

      2    that was reviewing new customers.

      3              Q.      Fair enough.

      4                      That doesn't necessarily mean the

      5    customer has to give had you that information

      6    either, does it?

      7              A.      No.

      8              Q.      They could refuse?

      9              A.      They could refuse.

     10              Q.      Now, let me ask you, as a

     11    pharmacist that was doing these type of reviews,

     12    if they refused to give us information for us to

     13    help process their orders and determine whether

     14    their order is suspicious, that might be an

     15    indication that there's something going on,

     16    correct?

     17              A.      I can't --

     18                      MS. WICHT:      Object to the

     19              form.

     20              A.      I can't answer that question.

     21              Q.      Why not?     Let me ask you -- strike

     22    that.    Let me ask you a different question.

     23                      Have you ever had customers where

     24    you've had a request made for these reports to

   Golkow Litigation Services                                               Page 28
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 402. PageID #: 224028
                                                                              Review

      1    be printed and ran and they refused?

      2              A.      I didn't ask for the reports, so

      3    I'm not the individual that would be asking for

      4    that question, so ...

      5              Q.      Yes.    But you would make requests,

      6    would you not, of your investigators to obtain

      7    that type of information?

      8              A.      Yes.

      9              Q.      Okay.    Have they ever came back to

     10    you and told you, "Pharmacy says they're not

     11    going to give us that information"?

     12              A.      There were times that was the

     13    correct -- that was correct.

     14              Q.      And you wouldn't make an

     15    assumption either way as to why they may not be

     16    willing to give that information; is that what

     17    you're telling the jury?

     18                      MS. WICHT:      Object to the

     19              form.

     20              A.      I can't answer that question

     21    because I don't know the answer.            I don't know

     22    the rationale of why the customer is not giving

     23    it to us.      They might -- they might consider

     24    proprietary information.          They might not know --

   Golkow Litigation Services                                               Page 29
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 402. PageID #: 224029
                                                                              Review

      1    might not know how to redact it and make it

      2    HIPAA friendly.

      3                      So I can't answer that question.

      4              Q.      So how did you deal with it when

      5    those situations arose -- explain that to the

      6    jury -- where you asked an investigator to

      7    obtain a drug usage form and the investigator

      8    comes back to you and says, "They won't give it

      9    to us"?

     10              A.      The investigators didn't report to

     11    me, so I would ask the investigator's supervisor

     12    if there was anything that we could do about it.

     13    And it was usually they won't give us the

     14    information.      The inspector did an on-site visit

     15    because he was there to get the information.

     16              Q.      Sure.

     17              A.      And there was nothing that looks

     18    suspicious to the investigator.            That was the

     19    reason we did investigations.

     20                      It's not just a number.          It's

     21    everything surrounding the pharmacy that we

     22    could, as Cardinal Health, see.

     23              Q.      I understand that.        But my

     24    question is, as these items come through you as

   Golkow Litigation Services                                               Page 30
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 402. PageID #: 224030
                                                                              Review

      1    the director of regulatory, would you make any

      2    assumption when they refused to provide it?

      3                      MS. WICHT:      Object to the

      4              form.

      5              A.      I can't answer that question

      6    because I don't know the rationale as to why

      7    they were not providing the information.

      8              Q.      Well, you've already testified

      9    that there were occasions where they would

     10    refuse to give it.

     11              A.      Yes.

     12              Q.      I want to know back in that time,

     13    what assumption, if any, did you make?

     14              A.      We would try to --

     15                      MS. WICHT:      Object to the

     16              form.

     17              A.      We would try during the inspection

     18    to get the information.         If they did not supply

     19    it with us, the investigator was there to assist

     20    the situation without the information.

     21              Q.      And you would agree with me, would

     22    you not, that the investigator can't tell where

     23    they're ordering from another distributor just

     24    by doing his on-site investigation, correct?

   Golkow Litigation Services                                               Page 31
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 402. PageID #: 224031
                                                                              Review

      1                      MS. WICHT:      Object to the

      2              form.

      3              A.      I can't answer that question.           I'm

      4    not the investigator, so I don't know how they

      5    approached that question.

      6              Q.      Have you ever done an

      7    investigation on a facility?

      8              A.      In the form of an investigator,

      9    the -- the way they do one, no.

     10              Q.      How did you do one?

     11              A.      We used basic similar parameters.

     12    But as a pharmacist, I could ask questions that

     13    were more specific to dealing with -- asking the

     14    pharmacist questions as opposed to some of the

     15    investigators.

     16                      And I'm sure the investigators

     17    learned over time the different ways to

     18    investigate.

     19              Q.      And what would have caused you to

     20    go do an investigation instead of just sending

     21    the investigator out?

     22              A.      Usually a request by either

     23    Michael or Mark Hartman.          My expertise was

     24    hospitals, so I did mostly the hospital

   Golkow Litigation Services                                               Page 32
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 402. PageID #: 224032
                                                                              Review

      1    investigations.

      2              Q.      Did you do any pharmacy

      3    investigations?

      4              A.      I did a handful of pharmacy

      5    investigations, yes.

      6              Q.      When you say "handful," do you

      7    remember which ones?

      8              A.      Maybe nine or ten in Florida.

      9              Q.      Were these -- and when we say

     10    "investigations," were these where you went in

     11    and interviewed people, or were these just

     12    surveillance type?

     13              A.      They were a combination of both.

     14              Q.      I'm sorry.      Say that again.

     15              A.      They were a combination of both.

     16    So depending on what the pharmacy was, it was a

     17    surveillance or it was a direct interaction with

     18    the pharmacist or the owner or the pharmacist in

     19    charge.

     20              Q.      And when you say "depending on

     21    what the pharmacy was," do you mean type of

     22    customer?

     23              A.      I mean type of customer.

     24              Q.      So if it was a retail independent,

   Golkow Litigation Services                                               Page 33
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 402. PageID #: 224033
                                                                              Review

      1    you would go in and talk with them, correct?

      2              A.      Correct.

      3              Q.      If it was a chain pharmacy, you

      4    would not go in and talk to them, correct?

      5              A.      Correct.

      6              Q.      Let's go to goal number 2.           Goal

      7    number 2, the description given is "Learn all

      8    relative aspects of the suspicious order

      9    monitoring system and associated software

     10    applications."

     11                      And you got a score of a 4 on

     12    this, both from yourself and your manager,

     13    right?

     14              A.      Yes.    According to what's on the

     15    document, yes.

     16              Q.      And 4 says, "Above target."

     17                      Tell us, what type of suspicious

     18    order monitoring system was Cardinal using when

     19    you came in February of 2008?

     20              A.      Our system was -- generated a list

     21    of customers that exceeded their threshold

     22    values that was generated each night.              Each

     23    customer was reviewed, looking at different

     24    aspects of the customer, where they were

   Golkow Litigation Services                                               Page 34
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 402. PageID #: 224034
                                                                              Review

      1    located, relevant information like their

      2    ordering patterns, et cetera, et cetera, and the

      3    orders were either released or cut or cut and

      4    reported as suspicious, depending on the

      5    circumstance.

      6              Q.      Now, at this point in February of

      7    2008, Cardinal just had several of its

      8    distribution centers' licenses suspended; is

      9    that right?

     10              A.      That's correct.

     11              Q.      So we know out of those

     12    distribution centers, they weren't shipping any

     13    controlled substances; is that correct?

     14              A.      That is correct.

     15              Q.      And what they were doing is they

     16    were having their other distribution centers

     17    services the customers -- let's do it by

     18    example.

     19                      So, for example, the Lakeland

     20    distribution center had its license suspended

     21    down in Florida; is that right?

     22              A.      Correct.

     23              Q.      And instead of those customers

     24    going elsewhere, what Cardinal tried to do is

   Golkow Litigation Services                                               Page 35
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 402. PageID #: 224035
                                                                              Review

      1    have those customers serviced by Lakeland

      2    serviced from another distribution center out of

      3    either Mississippi or out of Greensboro,

      4    correct?

      5              A.      I believe that is correct.

      6              Q.      Okay.    And when you came in during

      7    this time frame in February of 2008, I think

      8    what you were describing is a threshold-type

      9    system wasn't fully implemented yet either, was

     10    it?

     11                      MS. WICHT:      Object to the

     12              form.

     13              A.      The system had been moved from

     14    decentralized to a centralized system.              So prior

     15    to, I'm guessing, Michael's employment there,

     16    the distribution centers were the ones

     17    responsible for looking for suspicious orders

     18    and monitoring and reporting them.             And that was

     19    before my time, so I don't know how that system

     20    worked.

     21              Q.      Do you know what the policies and

     22    procedures were that were in place when you

     23    arrived in February of 2008?

     24                      MS. WICHT:      Object to the

   Golkow Litigation Services                                               Page 36
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 402. PageID #: 224036
                                                                              Review

      1              form.

      2              A.      I was -- I was instructed on how

      3    we were to do the forms.          There were policies

      4    and procedures in place, and there were rough

      5    drafts of new ways that we were going to be

      6    doing things that were in place.

      7              Q.      So --

      8              A.      So it's a system in transition.

      9              Q.      Sure.

     10              A.      So the policy would change daily,

     11    weekly, monthly, as we focused on what we needed

     12    to be looking for.

     13              Q.      When you say "focused on what we

     14    needed to be looking for" --

     15              A.      To make sure we were more accurate

     16    in what we were looking for, for diversion, for

     17    suspicious orders, for Internet pharmacies.               I

     18    believe that at that time, it was a big Internet

     19    pharmacy crackdown.

     20              Q.      And, again, let's back up just for

     21    one second.

     22                      The thresholds that you were

     23    describing, those were not completely implicated

     24    or -- or applied yet to chain pharmacies, for

   Golkow Litigation Services                                               Page 37
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 402. PageID #: 224037
                                                                              Review

      1    example, correct?

      2                      MS. WICHT:      Object to the

      3              form.

      4              A.      My understanding is all customers

      5    had thresholds.

      6              Q.      All of them?

      7              A.      My understanding was yes.          Now,

      8    some of the thresholds had not been

      9    individualized for the pharmacy based on some of

     10    the data that we had, but that was in process to

     11    make sure we weren't missing anything.

     12              Q.      So it's your understanding that

     13    you put blanket thresholds out, even if they

     14    weren't individualized, to cause triggers to

     15    make sure Cardinal wouldn't miss anything

     16    related to suspicious order monitoring?

     17              A.      Correct.

     18                      MS. WICHT:      Object to the

     19              form of the question.

     20              Q.      And it's your understanding that

     21    that was already in place?

     22              A.      That was my understanding.

     23                      MS. WICHT:      That's okay,

     24              Chris.     Just make sure that you let

   Golkow Litigation Services                                               Page 38
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 402. PageID #: 224038
                                                                              Review

      1              him ask a full question before you

      2              start in on your answer and give me

      3              a quick beat.

      4                      THE WITNESS:      Okay.

      5                      MS. WICHT:      You're doing

      6              fine.

      7                      THE WITNESS:      Sorry.

      8                      MS. WICHT:      No.   You're fine.

      9    BY MR. FULLER:

     10              Q.      Like I told you, we'll screw this

     11    up a bunch.      And by the time we're done, you'll

     12    have it down pat.        Kidding.

     13                      MS. WICHT:      And that

     14              hopefully won't be a skill you'll

     15              need for the rest of your life.

     16                      MR. FULLER:      Yeah.    Right?

     17    BY MR. FULLER:

     18              Q.      All right.      Let's take a look at

     19    goal number 3.       You actually got involved in

     20    this process.      "Draft and update standard

     21    operating practices for the suspicious order

     22    monitoring system," correct?

     23              A.      Correct.

     24                      MS. WICHT:      Object to the

   Golkow Litigation Services                                               Page 39
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 402. PageID #: 224039
                                                                              Review

      1              form.

      2              Q.      And when you were doing that, did

      3    you -- when you were -- let me see if I

      4    understood how you -- strike that.

      5                      Tell us how you approached it.

      6              A.      I approached --

      7                      MS. WICHT:      Go ahead.

      8              A.      I approached it by reviewing the

      9    current policies and procedures that were in

     10    place, making sure they were translatable to it

     11    now being a centralized system.

     12              Q.      These were the policies and

     13    procedures that were in place when you arrived

     14    back in February of 2008, correct?

     15              A.      Correct.     And some of those

     16    policies and procedures had been updated when I

     17    got there.

     18              Q.      And you did additional updating to

     19    some of these policies and procedures?

     20              A.      I reviewed them to see if there

     21    was anything from my perspective that could be

     22    added to help.

     23              Q.      Okay.    And did you make changes to

     24    some of the policies and procedures?

   Golkow Litigation Services                                               Page 40
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 402. PageID #: 224040
                                                                              Review

      1              A.      I don't remember.        That was -- I'm

      2    sure I did, but that was 12 years ago, so --

      3              Q.      Fair enough.

      4                      You don't --

      5              A.      -- I can't answer that.

      6              Q.      You don't recollect whether you --

      7    what changes were made, but you believe that

      8    there probably were changes?

      9              A.      I had input in some of -- I had

     10    input into some -- the policies to make certain

     11    changes.

     12              Q.      Okay.

     13              A.      But I don't know -- I can't answer

     14    that question.

     15              Q.      As to which ones, correct?

     16              A.      As to which ones, correct.

     17              Q.      No?

     18                      Do you know what the policy and

     19    procedure was before your arrival in February of

     20    '08?

     21                      MS. WICHT:      Object to the

     22              form.

     23              A.      No, I don't.

     24              Q.      Do you know about the use of

   Golkow Litigation Services                                               Page 41
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 402. PageID #: 224041
                                                                              Review

      1    ingredient limit reports --

      2              A.      No.

      3              Q.      -- or have you ever seen the --

      4              A.      No.

      5              Q.      Hold on.     Let me finish.

      6              A.      Sorry.     Sorry.

      7              Q.      Have you ever seen an ingredient

      8    limit report?

      9              A.      I don't believe I have, no.

     10              Q.      Because they were still being

     11    produced or -- or ran, at least up until April

     12    of 2008, which would have been the time frame

     13    that you're in anti-diversion, correct?

     14              A.      It would have been probably a

     15    month into the time I was in anti-diversion, but

     16    I don't know what those reports are.

     17              Q.      You don't recollect seeing them?

     18              A.      No.

     19              Q.      Now, if I show you one, it might

     20    jog your memory, correct?

     21              A.      Possibly, but ...

     22              Q.      Did you review the older policies

     23    and procedures that Cardinal had in place?

     24              A.      No.

   Golkow Litigation Services                                               Page 42
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 402. PageID #: 224042
                                                                              Review

      1                      MS. WICHT:      Object to the

      2              form.

      3              Q.      Why not?

      4              A.      Those were before my time.           I

      5    don't even know if I've even seen them.

      6              Q.      So the -- your job --

      7              A.      I don't what -- I don't know what

      8    the process was as -- as it was decentralized

      9    prior to my coming there.

     10              Q.      So being one of the individuals

     11    that was strapped with updating the policies and

     12    procedures to try to, I'm assuming, ensure

     13    compliance, correct?

     14                      MS. WICHT:      Object to the

     15              form.

     16              A.      Correct.

     17              Q.      Compliance which had recently

     18    failed by the demonstration of four DCs losing

     19    their license, right?

     20                      MS. WICHT:      Object to the

     21              form.

     22              A.      I can't answer that question.            I'm

     23    not -- I don't know the circumstances of why

     24    those --

   Golkow Litigation Services                                               Page 43
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 402. PageID #: 224043
                                                                              Review

      1              Q.      Well, let me ask you.         Did you --

      2    did no one ever inform you as to what the

      3    circumstances of the probably -- the potential

      4    problems were or the allegations by the DEA --

      5              A.      Yes.

      6              Q.      -- that were occurring in four

      7    different distribution centers across the

      8    country when you were trying to create these new

      9    policies and procedures to prevent that from

     10    happening again?

     11                      MS. WICHT:      Object to the

     12              form of the question.

     13              A.      Yes.    They informed me what the

     14    allegations were.

     15              Q.      Did you look at any of the

     16    allegations?      Did you look at the -- any of the

     17    immediate suspension orders that were sent to or

     18    delivered to or served upon any of the

     19    distribution centers to get an idea of what were

     20    these actual problems?

     21              A.      I believe --

     22                      MS. WICHT:      Object to the

     23              form of the question.

     24              A.      I believe I saw them, but I can't

   Golkow Litigation Services                                               Page 44
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 402. PageID #: 224044
                                                                              Review

      1    recollect what's in those.          That's 12 years ago.

      2              Q.      I'm not asking you to recollect

      3    necessarily what's in them.           I'm just asking if

      4    you were shown them --

      5              A.      Yes.

      6              Q.      -- because I think it would be

      7    significant -- and maybe not just me, maybe for

      8    the jury -- to know whether or not the person --

      9    one of the persons involved with developing this

     10    new system actually looked and seen what may

     11    have went wrong in the old system to put them in

     12    the situation that you were trying to fix.

     13                      That seems reasonable, right?

     14                      MS. WICHT:      Object to the

     15              form of the multiple questions.

     16              A.      It's reasonable.

     17              Q.      Okay.    So you mentioned these

     18    thresholds.      Who created the thresholds; do you

     19    know?

     20              A.      The thresholds, to my

     21    understanding, were in place and they were

     22    created by the individual that worked with

     23    Michael that did analytics.           I'm guessing it

     24    would be Nick Rausch.

   Golkow Litigation Services                                               Page 45
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 402. PageID #: 224045
                                                                              Review

      1              Q.      Mr. Rausch.      Good 'ole Nicholas.

      2                      Let's go to 3823.

      3                      MR. FULLER:      Oh, I'm sorry.

      4              For the record -- where is my

      5              copy? -- 3504 is going to be

      6              Plaintiffs' Exhibit 1.

      7                      This is Plaintiffs' Exhibit

      8              2, 3823.

      9                               - - -

     10     (Cardinal-Forst Deposition Exhibit 2 marked.)

     11                               - - -

     12    BY MR. FULLER:

     13              Q.      Mr. Forst, this is an e-mail that

     14    has an attachment with it.

     15                      And do you see it's from a Carolyn

     16    McPherson?

     17                      Do you know who that is?

     18              A.      Yes.

     19              Q.      And in all fairness to you, this

     20    was sent out from Ms. McPherson a few days

     21    before you arrived there, correct, January 28th

     22    of 2008?

     23              A.      It appears so by the document,

     24    yes.

   Golkow Litigation Services                                               Page 46
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 402. PageID #: 224046
                                                                              Review

      1              Q.      Okay.    Had you already been in

      2    talks with the main office -- I'm assuming that

      3    at the date of your actual hire, you had been

      4    having some conversations, maybe you visited the

      5    main office.

      6                      Anything like that?        Or do you

      7    recollect?

      8                      MS. WICHT:      Object to the

      9              form.

     10              A.      I don't recollect because there

     11    was a transition period in the month of

     12    February.      So one week I was at Cardinal

     13    corporate and then one week I was at the

     14    hospital cleaning -- or closing down and

     15    transferring my duties at the hospital.              The

     16    next week I was back at Cardinal.

     17              Q.      Sure.    I guess my question is --

     18    your acceptance letter is dated February 1st of

     19    2008.

     20              A.      Correct.

     21              Q.      I'm assuming you were in

     22    conversations with them and maybe had come out

     23    to the corporate office here in Columbus prior

     24    to February 1.

   Golkow Litigation Services                                               Page 47
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 402. PageID #: 224047
                                                                              Review

      1                      MS. WICHT:      Object to the

      2              form.    Asked and answered.

      3              A.      No, I did not visit the corporate

      4    office.

      5              Q.      So how did that -- how did that

      6    transition happen?        How did it go that you're

      7    coming from Texas to Columbus, Ohio?             Explain

      8    that to us.

      9              A.      I'd known Michael for a long time,

     10    and he was searching for people to add to his

     11    team, which was just coming along.             And he, you

     12    know, asked me if I would be interested, and I

     13    said, "It depends."        And I was looking for a

     14    change, so I agreed to the -- the change.

     15              Q.      And those talks, I'm assuming, all

     16    happened prior to this February 1st date where

     17    they confirmed and you accepted, right?

     18              A.      Correct.

     19              Q.      Okay.    What else did he tell you

     20    about what you would be doing?

     21              A.      He told -- he told me that he

     22    needed a pharmacist on board that understood the

     23    regulations of controlled substances.

     24              Q.      Which you did, right?

   Golkow Litigation Services                                               Page 48
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 402. PageID #: 224048
                                                                              Review

      1              A.      Which I did, coming from the

      2    hospital.      They're across the board the same for

      3    whether your entity is a hospital or retail

      4    pharmacy or whatever.

      5              Q.      You're still a --

      6              A.      There's different -- yeah, right.

      7    There's different parameters that you look for

      8    depending on your base, but I had those skills.

      9              Q.      And you say you had known Michael.

     10    How did you know Michael for a long time,

     11    Mr. Moné?

     12              A.      I met Mr. Moné when I was -- we

     13    were in pharmacy school at different schools

     14    together, at a pharmacy meeting.

     15              Q.      Oh, okay.     So it goes back quite

     16    some time, correct?

     17              A.      Quite some time.

     18              Q.      Not that I'm commenting on your

     19    age; I'm just assuming based on your experience.

     20                      All right.      Let's go back to 3823.

     21    Now, tell us, Mr. Forst, who is Ms. McPherson,

     22    Carolyn?

     23              A.      Carolyn was one of the directors

     24    that -- I don't exactly know her role process.

   Golkow Litigation Services                                               Page 49
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 402. PageID #: 224049
                                                                              Review

      1    I believe she was the one that oversaw the

      2    policies and procedures and the regulations and

      3    some of the stuff at all the distribution

      4    centers.

      5              Q.      Okay.

      6              A.      But I don't know the parameters of

      7    her role.

      8              Q.      Fair to say that she was in the

      9    QRA department, the department you were moving

     10    to, correct?

     11              A.      Correct.

     12              Q.      Okay.    And she sends this e-mail

     13    to Mr. Reardon, Mr. Moné, Mr. Rausch, all

     14    individuals we've already talked about, correct?

     15                      MS. WICHT:      Object to the

     16              form.

     17              A.      Correct.

     18              Q.      And the subject is Threshold List.

     19                      Do you see that?

     20              A.      Yes.

     21              Q.      And the attachment is "Deloitte

     22    threshold values by type, base, size, combo,

     23    report."

     24                      Did I read that right?

   Golkow Litigation Services                                               Page 50
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 402. PageID #: 224050
                                                                              Review

      1              A.      Yes.

      2              Q.      And were you aware that Deloitte

      3    was doing work for Cardinal when you arrived?

      4              A.      Not at the time I arrived, no.

      5              Q.      Did you become aware at some point

      6    after that that Deloitte was doing work for

      7    Cardinal?

      8              A.      Probably in 2012 was the first

      9    time I knew Deloitte was working for Cardinal,

     10    and I thought that was a new process.

     11              Q.      So the fact that you're involved

     12    with thresholds and Deloitte had created -- was

     13    paid by Cardinal, hired by Cardinal, to create

     14    thresholds, you had no idea?

     15              A.      I --

     16                      MS. WICHT:      Object to the

     17              form of the question.

     18              A.      I have not -- I have not seen this

     19    document to my recollection.

     20              Q.      So, again, that's my question.            In

     21    2008, when you came in to help with SOPs -- and

     22    one of the SOPs you worked on related to

     23    thresholds, right?

     24                      MS. WICHT:      Object.

   Golkow Litigation Services                                               Page 51
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 402. PageID #: 224051
                                                                              Review

      1                      Sorry.     Go ahead.

      2              A.      Yes.

      3              Q.      Okay. -- you were not told by

      4    anyone in QRA that you can recollect that

      5    Cardinal already hired Deloitte to set

      6    thresholds for all of its customer types?

      7              A.      No.

      8                      MS. WICHT:      Object to the

      9              form of the question.

     10              Q.      Okay.    So if we read the first

     11    sentence, it says "Attached is thresholds by

     12    customer group list supplied by Deloitte.               I

     13    have included to the right of the thresholds

     14    list, the drug base code list and the customer

     15    grouping list.

     16                      So -- and, again, I understand you

     17    haven't been shown this before, Mr. Forst, but

     18    if you go to page 3 of the document, I think

     19    you'll see it's -- looks like some sort of

     20    spreadsheet.      And it says, "Threshold Value

     21    Pivot Table, Crossing Customer Type and DEA Base

     22    Number With Size."

     23                      Do you see that there?

     24              A.      Yes.

   Golkow Litigation Services                                               Page 52
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 402. PageID #: 224052
                                                                              Review

      1              Q.      Okay.    Now, let me stop you there

      2    and ask you just a general question.

      3                      When you set thresholds, you did

      4    it by customer type, correct?

      5                      MS. WICHT:      Object to the

      6              form of the question.

      7              A.      Correct.

      8              Q.      You also did it by base code

      9    numbers, so each different base code for

     10    whatever the customer is, he would have or she

     11    would have a different threshold; is that right?

     12                      MS. WICHT:      Object to the

     13              form of the question.

     14              A.      Correct.

     15              Q.      Now, some of the threshold numbers

     16    may be the same, but it would be a separate

     17    threshold for each base code, just to be clear?

     18              A.      Correct.

     19                      MS. WICHT:      Object to the

     20              form.

     21              Q.      Okay.    And then it also says by

     22    size.    And if you look at the spreadsheet, there

     23    are small, medium and large columns.

     24                      Do you see that?

   Golkow Litigation Services                                               Page 53
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 402. PageID #: 224053
                                                                              Review

      1              A.      Yes.

      2              Q.      And do you know how Cardinal was

      3    determining size at this time, the time that you

      4    arrived in the anti-diversion department, the

      5    QRA department?

      6              A.      No, I don't know the parameters

      7    used to arrive at small, medium, and large size.

      8              Q.      What is your understanding of the

      9    different processes to determine size that were

     10    utilized by Cardinal at any point in your tenure

     11    there?

     12                      MS. WICHT:      Object to the

     13              form.

     14              A.      Could you repeat the question,

     15    please.

     16              Q.      Sure.    You agree that -- and let

     17    me back up.      Maybe you didn't.

     18                      Thresholds -- thresholds were also

     19    distinguished by the size of the customers,

     20    right?

     21              A.      Correct.

     22              Q.      What is your understanding as to

     23    how the size was determined at Cardinal

     24    during -- and if the criteria changed from one

   Golkow Litigation Services                                               Page 54
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 402. PageID #: 224054
                                                                              Review

      1    point of your tenure to another point of your

      2    tenure, that's fine.         Just give me the different

      3    variables if you recollect.

      4                      MS. WICHT:      Object to the

      5              form of the question.

      6              A.      Well, for this form, I don't know

      7    what the --

      8              Q.      And I'm not asking you about this

      9    form.    I'm asking you generally.

     10              A.      Okay.    So it would be historical

     11    purchases.     It would be where the customer is

     12    located.

     13              Q.      And just so I'm clear, these are

     14    factors that went into assigning a small,

     15    medium, or large size?

     16              A.      Okay.    So that would be --

     17                      MS. WICHT:      Let him --

     18              A.      Sorry.

     19              Q.      No.    Go ahead.

     20              A.      No.    Go ahead.

     21              Q.      No, that was it.        I just wanted to

     22    make sure that's how you were determining the

     23    brackets.

     24              A.      Well, initially I believe it was

   Golkow Litigation Services                                               Page 55
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 402. PageID #: 224055
                                                                              Review

      1    by purchase history.         And that's all I know.

      2    I'm sorry.     I don't know any more.

      3              Q.      No, no.     That's okay.

      4                      And when you say "purchase

      5    history," are you talking about the volume of

      6    purchases?

      7              A.      I don't know if it was based on

      8    volume, if it was a formula.

      9              Q.      You're not sure, you just --

     10              A.      I'm not sure.       I have absolutely

     11    no idea how they came up with these first

     12    numbers.

     13              Q.      And just so you know, I'm not

     14    asking you how they came up with these numbers

     15    on the spreadsheet.        I'm asking you generally.

     16                      And correct me if I am wrong, but

     17    even up to the time that you left in 2017 when

     18    Cardinal was utilizing thresholds, it

     19    differentiated between a small, medium, and

     20    large customer type --

     21              A.      Right.

     22              Q.      -- correct?

     23              A.      Correct.

     24              Q.      Do you even know -- and this is

   Golkow Litigation Services                                               Page 56
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 402. PageID #: 224056
                                                                              Review

      1    going back over a little over a year now.

      2                      Do you know, even at that time,

      3    how they determined what was a small, medium,

      4    and large customer?

      5              A.      At the time I left, I wasn't doing

      6    the same thing I was doing when I was hired

      7    there.    So I wouldn't know the new definition of

      8    what small, medium, and large was a year or two

      9    years ago.

     10              Q.      Other than the definition that

     11    you've already given us, which is based on maybe

     12    some sort of formula using volume, are you aware

     13    of any other way that they determined small,

     14    medium, and large at Cardinal?

     15                      MS. WICHT:      Object to the

     16              form.

     17              Q.      Relating to thresholds.

     18              A.      I'm not aware of that, no.

     19              Q.      All right.

     20              A.      I don't know the parameters of

     21    that.

     22              Q.      Now, if you go to page 10 of this

     23    document -- so it would be .10 at the top --

     24    you'll see this would be the customer type for

   Golkow Litigation Services                                               Page 57
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 402. PageID #: 224057
                                                                              Review

      1    retail, correct?

      2              A.      Page 10?     Yes.

      3              Q.      Okay.    And if you look in the

      4    second column, we have the column for DEA base

      5    number.

      6                      Do you see that?

      7              A.      Yes.

      8              Q.      And if you go down to 9143 --

      9    which is what?

     10              A.      Page 10?

     11              Q.      Yes, sir.     What is 9143 the base

     12    code for, Mr. Forst?

     13              A.      It's hydrocodone or oxycodone.

     14    It's been four or five years since.

     15              Q.      I'll help you.       It's oxycodone.

     16              A.      It's oxycodone, okay.

     17              Q.      9193 is hydrocodone.

     18              A.      Correct.     Okay.

     19              Q.      So 9143 we have there, and we have

     20    the small, medium, and large columns.

     21                      Do you see that?

     22              A.      Yes.

     23              Q.      And then we have 12,000 dosage

     24    units, 12,000 dosage units, and 20,000 dosage

   Golkow Litigation Services                                               Page 58
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 402. PageID #: 224058
                                                                              Review

      1    units.

      2                      Do you see that there?

      3              A.      Yes.

      4              Q.      Okay.    So at least according to

      5    this sheet, at least from -- and, again, I

      6    understand you haven't seen it before, but the

      7    values for thresholds is 12,000 dosage units --

      8    and you -- you measure thresholds by month,

      9    correct?

     10              A.      Correct.

     11              Q.      Okay.

     12              A.      Purchases per month.

     13              Q.      So this would be for a retail

     14    pharmacy, 12,000, 12,000, and 20,000 for the

     15    small, medium, and large related to oxycodone

     16    purchases --

     17                      MS. WICHT:      Object to the

     18              form.

     19              Q.      -- correct?

     20              A.      According to the document, yes.

     21              Q.      Okay.    Now, if we jump down to

     22    9193 --

     23              A.      Hydrocodone.

     24              Q.      -- which -- yes, sir, you're

   Golkow Litigation Services                                               Page 59
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 402. PageID #: 224059
                                                                              Review

      1    absolutely right -- which is hydrocodone, we

      2    again have the small, medium, and large, and the

      3    volume is 10,000 dosage units a month for small,

      4    16,000 for medium, and 27,000 for large.

      5                      Do you see that there?

      6              A.      Yes.

      7              Q.      Okay.    Now, because you haven't

      8    seen this document before, I'm assuming that you

      9    have no familiarity with how these thresholds

     10    were determined or came to by Deloitte.

     11                      MS. WICHT:      Object to the

     12              form of the question.

     13              A.      No, I don't know the parameters --

     14              Q.      You don't even know --

     15              A.      -- or the analytics of what they

     16    looked at to arrive at these.

     17              Q.      You don't even have any idea what

     18    information Cardinal provided to Deloitte to

     19    allow them to come up with these analytics,

     20    right?

     21                      MS. WICHT:      Object to the

     22              form of the question.

     23              A.      That was before my time, and no.

     24              Q.      Well, it was before your time, but

   Golkow Litigation Services                                               Page 60
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 402. PageID #: 224060
                                                                              Review

      1    it was --

      2              A.      But no, I don't know the -- I

      3    don't know what information was given to

      4    Deloitte.

      5              Q.      Okay.    And, again, you're correct.

      6    This is just before, what, three days before

      7    your start date in this division, and I

      8    understand there was a transition period.               But

      9    when working with thresholds, might this have

     10    been helpful information for you to have in

     11    dealing with thresholds and trying to come up

     12    with a better system at Cardinal?

     13                      MS. WICHT:      Object to the

     14              form of the question.

     15              A.      Again, this was the work of

     16    Michael, Deloitte, and Nick.           So I can't answer

     17    that question.       These thresholds in the system

     18    were either in place for those customers by

     19    their DEA numbers.        And some of them probably

     20    had been in place, maybe -- I don't know this --

     21    and possibly adjusted already -- I don't know --

     22    based on the customer.

     23              Q.      Well, I'm not asking you whether

     24    you knew that or not.         I think you even

   Golkow Litigation Services                                               Page 61
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 402. PageID #: 224061
                                                                              Review

      1    indicated when we were talking about looking at

      2    customers and setting thresholds or evaluating

      3    thresholds, what you try to do is you try to

      4    gather as much information as you can, right?

      5                      MS. WICHT:      Object to the

      6              form.

      7              A.      Yes.

      8              Q.      And you're sitting there with the

      9    task of improving on this threshold standard

     10    operating procedure.         You'd want to have as much

     11    information as you can to do that, right?

     12                      MS. WICHT:      Object to the

     13              form.

     14              A.      You would want as much pertinent

     15    information as you can because too much

     16    information is not always helpful.

     17              Q.      Sure.    But if this was never

     18    offered to you, you have no way to determine

     19    whether it would be pertinent or not or even how

     20    Deloitte did it or what they considered at the

     21    time, correct?

     22                      MS. WICHT:      Object to the

     23              form.

     24              A.      I can't answer that because,

   Golkow Litigation Services                                               Page 62
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 402. PageID #: 224062
                                                                              Review

      1    again, I wasn't part of that process.              So -- and

      2    the thresholds were already loaded in the

      3    system.     Those were what I knew as the

      4    thresholds for small, medium, and large.               And I

      5    probably had a piece of paper that had, "This is

      6    a retail customer.        These are small, medium, and

      7    large."

      8                      I'm not saying I haven't seen

      9    these numbers.       I just haven't -- I don't know

     10    how they arrived at those numbers.

     11                               - - -

     12     (Cardinal-Forst Deposition Exhibit 3 marked.)

     13                               - - -

     14              Q.      All right.      Well, let's talk about

     15    that some more.       Let's go to 4553.        This is

     16    going to be Plaintiffs' Exhibit 3.

     17                      MR. FULLER:      For the record,

     18              it's P1.4553.

     19    BY MR. FULLER:

     20              Q.      And this is a standard operating

     21    procedure by Cardinal, an SOP, correct?

     22              A.      That is correct.

     23              Q.      And it's actually one that you are

     24    the owner of, isn't it, if you look at the last

   Golkow Litigation Services                                               Page 63
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 402. PageID #: 224063
                                                                              Review

      1    page, page 4?

      2              A.      Correct.

      3              Q.      Now, let me ask you, do you know

      4    if the way that Cardinal used thresholds changed

      5    significantly during your tenure there?

      6                      MS. WICHT:      Object to the

      7              form of the question.

      8              A.      Yes.

      9              Q.      When did it change significantly?

     10    What were those changes, Mr. Forst?             Tell the

     11    jury.

     12                      MS. WICHT:      Object to the

     13              form of the question.

     14              A.      Well, the system changed.          The

     15    more information that we could gather on

     16    customers, the more places that we could use to

     17    associate a customer with something that would

     18    fit, so what is the -- what's around the

     19    customer.      We had more information on that.            We

     20    had more information on trends.            We had some

     21    clinical information that became available that

     22    we would look at more closely.

     23                      So I can't say one specific item.

     24    It was just more -- the more -- the longer you

   Golkow Litigation Services                                               Page 64
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 402. PageID #: 224064
                                                                              Review

      1    do something, the more things you find out that

      2    you can apply, put formulas to to see if you can

      3    do a better job at getting to the conclusion

      4    that you want to draw about a customer.

      5              Q.      So I'm not necessarily talking

      6    about the information that you might consider in

      7    setting a threshold.         What I'm referring to is

      8    the system as a whole.

      9              A.      The system as a whole changed.

     10              Q.      How did the system as a whole

     11    change?

     12              A.      It matured.

     13                      MS. WICHT:      Object to the

     14              form of the question.

     15              A.      It matured.      It was basic at the

     16    beginning, and it started incorporating more and

     17    more analytics and more and more information,

     18    statistical analysis, et cetera, et cetera, that

     19    you had a better picture of each customer

     20    individually.

     21              Q.      So let me ask some pointed

     22    questions related to this threshold policy and

     23    procedure.

     24                      In order to utilize the policy and

   Golkow Litigation Services                                               Page 65
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 402. PageID #: 224065
                                                                              Review

      1    procedure, you have to set a threshold for a

      2    customer, correct?

      3                      MS. WICHT:      Object to the

      4              form of the question.

      5              Q.      I'm just wondering because you've

      6    already testified, Mr. Forst, that all customers

      7    had to have thresholds.

      8              A.      Yes.

      9              Q.      So in order to use this process,

     10    you had to have a threshold for the customer,

     11    right?

     12                      MS. WICHT:      Object to the

     13              form of the question.

     14              A.      Yes.

     15              Q.      You hesitate.       Why do you

     16    hesitate?

     17              A.      Because I would like to read the

     18    whole document, because this is --

     19              Q.      We can take a break if you want

     20    to --

     21              A.      Even though it's -- this is in

     22    December of 2008, so I would like to read the

     23    whole document before I can answer some of the

     24    questions.

   Golkow Litigation Services                                               Page 66
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 402. PageID #: 224066
                                                                              Review

      1              Q.      Okay.    We can take a break and you

      2    can read the whole document.

      3                      MS. WICHT:      We're not going

      4              to take a break for read -- if you

      5              want him to answer questions about

      6              a document, he's entitled to read

      7              it and --

      8                      MR. FULLER:      He is not going

      9              to use my time to do it.

     10                      MS. WICHT:      -- we're not

     11              going to go off the record for

     12              every time he needs to read a

     13              document.

     14                      MR. FULLER:      If he wants to

     15              peruse it --

     16                      MS. WICHT:      This is not a

     17              long document.

     18    BY MR. FULLER:

     19              Q.      Well, Mr. Forst, you go ahead and

     20    you start reading.        And if I think it's using up

     21    too much of my time, because I have an allotted

     22    amount of time, then I'm going to take a break

     23    and let you continue to review, and then we'll

     24    come back on when you're finished.

   Golkow Litigation Services                                               Page 67
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 402. PageID #: 224067
                                                                              Review

      1                      So you just tell me when you're

      2    ready to answer questions, Mr. Forst.              I'm ready

      3    to ask them any time you are.

      4              A.      Okay.

      5              Q.      Have you reviewed the entire

      6    document, Mr. Forst?

      7              A.      Yes.

      8              Q.      Okay.    Are you comfortable to

      9    answer questions about this document?

     10              A.      I am comfortable to answer

     11    questions about the document, but I think what

     12    needs to be established is just because I'm the

     13    owner, does not mean the person that authored

     14    the document or necessarily uses the document.

     15                      This is a document that the

     16    analytics team would use, which would be Nick

     17    Rausch.

     18              Q.      I'm just asking if you reviewed

     19    it --

     20              A.      Yes.

     21              Q.      -- far enough that I can ask you

     22    questions about it.

     23              A.      Yes.

     24              Q.      It lists you as the owner on it,

   Golkow Litigation Services                                               Page 68
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 402. PageID #: 224068
                                                                              Review

      1    doesn't it?

      2              A.      Yes.    The system lists me as the

      3    owner.

      4              Q.      Now, my next question is, when's

      5    the last time you've reviewed this document; do

      6    you know?

      7              A.      I have no idea.

      8              Q.      We're talking years ago, right?

      9              A.      Right.

     10              Q.      Now, this is a standard operating

     11    procedure which Cardinal utilized to help

     12    prevent the diversion of controlled substances,

     13    right?

     14                      MS. WICHT:      Object to the

     15              form of the question.

     16              A.      This appears to be how the

     17    thresholds were developed and how to apply

     18    thresholds to customers.          That's what it appears

     19    to be to me --

     20              Q.      And the core of --

     21              A.      -- in an -- in an analytical form.

     22              Q.      And the core of Cardinal's

     23    suspicious order monitoring process was the

     24    threshold system, correct?

   Golkow Litigation Services                                               Page 69
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 402. PageID #: 224069
                                                                              Review

      1                      MS. WICHT:      Object to the

      2              form.

      3              A.      Correct.

      4              Q.      Okay.    And, again, we're talking

      5    about the anti-diversion department, so we're

      6    talking about people who want to prevent the

      7    diversion of controlled substances, right?

      8              A.      Correct.

      9                      MS. WICHT:      Object to the

     10              form of the question.

     11              Q.      And you already mentioned the

     12    issue with regulatory compliance, both with the

     13    Controlled Substances Act, I believe, as well as

     14    the Code of Federal Regulations that also apply,

     15    right?

     16                      MS. WICHT:      Object to the

     17              form of the question.

     18              Mischaracterizes.

     19              A.      Yes.

     20              Q.      Okay.    Read the Purpose to us, if

     21    you will, Mr. Forst.

     22              A.      The Purpose, "To outline the

     23    conceptual framework and methodology to follow

     24    when formulating threshold limits for the

   Golkow Litigation Services                                               Page 70
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 402. PageID #: 224070
                                                                              Review

      1    Suspicious Order Monitoring (SOM) program."

      2              Q.      Okay.    So it's the framework, the

      3    conceptual framework, for this whole threshold

      4    system, right?

      5              A.      According to the policy, yes.

      6              Q.      Well, not only according to the

      7    policy.     You know from working there over a

      8    decade in this division that it's the core of

      9    the system, isn't it?

     10                      MS. WICHT:      Object to the

     11              form.

     12              A.      At this time, according to this

     13    policy, yes.

     14              Q.      Sir, based on your knowledge and

     15    expertise in working in this department, was it

     16    the core of the system, or was it not?

     17                      MS. WICHT:      Object to the

     18              form.    Vague.

     19              A.      I can't answer that.         I mean --

     20              Q.      So, Mr. Forst, during your time

     21    with the anti-diversion department, and one of

     22    your goals being to prevent the loss of license

     23    for other distribution centers, what was the

     24    core of the system that you guys implemented to

   Golkow Litigation Services                                               Page 71
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 402. PageID #: 224071
                                                                              Review

      1    try to prevent diversion?

      2                      MS. WICHT:      Object to the

      3              form of the question.

      4              Q.      Tell the jury, please.

      5              A.      Can you define the word "core" for

      6    me.

      7              Q.      The main issue.       What was the

      8    core?    What was the focus of what your

      9    department was doing to try to prevent

     10    diversion?

     11                      MS. WICHT:      Object to the

     12              form of the question.

     13              A.      Analyzing customer purchases to

     14    try to figure out whether diversion was

     15    occurring at that customer store or that

     16    DEA-licensed store.

     17              Q.      Now -- and let's be fair.          Your

     18    obligation isn't to determine whether diversion

     19    is occurring, is it?         It's suspicion?

     20              A.      It's suspicion.

     21                      MS. WICHT:      Object to the

     22              form.

     23              Q.      It's suspicion of potential

     24    diversion.     Very low standard, right?

   Golkow Litigation Services                                               Page 72
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 402. PageID #: 224072
                                                                              Review

      1                      MS. WICHT:      Object to the

      2              form.

      3              A.      I --

      4                      MS. WICHT:      Calls for a legal

      5              conclusion.

      6              A.      I can't answer that question.

      7              Q.      Well, you evaluated threshold

      8    events to determine whether there was potential

      9    diversion, right?

     10              A.      Correct.

     11              Q.      So before you reported someone to

     12    the DEA for a suspicious order, did you have

     13    that -- did you require hard proof of diversion,

     14    or did you report suspicion?

     15              A.      We were --

     16                      MS. WICHT:      Object to the

     17              form of the question.

     18              A.      Can we take a break?

     19              Q.      No.    There's a question pending.

     20                      MS. WICHT:      Yeah.    We can't

     21              take a break when there's a

     22              question pending --

     23                      THE WITNESS:      Okay.

     24                      MS. WICHT:      -- unless you

   Golkow Litigation Services                                               Page 73
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 402. PageID #: 224073
                                                                              Review

      1              have an issue about privilege.            So

      2              you can do your best and then --

      3              A.      Please ask the question again.

      4              Q.      So you, evaluating suspicious

      5    orders or threshold events, did you report

      6    someone to the DEA once you had rock solid proof

      7    of diversion, or was your job to report someone,

      8    and did you just report them, when they were

      9    suspicious orders?

     10                      MS. WICHT:      Object to the

     11              form of the question.

     12              A.      We reported them when we thought

     13    there was a high potential for diversion

     14    occurring at those stores.

     15              Q.      Where did you get the basis for a

     16    high potential of diversion?           Where did that

     17    threshold come from?

     18                      MS. WICHT:      Object to the

     19              form of the question.

     20              A.      It's not -- it's not a threshold.

     21    It's -- it's a combination of what you look at

     22    at the store and the information that you have

     23    on the store.

     24              Q.      You're supposed to report orders

   Golkow Litigation Services                                               Page 74
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 402. PageID #: 224074
                                                                              Review

      1    of normal size, pattern, and frequency, correct?

      2                      MS. WICHT:      Object to the

      3              form of the question.

      4              A.      Correct, but that's a very vague

      5    statement.     I mean, what's normal for -- what's

      6    large for one individual might not be large for

      7    another individual.

      8              Q.      Fair enough.

      9                      MR. FULLER:      We can take your

     10              break now.

     11                      THE VIDEOGRAPHER:        We're

     12              going off the record at 10:16.

     13                      (Recess taken.)

     14                      THE VIDEOGRAPHER:        We're back

     15              on the record at 10:32.

     16    BY MR. FULLER:

     17              Q.      All right, Mr. Forst.         Before the

     18    break, we were looking at this standard

     19    operating procedure related to threshold limits

     20    and establishing them at Cardinal, right?

     21              A.      Correct.

     22              Q.      The scope of this threshold, it

     23    applies to all pharmaceutical operations and

     24    customers, QRA, or quality regulatory affairs,

   Golkow Litigation Services                                               Page 75
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 402. PageID #: 224075
                                                                              Review

      1    as well as supply chain integrity, doesn't it?

      2              A.      Correct.

      3              Q.      All right.      Now, the policy.       Read

      4    to us the intent of this policy.            Let's do one

      5    sentence at a time.        It's right there on .4 or

      6    4.0 right there on the first page.

      7              A.      Oh, the policy, okay.

      8                      "The intent of calculating

      9    threshold limits is to establish a baseline

     10    purchase pattern for all monitored items."

     11              Q.      So this is going to help us

     12    calculate the threshold limits for all

     13    baseline -- for the baseline for all monitored

     14    items, and that would be all of our controlled

     15    substances, correct?

     16                      MS. WICHT:      Object to the

     17              form.

     18              A.      Controlled substances and List I

     19    chemicals.

     20              Q.      Now, help me understand.          What's

     21    there -- is there a difference between

     22    controlled substances and List I chemicals?

     23              A.      Yes.

     24              Q.      List I chemicals are separate and

   Golkow Litigation Services                                               Page 76
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 402. PageID #: 224076
                                                                              Review

      1    distinct from controlled substances; isn't that

      2    true?

      3                      MS. WICHT:      Object to the

      4              form of the question.

      5              A.      According to the DEA, yes.

      6              Q.      Well, it's the Controlled

      7    Substances Act, as well as the regulations that

      8    regulate both, correct?

      9              A.      Correct.

     10              Q.      Now, do you also have to monitor

     11    List I chemicals if they are found in controlled

     12    substances?

     13              A.      No.    The -- I believe the

     14    controlled substance takes precedence.

     15              Q.      Fair enough.

     16                      Read the next sentence of the

     17    policy related to these thresholds.

     18              A.      "The baseline purchase pattern is

     19    then adjusted up by a statistically significant

     20    factor or variable to formulate the threshold

     21    limit."

     22              Q.      So in reality, we determine what

     23    an average is, and then we -- it says "adjusted

     24    up by a statistically significant factor or

   Golkow Litigation Services                                               Page 77
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 402. PageID #: 224077
                                                                              Review

      1    variable."

      2                      Did you guys at Cardinal adjust up

      3    the average for thresholds by a statistically

      4    significant factor or variable?

      5                      MS. WICHT:      Object to the

      6              form.    Mischaracterizes.

      7              A.      I don't know what their formula

      8    was or the analytics behind that.

      9              Q.      Okay.    Let's keep going.        Read the

     10    next sentence.

     11              A.      "The subsequent implementation of

     12    threshold limits allows a SOM program to

     13    identify customers whose order pattern

     14    significantly deviates from the baseline or

     15    normalized purchase pattern."

     16              Q.      Okay.    So this helps to see

     17    deviations from normal patterns, basically,

     18    right?

     19              A.      Correct.

     20              Q.      And that's part of what our

     21    requirement is under the regulations, which

     22    we'll look at later, is making sure we're not

     23    seeing unusual size, pattern, and frequency

     24    occurring when we're dealing with controlled

   Golkow Litigation Services                                               Page 78
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 402. PageID #: 224078
                                                                              Review

      1    substances and our customers, right?

      2                      MS. WICHT:      Object to the

      3              form.

      4              A.      Correct.

      5              Q.      Okay.    So let's go down to the

      6    methodology, which is at the bottom of the page,

      7    or at least starts on the bottom of the page.

      8                      Do you see that section?

      9              A.      Yes.

     10              Q.      It says, "The following

     11    methodology outlines the steps to be followed

     12    when calculating threshold limits.             Any

     13    variation or deviation from the below

     14    methodology must -- must -- be approved by

     15    corporate QRA."

     16                      MR. FULLER:      Underline must,

     17              please.

     18    BY MR. FULLER:

     19              Q.      Did I read that accurately?

     20              A.      Correct.

     21              Q.      Okay.    So if we're going to

     22    deviate from this pattern, corporate QRA has to

     23    approve; is that correct?

     24                      MS. WICHT:      Object to the

   Golkow Litigation Services                                               Page 79
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 402. PageID #: 224079
                                                                              Review

      1              form.

      2              A.      According to this document,

      3    correct.

      4              Q.      Is that the way it was operated at

      5    Cardinal?

      6                      MS. WICHT:      Object to the

      7              form.

      8              Q.      Or do you know?

      9              A.      The methodology?

     10              Q.      Yeah, how you guys ran --

     11              A.      The way the methodology --

     12              Q.      How you ran your department

     13    related to thresholds.

     14                      If there was going to be a

     15    different deviation from the standard operating

     16    procedure that was set out and approved, did

     17    that had to -- have to be approved by corporate

     18    QRA?

     19              A.      As far as I know, it was.

     20              Q.      Okay.    Let's go to the next page.

     21                      So, Mr. Forst, for you and the

     22    record, we're on page 2, right?

     23              A.      Correct.

     24              Q.      All right, 4.2.1 says, "Extract a

   Golkow Litigation Services                                               Page 80
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 402. PageID #: 224080
                                                                              Review

      1    formula list of customers and historical sales

      2    data."

      3                      That's the first step in our

      4    process, according to this, right?

      5              A.      Correct.

      6              Q.      And that, again, goes to what you

      7    were talking about earlier, pulling historic

      8    sales information if we have it?            Fair enough?

      9                      MS. WICHT:      Just to clarify,

     10              it says "extract and format."            I

     11              think you read it as "extract a

     12              formula," Mike.

     13                      MR. FULLER:      Sure.    Sorry.

     14                      MS. WICHT:      It's okay.

     15    BY MR. FULLER:

     16              Q.      "Extract and format a list of

     17    customers and historical sales data.

     18                      And if you look down at b, I think

     19    it asks us to do it for the period of a -- a

     20    year, 12 months; is that right, Mr. Forst?

     21              A.      According to the document, yes.

     22              Q.      Okay.    Is that your recollection

     23    as well, or do you remember some other time

     24    frame?

   Golkow Litigation Services                                               Page 81
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 402. PageID #: 224081
                                                                              Review

      1              A.      Again, this was the analytics side

      2    under Michael.       So if the document says it's

      3    12 months, it's probably a 12-month period.

      4              Q.      Okay.    You have no reason --

      5              A.      As time changed, it might have

      6    changed, but at this time, it was a 12-month

      7    period, according to this document.

      8              Q.      So at least based on your

      9    recollection, you have no basis to disagree with

     10    that, correct?

     11              A.      No.

     12              Q.      All right.      Let's go to 4.2.2.

     13    "Differentiate customers through segmentation."

     14    It says, "The segmentation of customers is

     15    preferred, but is an optional step."

     16                      Do you see that there, Mr. Forst?

     17              A.      Yes.

     18              Q.      Differentiating customers is what

     19    we talked about earlier, the different types --

     20              A.      Correct.

     21              Q.      -- chains, retail independents,

     22    hospitals, so forth and so on, correct?

     23              A.      Correct.

     24              Q.      Okay.    And it's your understanding

   Golkow Litigation Services                                               Page 82
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 402. PageID #: 224082
                                                                              Review

      1    that that also was done related to thresholds,

      2    correct?

      3              A.      Correct.

      4              Q.      All right.      4.2.3.

      5                      It says, "Evaluate historical

      6    controlled substance sales data per drug family,

      7    per month for each customer segment to establish

      8    appropriate threshold limits."

      9                      Did I read that accurately,

     10    Mr. Forst?

     11              A.      Yes.

     12              Q.      And is that part of the process as

     13    you understood it at Cardinal?

     14              A.      For the methodology, yes.

     15              Q.      And if you go down to part b of

     16    this section, it says, "Calculate thresholds --

     17    threshold limits for each base code for all

     18    customers."

     19                      And then it gives you i through

     20    vii on the next page that sets out how to do

     21    that; is that right?

     22                      MS. WICHT:      For all customer

     23              segments.

     24                      MR. FULLER:      Segments.

   Golkow Litigation Services                                               Page 83
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 402. PageID #: 224083
                                                                              Review

      1                      MS. WICHT:      Yeah.

      2                      MR. FULLER:      I'm sorry.

      3                      MS. WICHT:      No problem.

      4                      MR. FULLER:      Jennifer likes

      5              making fun of the fact I can't read

      6              just because I'm from Mississippi.

      7              A.      That is correct.

      8              Q.      Okay.    And what it basically tells

      9    you to do is it tells you to come up with the

     10    average of the different base codes for each

     11    segment, correct?        And we can walk through it

     12    step by step.      Let's go through it step by step.

     13    It won't take us long.

     14                      It says, "The thresholds will be

     15    calculated using consistent historical sales

     16    data.    The intent is to remove the erratic

     17    purchase patterns from the data as to not skew

     18    the threshold limit values."

     19                      Did I read that right?

     20              A.      Yes.

     21              Q.      And then part -- or ii says,

     22    "Determine the total dosage unit quantities

     23    purchased per segment per base code over the 12

     24    months" -- so what we're doing is we're looking

   Golkow Litigation Services                                               Page 84
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 402. PageID #: 224084
                                                                              Review

      1    at the total quantities or dosage unit, which is

      2    number of pills; is that correct?

      3              A.      Correct.

      4              Q.      -- "for the 12-month period by

      5    each segment, by each base code."

      6                      Is that fair?

      7              A.      Correct.

      8              Q.      Okay.    So now let's go to iii.

      9    "Identify the number of DEA numbers" -- which

     10    would be the number of customers presumptively,

     11    correct?

     12              A.      Correct.     I mean, a DEA number is

     13    associated with a -- an entity, yes.

     14              Q.      Fair enough.

     15                      "Identify the number of DEA

     16    numbers who purchased each base code over the

     17    12 months for each segment."

     18                      And then we take that number and

     19    then we determine the annual quantity per DEA

     20    number for the base code for each segment.               So

     21    we just divide the total number of dosage units

     22    by the number of DEA numbers or customers buying

     23    that base code, right?

     24              A.      Yes.

   Golkow Litigation Services                                               Page 85
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 402. PageID #: 224085
                                                                              Review

      1              Q.      And then it says -- and that will

      2    give us a total per segment per DEA number per

      3    base code for the year.

      4                      Then it says, "Determine the

      5    monthly quantity per DEA number."            And we know

      6    we've got to divide the annual number by 12

      7    because there's 12 months in a year, right?

      8              A.      Correct.

      9              Q.      Then there -- here's where I want

     10    to you a little bit about.

     11                      Then it says, "Multiply the

     12    monthly quantity per DEA number per base code

     13    for each segment by a factor of 3, 5, or 8.               The

     14    multiplication factor of 3, 5, or 8 is to be

     15    implemented in the following manner:             Three:

     16    hydrocodone, oxycodone, alprazolam, and

     17    phentermine drug families; Five:            All remaining

     18    ARCOS-reportable drug families; Eight Factor:

     19    All remaining monitored items not multiplied by

     20    3" -- "by a factor of 3 or 5."

     21                      Did I read that correctly?

     22              A.      Correct.

     23              Q.      So where did Cardinal come up with

     24    this 3, 5, and 8?

   Golkow Litigation Services                                               Page 86
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 402. PageID #: 224086
                                                                              Review

      1              A.      I don't know that answer.

      2              Q.      Well, if we're trying to look for

      3    outliers, does that make sense, to take our

      4    average threshold and then multiply it by -- for

      5    example, for oxycodone three times?

      6              A.      I don't --

      7                      MS. WICHT:      Object to the

      8              form of the question.

      9              A.      I don't know --

     10                      MS. WICHT:      Calls for

     11              speculation.

     12              A.      I don't know what the analytics

     13    were behind those numbers.

     14              Q.      Well, you've been in -- you've

     15    been looking and dealing with anti-diversion

     16    issues for a significant period of time, right?

     17              A.      Yes.

     18                      MS. WICHT:      Object to the

     19              form.

     20              Q.      Even going back to your time at

     21    the hospital in Texas, correct?

     22              A.      Correct.

     23              Q.      So when you look at thresholds and

     24    you come up with an average for a drug family

   Golkow Litigation Services                                               Page 87
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 402. PageID #: 224087
                                                                              Review

      1    and a segment, does it make sense to then

      2    multiply it by 3 --

      3                      MS. WICHT:      Object to the

      4              form of the question.

      5              Q.      -- for a threshold?

      6                      Explain to me from a regulatory

      7    perspective --

      8              A.      An --

      9                      MS. WICHT:      Let him finish

     10              the question.

     11              A.      Okay.

     12              Q.      Explain to me from a regulatory

     13    perspective, if we're looking for potential

     14    suspicious orders, how that makes sense.

     15    Explain that to the jury.

     16                      MS. WICHT:      Object to the

     17              form of the question.         Vague.

     18              Calls for a legal conclusion.

     19              A.      There will be fluctuations in

     20    ordering patterns, so if you don't -- if you

     21    just take an average, there were people that are

     22    going to be above the average or below the

     23    average --

     24              Q.      Sure.

   Golkow Litigation Services                                               Page 88
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 402. PageID #: 224088
                                                                              Review

      1              A.      -- so you need to adjust for

      2    factors so that they're not continually hitting

      3    thresholds, because the number that you come up

      4    with is just an average.          You're going to have

      5    to also look at other things to adjust.              So you

      6    don't want every order that comes across, just

      7    because it's associated with an average, to hit

      8    the threshold.       You have to have a little bit of

      9    play room in there for fluctuations in number of

     10    times they order a month or whatever.

     11                      So I don't know how they came up

     12    with those numbers, but I'm assuming there has

     13    to be some factor in there for fluctuations in

     14    times you order a month, et cetera, et cetera.

     15              Q.      Sure.    And I get that.       And, like

     16    you said, it's an average.          So in order to have

     17    that as an average, we have to have people above

     18    it and people below it, right?

     19              A.      Correct.

     20              Q.      And that's how you come up with an

     21    average, correct?

     22              A.      Correct.

     23              Q.      Now -- and I understand what

     24    you're saying, we need to have some buffer.               But

   Golkow Litigation Services                                               Page 89
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 402. PageID #: 224089
                                                                              Review

      1    why not a 100 percent buffer?           Why not just

      2    increase it another 100 percent?

      3                      You're increasing it 300 percent

      4    by multiplying it by 3, right?

      5              A.      I --

      6                      MS. WICHT:      Object to the

      7              form.

      8              A.      I don't know the analytics behind

      9    those numbers.

     10              Q.      But you're --

     11              A.      I mean, it could be a standard

     12    deviation.     I don't know what the analytics is

     13    behind those numbers, so I can't answer that

     14    question.

     15              Q.      So as one evaluating thresholds,

     16    the owner, at least according to the document,

     17    of this policy and procedure related to

     18    thresholds and establishing thresholds, you

     19    didn't ask anybody, "Hey, where did we get this

     20    3, 5, and 8 multiplying factors"?

     21              A.      Okay.

     22                      MS. WICHT:      Object to the

     23              form of the question.

     24              A.      The owner of the document in the

   Golkow Litigation Services                                               Page 90
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 402. PageID #: 224090
                                                                              Review

      1    document system is not the final approval --

      2    approver of the document.          So, yes, I've read

      3    that.    I probably discussed it with Nick, "Is

      4    this the formulas that we are using"?

      5              Q.      I mean, did you ask why?          I mean,

      6    listen, it may not be that you are the final

      7    approver of the document, but you are the owner,

      8    and whatever Cardinal says it means, I guess it

      9    means.    But your name's on it?

     10              A.      I understand that.

     11              Q.      So do you have any basis for

     12    allowing a three-time multiplier to an average

     13    to be a threshold for any pharmacy?

     14                      MS. WICHT:      Object to the

     15              form of the question.         Vague.

     16              Asked and answered.

     17              A.      I can't answer that, because I

     18    don't know the analytics behind this.

     19              Q.      So you just --

     20              A.      I'm not a statistician, so I don't

     21    know where you should put your limits, whether

     22    it's one standard deviation, two standard

     23    deviations.

     24                      Again, a threshold is just

   Golkow Litigation Services                                               Page 91
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 402. PageID #: 224091
                                                                              Review

      1    something that helps you to see what's going on

      2    with the customer.

      3              Q.      Absolutely.      It's the trigger --

      4              A.      You can have a threshold of 1 and

      5    everybody hit and you'd review every order.

      6    That would not make any sense.

      7              Q.      No.    Or you could have a threshold

      8    set three times the average so nobody triggers

      9    it so you don't have to review anybody, right?

     10              A.      But, again, it's an --

     11                      MS. WICHT:      Object to the

     12              form of the question.

     13              A.      But, again, it's an average.

     14              Q.      But it's -- sir, my question is,

     15    or you can multiply the threshold -- the average

     16    by some number to make it so large that no one

     17    triggers it, correct?

     18                      MS. WICHT:      Object to the

     19              form of the question.         Calls for

     20              speculation.       No foundation.

     21              A.      Yeah, I could multiply it by

     22    10,000, but that's not the purpose of this.

     23              Q.      Well, that's what I'm trying to

     24    find out, sir, is the purpose, is why Cardinal

   Golkow Litigation Services                                               Page 92
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 402. PageID #: 224092
                                                                              Review

      1    picked to determine a threshold by finding the

      2    average and then multiplying it by 3.

      3                      MS. WICHT:      He's answered

      4              that question.

      5                      MR. FULLER:      No, he hasn't

      6              answered the question.

      7                      MS. WICHT:      He doesn't know.

      8              He -- you asked him multiple times.

      9              If he --

     10                      MR. FULLER:      Apparently

     11              nobody knows.       And that seems to be

     12              the problem in this litigation,

     13              because nobody can answer a

     14              question and everybody has memory

     15              issues.

     16                      MS. WICHT:      That's --

     17    BY MR. FULLER:

     18              Q.      So this document --

     19                      MS. WICHT:      -- a ridiculous

     20              statement.

     21              Q.      This document went through you, at

     22    least according to the document, correct,

     23    Mr. Forst?

     24              A.      Correct.

   Golkow Litigation Services                                               Page 93
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 402. PageID #: 224093
                                                                              Review

      1              Q.      And you have no recollection of

      2    questioning anybody why you would be multiplying

      3    an average by 3, 5, or 8 --

      4                      MS. WICHT:      Object to --

      5              Q.      -- or do you remember now?

      6                      MS. WICHT:      Object to the

      7              form of the question.

      8              Mischaracterizes his testimony.

      9              A.      Again, I'm not the statistician.

     10              Q.      Sir --

     11              A.      The owner of the document does not

     12    mean that I have written the document, the --

     13    the information in the document necessarily -- I

     14    can't think of the word I want to use.

     15                      The information in the document is

     16    based on the analytics.         So I -- like I said,

     17    I'm not someone that does the analytics.               I'm

     18    not a statistician.        There is a reason for 3, 5,

     19    and 8.    My guess is -- and only my guess is --

     20    3, 5, and 8 is a number based on the probability

     21    of that drug family being diverted.

     22                      MS. WICHT:      I'd just caution

     23              you that -- and I think even

     24              Mr. Fuller would agree with this,

   Golkow Litigation Services                                               Page 94
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 402. PageID #: 224094
                                                                              Review

      1              that he doesn't want you to guess

      2              in your answers.

      3                      THE WITNESS:      Okay.

      4    BY MR. FULLER:

      5              Q.      As long as you qualify it as a

      6    guess, I don't care if you guess.

      7              A.      Well, I'm not going to guess, but

      8    that's --

      9              Q.      Well, it's a little late for that.

     10              A.      That's -- but, again, the

     11    analytics behind the 3, 5, and 8, I don't know.

     12    But you certainly wouldn't want the hydrocodone

     13    multiplied by 8, and the oxycodone, and the

     14    alprazolam, because those are -- have a higher

     15    incidence of diversion.

     16              Q.      Would you want to multiply it by

     17    4?

     18                      MS. WICHT:      Object to the

     19              form.    Foundation.      Calls for

     20              speculation.

     21              A.      I don't know the analytics, so I

     22    can't answer that question.

     23              Q.      Well, I mean, you just said you

     24    didn't want to multiply by 8.           How do you know

   Golkow Litigation Services                                               Page 95
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 402. PageID #: 224095
                                                                              Review

      1    that you don't want to multiply by 8?

      2                      MS. WICHT:      Object to the

      3              form.    This is why we shouldn't

      4              guess.

      5                      He's testified he doesn't

      6              know the analytics.         I don't -- I

      7              don't think it's a fair question.

      8                      MR. FULLER:      Let the witness

      9              answer this question.

     10                      MS. WICHT:      Go ahead.     You

     11              can answer the question if you're

     12              able, Chris.

     13              A.      I can't answer that.         But

     14    logically, the lesser chance of diversion -- you

     15    would not want to be looking for something that

     16    has an extremely low chance of diversion when

     17    you have hydrocodone, oxycodone, alprazolam, and

     18    phentermine as your largest drug families that

     19    are diverted according to the DEA.

     20                      I can't answer the analytics --

     21    I've said that three or four times -- about the

     22    3, 5 or 8.

     23              Q.      Now, not only would you multiply

     24    it by 3, 5, or 8, but then you, as you've

   Golkow Litigation Services                                               Page 96
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 402. PageID #: 224096
                                                                              Review

      1    already testified, would go in and ramp up the

      2    threshold based on additional factors, correct?

      3                      MS. WICHT:      Object to the

      4              form of the question.

      5              Mischaracterizes his testimony.

      6                      MR. FULLER:      "Object to form"

      7              is fine, Counsel.

      8              A.      Cardinal looked at each customer

      9    individually.      So when you have more information

     10    about the customer and you're comfortable that

     11    the presence of diversion may be happening, then

     12    you should be able to adjust the threshold

     13    suitable for that customer's business model and

     14    factor.

     15              Q.      And it should be consistent with

     16    other customers of the same business model and

     17    the same size, right?

     18                      MS. WICHT:      Object to the

     19              form.

     20              A.      Each individual customer is going

     21    to be different.       That's --

     22              Q.      Sure it is.      But there's only so

     23    many business models out there, right?

     24              A.      But the business model is just a

   Golkow Litigation Services                                               Page 97
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 402. PageID #: 224097
                                                                              Review

      1    gauge to get you in the parameter of where you

      2    need to be.

      3              Q.      Absolutely.      All the factors are

      4    just gauges, aren't they?          Whether it's type of

      5    business, whether it's number of scripts,

      6    whether it's location to a hospital, they're

      7    just factors to consider, right?

      8              A.      They're factors to consider.

      9              Q.      And they're factors that apply to

     10    all customers, aren't they?

     11              A.      Yes.    If you have that information

     12    available to you, yes.

     13              Q.      Sure.    So wouldn't you want to

     14    make sure that a similarly situated customer

     15    isn't ten times more than someone of like size

     16    business type and shape and location?

     17                      MS. WICHT:      Object to the

     18              form of the question.

     19              A.      But, again, individual customers

     20    are all different, just like we're all different

     21    sitting around the table.          Different parameters

     22    would apply to those individuals.            Unless you

     23    know information about that, everybody is just

     24    average, and we all know that everybody is

   Golkow Litigation Services                                               Page 98
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-9
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 402. PageID #: 224098
                                                                              Review

      1    different.

      2              Q.      We do.     And that's why you

      3    segmented them at Cardinal, correct?

      4                      MS. WICHT:      Object to the

      5              form.

      6              A.      But segments are only a way to

      7    divide up the customers in a logical way that

      8    you can at least look at individual customers

      9    once you get more focused on what you're looking

     10    for.

     11              Q.      Sure.    Sure.    So where did

     12    Cardinal -- the next step.

     13                      I'm actually -- go down to 4.2.4.

     14    It talks about adjustments can be made to the

     15    threshold.

     16                      Do you see that section?

     17              A.      Yes.

     18              Q.      Where did Cardinal get the

     19    approach?      What scientific studies?         What --

     20    where from did Cardinal get the approach that

     21    after multiplying a threshold, an average by

     22    three, that it still could then go in and adjust

     23    the threshold based on customer specifics?

     24              A.      I don't know.

   Golkow Litigation Services                                               Page 99
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 402. PageID #: 224099
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form of the question.

      3               Q.      Do you know of any study that

      4    suggests that?

      5               A.      I don't know.

      6                       MS. WICHT:      Object to the

      7               form of the question.

      8               A.      I don't know.

      9               Q.      Have you ever seen a study that

     10    suggests that?

     11               A.      Not to my knowledge.

     12                       MS. WICHT:      Object to the

     13               form of the question.

     14               A.      No.

     15               Q.      Okay.    Have you ever been told --

     16    strike that.

     17                       In all your time at the hospital,

     18    did you ever utilize the Chemical Handler's

     19    Manual?

     20               A.      I'm not sure what that is, or if

     21    it had a different name.

     22               Q.      Let's go to 3869.

     23               A.      It sounds like a distribution

     24    manual.

    Golkow Litigation Services                                             Page 100
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 402. PageID #: 224100
                                                                               Review

      1                                - - -

      2      (Cardinal-Forst Deposition Exhibit 4 marked.)

      3                                - - -

      4               Q.      This will be Plaintiffs' Exhibit

      5    Number 4, 3869, Chemical Handler's Manual.

      6                       Have you ever seen that before?

      7    Take a second and look at it.

      8                       Have you ever seen that document

      9    before?

     10               A.      No.   Looks like a distributor's

     11    document.

     12               Q.      And it applies to List I

     13    chemicals, correct?

     14                       MS. WICHT:      Object to the

     15               form.    Calls for speculation.

     16               A.      Well, on 3869.7, I see that it

     17    does have the word "Listed Chemicals," so a

     18    List I chemical, a List II chemical.

     19                       MR. FULLER:      Hey, bring up

     20               the Reardon clip, please.

     21    BY MR. FULLER:

     22               Q.      You mentioned Mr. Reardon was your

     23    boss, correct, or your boss's boss; is that

     24    right?

    Golkow Litigation Services                                             Page 101
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 402. PageID #: 224101
                                                                               Review

      1               A.      Mr. Reardon is --

      2               Q.      Hartman.     Hartman.

      3               A.      Mr. Hartman was my boss' boss.

      4               Q.      Who is Mr. Reardon?

      5               A.      Mr. Reardon was over the

      6    distribution centers.

      7               Q.      And do you know what he held --

      8    what position he held prior to that?

      9               A.      I don't know his history.

     10                       MR. FULLER:      Go ahead.     Play

     11               it.

     12                       (Video clip played as

     13               follows):

     14                       "Q.   Turn to page 271 of the same

     15    document.       And you can look on the big screen or

     16    you can try to find that page, either way,

     17    Mr. Reardon.       Is that the document you're

     18    referring to?

     19                       "A.   No.

     20                       "Q.   What other document are you

     21    referring to; do you know?

     22                       "A.   Again, it was a document that

     23    the trade association had.

     24                       "Q.   The HDMA?

    Golkow Litigation Services                                             Page 102
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 402. PageID #: 224102
                                                                               Review

      1                       "A.   Yes, it was NWDA at the time.

      2                       "Q.   NWDA.     And how do you know --

      3    strike that.       All right.      This is in this manual

      4    obviously?

      5                       "A.   Yes.

      6                       "Q.   It has a suspicious order

      7    reporting system of 1998.           Do you see that?

      8                       "A.   Yes.

      9                       "Q.   Have you seen this document

     10    before?

     11                       "A.   Yes.

     12                       "Q.   Is it your understanding --

     13    is that how the limit amounts were created in

     14    the audit -- or excuse me -- ingredient limit

     15    reports?

     16                       "A.   Not the ingredient limits

     17    report.

     18                       "Q.   What was this used for; do

     19    you know?

     20                       "A.   I believe this was used for

     21    List I chemicals.

     22                       "Q.   So this applies only to

     23    List I chemicals, is your understanding?

     24                       "A.   Yes.

    Golkow Litigation Services                                             Page 103
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 402. PageID #: 224103
                                                                               Review

      1                       "Q.   And, therefore, not controlled

      2    substances, unless they include List I chemicals,

      3    right?

      4                       "A.   Yes."

      5    BY MR. FULLER:

      6               Q.      Okay.    Had you ever seen that

      7    document before?

      8               A.      The document on the screen?

      9               Q.      Yes, sir.

     10               A.      I couldn't see that.

     11               Q.      Okay.

     12                       MR. FULLER:      And this is

     13               going to be Plaintiffs' Exhibit

     14               Number 5, 4349.

     15                                - - -

     16      (Cardinal-Forst Deposition Exhibit 5 marked.)

     17                                - - -

     18    BY MR. FULLER:

     19               Q.      And that document is going to be

     20    on page 41, Mr. Forst.

     21                       MS. WICHT:      The document that

     22               was shown on the screen in the

     23               deposition clip?

     24                       MR. FULLER:      Yes, ma'am.

    Golkow Litigation Services                                             Page 104
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 402. PageID #: 224104
                                                                               Review

      1    BY MR. FULLER:

      2               Q.      Did you find that document,

      3    Mr. Forst?

      4               A.      Yes.

      5               Q.      It says, "Exhibit II, Suspicious

      6    Order Reporting System of 1998" --

      7               A.      Yes.

      8               Q.      -- "For Use in Automated Tracking

      9    Systems," correct?

     10               A.      Yes.

     11               Q.      And this appears to be for -- it

     12    says, "The Current Calculation Being Used for

     13    List I Chemicals and Schedule II through V

     14    Controlled Substances."

     15                       And you can take a minute and look

     16    at it.

     17                       If you go down to the -- right

     18    after Number 4, it talks about a multiplier.

     19                       Do you see that?

     20               A.      Yes.

     21               Q.      And it has a 3 and an 8 factor,

     22    correct?

     23               A.      Yes.

     24               Q.      It says, "Note:       Factor equals 3

    Golkow Litigation Services                                             Page 105
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 402. PageID #: 224105
                                                                               Review

      1    for controlled -- IIs and IIIs controlled

      2    substances containing List I chemicals."

      3                       Did I read that right?

      4               A.      Yes.

      5               Q.      Now, that, at least according to

      6    that statement, wouldn't apply to OxyContin --

      7    or excuse me -- oxycodone products, would it?

      8                       MS. WICHT:      Object to the

      9               form.    Foundation.      Calls for

     10               speculation.

     11               A.      Repeat the question, please.

     12               Q.      Sure.    It says, "The factor equals

     13    3 for C-II through -- and C-III controlled

     14    substances containing List I chemicals."

     15                       OxyContin -- excuse me --

     16    oxycodone products do not contain List I

     17    chemicals, do they?

     18                       Let me ask a different question.

     19    Do you know what the List I chemicals are that

     20    you're -- I guess it was during regulatory --

     21    supposed to be preventing the diversion of?

     22                       MS. WICHT:      Object to the

     23               form of the question.

     24               A.      The ones that we want were

    Golkow Litigation Services                                             Page 106
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 402. PageID #: 224106
                                                                               Review

      1    pseudoephedrine, ephedrine, and -- I can't --

      2    there's -- if it was a List I chemical, it

      3    had -- I don't remember.           Those are the two that

      4    come to my mind.

      5               Q.      Okay.    And that was all based on

      6    the meth act that was in the late '90s, correct?

      7                       MS. WICHT:      Object to the

      8               form.

      9               A.      That sounds correct.

     10               Q.      It was all -- it was all due to

     11    the meth outbreak that the country --

     12               A.      Correct.

     13               Q.      -- was experiencing back then.

     14    You know that, right?

     15                       MS. WICHT:      Object to the

     16               form.

     17               A.      Yes.

     18               Q.      Okay.    And you know

     19    pseudoephedrine is not in any oxycodone products

     20    that you're aware of, correct?

     21               A.      Not to my knowledge, no.

     22               Q.      Okay.    And we'll come back to

     23    this, but I wanted to show you that.

     24                       So we see a 3 factor there, but

    Golkow Litigation Services                                             Page 107
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 402. PageID #: 224107
                                                                               Review

      1    you would agree with me that based on what we

      2    see -- and actually let's, turn to page 5 of

      3    that document.

      4                       MS. WICHT:      Of Exhibit 5?

      5                       MR. FULLER:      Yes, ma'am.

      6               4339.

      7               Q.      And do you see the title of it?

      8    It says, "Report to the U.S. Attorney General by

      9    the Suspicious Order Task Force."

     10               A.      Yes.

     11               Q.      And it says, "The comprehensive

     12    Methamphetamine Control Act of 1996," just like

     13    you thought, right?

     14               A.      Yes.

     15                       MS. WICHT:      Object to the

     16               form.

     17               Q.      Okay.    If you go down to the

     18    second paragraph, it says, "The charter required

     19    to establish a task force to prepare

     20    recommendations concerning additional guidelines

     21    to be used by the chemical industry in complying

     22    with 21 U.S.C. 830(b)(1)(A)."

     23                       Do you know what that regulation

     24    is?

    Golkow Litigation Services                                             Page 108
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 402. PageID #: 224108
                                                                               Review

      1               A.      Not off the top of my head, no.

      2                       MR. FULLER:      Gina, can you

      3               pop up the demonstrative A.

      4               Q.      So there's on the screen 2130- --

      5                       MR. FULLER:      And, actually, I

      6               think I have a hard copy.          I need a

      7               sticker, Edna.

      8                       This will be Plaintiffs'

      9               Exhibit Number 6.        It's

     10               demonstrative A, and it's part of

     11               the 21 U.S.C.A. 830.         There you go.

     12                                - - -

     13      (Cardinal-Forst Deposition Exhibit 6 marked.)

     14                                - - -

     15               Q.      And you have that in front of you.

     16    It's the 21 U.S.C.A. Section 830, right?

     17               A.      Yes.

     18               Q.      United States Code.        This is a

     19    federal law that was passed by our U.S.

     20    Congress.       And it says Reports, (b) -- and if

     21    you -- if --

     22                       MR. FULLER:      Gina, just leave

     23               this up.

     24

    Golkow Litigation Services                                             Page 109
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 402. PageID #: 224109
                                                                               Review

      1    BY MR. FULLER:

      2               Q.      If you toggle back and forth,

      3    Mr. Forst, between that and 4339, which is the

      4    document we just pulled out, you can see it

      5    cites 21 U.S.C. 830(b)(1)(A), right?

      6               A.      Yes.

      7               Q.      And if we read (b)(1)(A), it's

      8    Reports to Attorney General, and then (1) is

      9    "Each regulated person shall report to the

     10    Attorney General, in such form and manner as the

     11    Attorney General shall prescribe by regulation:

     12                       (A) any regulated transaction

     13    involving the extraordinary quantity of a listed

     14    chemical, an uncommon method of payment or

     15    delivery, or any other circumstances that the

     16    regulated person believes may indicate that the

     17    listed chemical will be used in violation of

     18    this subchapter."

     19                       Hopefully I read that right,

     20    because it's pretty long.

     21                       Did I get it right, Mr. Forst?

     22               A.      Yes.

     23               Q.      Okay.    So this code section that

     24    the report that we were looking at to Janet Reno

    Golkow Litigation Services                                             Page 110
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 402. PageID #: 224110
                                                                               Review

      1    is referring to is the code section related to

      2    List I chemicals, correct?

      3               A.      Correct.

      4               Q.      Not controlled substances, right?

      5                       MS. WICHT:      Object to the

      6               form of the question.

      7               A.      According to the document, yes.

      8               Q.      Okay.    Now -- and I think you

      9    testified earlier there was two sets of rules

     10    that you guys had to follow at Cardinal.               One

     11    related to List I chemicals and one related to

     12    controlled substances; is that true?

     13                       MS. WICHT:      Object to the

     14               form of the question.

     15               A.      Could you repeat the question.

     16               Q.      Sure.    There was different

     17    statutes that Cardinal had to comply with as a

     18    registrant: a set related to List I chemicals,

     19    and then the Controlled Substances Act that

     20    pertained to controlled substances, correct?

     21                       MS. WICHT:      Object to the

     22               form of the question.

     23               A.      Correct.

     24               Q.      Okay.    Now, the threshold setting

    Golkow Litigation Services                                             Page 111
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 402. PageID #: 224111
                                                                               Review

      1    process we read earlier used a multiplier of 3,

      2    5, and 8 in the standard operating procedure set

      3    out by Cardinal, right?

      4               A.      According to the procedure, yes.

      5               Q.      Okay.    And at least the 3 and 8

      6    may be justified by List I chemicals, at least

      7    according to the documents we've seen in the

      8    Chemical Handler's, as well as the Janet Reno

      9    report, right?

     10                       MS. WICHT:      Object to the

     11               form of the question.         Foundation.

     12               Calls for speculation.

     13               A.      I don't know if those two are

     14    related.      I can't -- I can't -- just because one

     15    says 3 and 8 and the policy says 3 and 8 -- and

     16    I don't know the analytics or where that

     17    information came from -- I can't say if those

     18    are truly related to each other.             It could be a

     19    coincidence they chose those numbers.               I don't

     20    know the answer to that.

     21               Q.      You don't know if Cardinal based

     22    the selection of those numbers off of that

     23    report?

     24               A.      I do not know that.

    Golkow Litigation Services                                             Page 112
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 402. PageID #: 224112
                                                                               Review

      1               Q.      Okay.    Maybe they did, maybe they

      2    didn't, but you can't testify one way or the

      3    other?

      4               A.      I can't testify one way or the

      5    other.

      6               Q.      Fair enough.

      7                       So back to 4553, which is the SOP,

      8    and page 3 of that document, we talked there

      9    about coming up with the average.             That's just

     10    the simple math of coming up with the average,

     11    right?

     12                       Are you aware of any particular

     13    reason that it was done that way?

     14               A.      No.

     15               Q.      Okay.    Now, we went down to 4.2.4

     16    and we talked ever so briefly.            And I'm

     17    assuming -- well, let me ask it.

     18                       Was the section related to after

     19    setting a threshold, then adjusting thresholds

     20    based on what you described as customer

     21    specifics, was that in this policy and procedure

     22    before you made any additions or subtractions to

     23    it, or do you recollect?

     24                       MS. WICHT:      Object to the

    Golkow Litigation Services                                             Page 113
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 402. PageID #: 224113
                                                                               Review

      1               form.

      2               A.      I don't recollect.

      3               Q.      Do you know what the basis of that

      4    is, what the scientific basis of making those

      5    adjustments would be?

      6                       MS. WICHT:      Object to the

      7               form.    Asked and answered.

      8               A.      I don't know the answer to that.

      9               Q.      Do you know who would?         Do you

     10    know who would know what studies out there were

     11    done that support this methodology used by

     12    Cardinal?

     13                       MS. WICHT:      Object to the

     14               form of the question.

     15               A.      I can't speculate on who it would

     16    be.

     17               Q.      All right.

     18                       So, Mr. Forst, we've talked a

     19    little bit about the different regulations and

     20    regulatory requirements, right?

     21               A.      Yes.

     22               Q.      And you said that there were some

     23    that apply and some obligations that Cardinal

     24    takes on based on them, correct?

    Golkow Litigation Services                                             Page 114
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 402. PageID #: 224114
                                                                               Review

      1               A.      Correct.

      2               Q.      What is your understanding of what

      3    the Controlled Substances Act requires of

      4    Cardinal?       Tell the jury.

      5                       MS. WICHT:      Object to the

      6               form.    Calls for a legal

      7               conclusion.

      8               A.      To monitor DEA customer purchase

      9    orders or acquisitions if -- for some reason,

     10    there's not the word "purchase" in there --

     11    to --

     12                       MS. WICHT:      Mike, I -- you

     13               didn't write down what he said.

     14                       MR. FULLER:      I'm not

     15               transcribing it.

     16                       MS. WICHT:      Okay.

     17                       MR. FULLER:      So you let me

     18               conduct my depo the way I like --

     19                       MS. WICHT:      Sure.

     20                       MR. FULLER:      -- if you don't

     21               mind.

     22                       MS. WICHT:      Sure.

     23    BY MR. FULLER:

     24               Q.      Go ahead.

    Golkow Litigation Services                                             Page 115
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 402. PageID #: 224115
                                                                               Review

      1               A.      -- to look for the possibility of

      2    suspicious orders that may be diverted for a

      3    non-medical purpose.

      4               Q.      Okay.    Any other obligations that

      5    the DEA puts on Cardinal, to your understanding?

      6                       MS. WICHT:      Objection.

      7               Q.      Strike that.

      8                       MS. WICHT:      Sorry.

      9               Q.      Any other regulatory or statutory

     10    obligations that Cardinal has to meet related to

     11    suspicious order monitoring?

     12                       MS. WICHT:      Object to the

     13               form and calls for a legal

     14               conclusion.

     15               A.      I think that's pretty succinct.            I

     16    mean, I would include into that the frequency,

     17    the quantity, the pattern.           So I think that's a

     18    pretty decent definition.

     19               Q.      And I'm not saying it's not.           I'm

     20    just wanting to give you an opportunity to tell

     21    me about anything else that you may believe

     22    Cardinal has to do.

     23                       Now --

     24                                - - -

    Golkow Litigation Services                                               Page 116
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 402. PageID #: 224116
                                                                               Review

      1      (Cardinal-Forst Deposition Exhibit 8 marked.)

      2                                - - -

      3               Q.      All right.      So Plaintiffs' Exhibit

      4    Number 8 --

      5                       MS. WICHT:      7?

      6                       MR. FULLER:      No.    8's first.

      7                       MS. WICHT:      Are we skipping?

      8                       MR. FULLER:      Yeah, we --

      9               I'm -- I'm just taking the wrong

     10               one backwards.

     11                       MS. WICHT:      Okay.

     12    BY MR. FULLER:

     13               Q.      This is P.4916.

     14                       Okay.    Mr. Forst -- and I'm

     15    pronouncing that right; it's Forst, right?

     16               A.      That's correct.

     17               Q.      Okay.    Sorry.

     18                       You have 4916, which is

     19    Plaintiffs' Exhibit Number 8, in front of you?

     20               A.      Yes.

     21               Q.      And it's also on the screen.

     22                       It says, "United States Code

     23    Annotated, Title 21, Food and Drugs," right?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 117
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further118Confidentiality
                                                           of 402. PageID #: 224117
                                                                               Review

      1               Q.      "Drug Abuse Prevention and

      2    Control, Subchapter I, Control and Enforcement,

      3    Part A, Introductory Provisions."

      4                       Do you see that?

      5               A.      Yes.

      6               Q.      And it talks about the findings

      7    and declarations related to controlled

      8    substances.

      9                       Have you ever seen this code

     10    before?     Do you ever recall reading the

     11    Controlled Substances Act?

     12                       MS. WICHT:      Yeah.    It's a

     13               compilation of different things.

     14               Q.      And I'll tell you this is -- yeah,

     15    this is sections of it.          I didn't give you the

     16    whole act.

     17               A.      Okay.

     18               Q.      Do you ever recall reading the

     19    Controlled Substances Act, Mr. Forst?

     20               A.      From cover to cover, no.

     21               Q.      But portions of it throughout your

     22    career?

     23               A.      Yes.

     24               Q.      Okay.    So this is the declarations

    Golkow Litigation Services                                             Page 118
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further119Confidentiality
                                                           of 402. PageID #: 224118
                                                                               Review

      1    by Congress.       And if you look at number 2, it

      2    says, "The illegal importation, manufacture,

      3    distribution and possession and improper use of

      4    controlled substances have a substantial and

      5    detrimental effect on the health and general

      6    welfare of the American people."

      7                       Did I read that correctly?

      8               A.      Yes.

      9               Q.      And one of the factors that we

     10    focus on when we're dealing with Cardinal is the

     11    distribution, right?         That's what Cardinal is in

     12    the business of is distributing, amongst other

     13    things, controlled substances?

     14                       MS. WICHT:      Object to the

     15               form.

     16               A.      But "distribution" can also mean

     17    distributing to a patient or whatever.               So

     18    distribution is a very large -- it -- it's a

     19    word that encompasses a lot of things just

     20    besides distribution centers or -- in my

     21    opinion.

     22               Q.      Fair enough.

     23                       Do you think that that, then,

     24    removes the Controlled Substances Act outside

    Golkow Litigation Services                                             Page 119
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further120Confidentiality
                                                           of 402. PageID #: 224119
                                                                               Review

      1    the realm of having to be complied with by

      2    Cardinal?

      3                       MS. WICHT:      Object to the

      4               form.

      5               Q.      I mean, based on what you were

      6    explaining as the definition, does Cardinal

      7    still have to comply with the Controlled

      8    Substances Act or not?

      9               A.      Cardinal has to comply with the

     10    Controlled Substances Act in portions that the

     11    distribution of controlled substances, the

     12    licensing, et cetera, whatever -- whatever

     13    part -- whatever Cardinal has that is affiliated

     14    in some form or fashion, even if it was

     15    manufacture, then they would have to follow the

     16    Controlled Substances Act for those -- those

     17    processes that they do.

     18               Q.      Fair enough.

     19                       Are you -- let me ask it

     20    differently.

     21                       Are you aware of whether Cardinal

     22    has to -- I mean, has to provide for the

     23    maintenance of effective control against the

     24    diversion of particular controlled substances

    Golkow Litigation Services                                             Page 120
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further121Confidentiality
                                                           of 402. PageID #: 224120
                                                                               Review

      1    other than -- into other than legitimate

      2    medical, scientific, or industrial channels?

      3                       MS. WICHT:      Object to the

      4               form and calls for a legal

      5               conclusion.

      6               A.      Could you repeat the question,

      7    please.

      8               Q.      Sure.    Turn to page 4.       See here

      9    Registration requirements?           It's part of the

     10    Controlled Substances Act --

     11               A.      Yes.

     12               Q.      -- 21 U.S.C. Section --

     13               A.      Yes.

     14               Q.      -- 823.

     15                       (b) is one:      Distributors of

     16    controlled substances of Schedules I and II.

     17    And then one of the requirements is "Maintenance

     18    of effective control against the diversion of

     19    particular controlled substances into other than

     20    legitimate medical, scientific, and industrial

     21    channels."

     22               A.      Yes.

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 121
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further122Confidentiality
                                                           of 402. PageID #: 224121
                                                                               Review

      1               Q.      Are you aware whether Cardinal has

      2    to comply with that?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      I would say Cardinal does comply

      6    with that.

      7               Q.      And I'm not asking whether they do

      8    or don't right now.

      9               A.      Yes, they have -- they should

     10    follow that, yes.

     11               Q.      So if we go back to our -- what

     12    Cardinal is required to do, can we add maintain

     13    effective controls against diversion?

     14                       MS. WICHT:      Object to the

     15               form.

     16               A.      It says "into other than

     17    legitimate medical and scientific and industrial

     18    channels.

     19               Q.      Right.    You want to prevent

     20    diversion?

     21                       MS. WICHT:      Object to the

     22               form of the question.

     23               A.      Correct, but is not a DE -- a

     24    DEA-licensed facility a legitimate medical,

    Golkow Litigation Services                                             Page 122
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further123Confidentiality
                                                           of 402. PageID #: 224122
                                                                               Review

      1    scientific, or industrial thing if they have a

      2    DEA license.

      3               Q.      Well, fair enough.

      4                       So you always distributed to

      5    licensed entities, right?

      6               A.      Correct.

      7               Q.      Well, explain to the jury why

      8    Cardinal got their license suspended, four

      9    facilities in 2007 and '08 and then another

     10    facility during your time in 2012.

     11                       MS. WICHT:      Object to the

     12               form.

     13               Q.      If it only distributed to licensed

     14    distributors and that's all you have to do,

     15    explain to the jury why Cardinal had five

     16    different licenses suspended over a four-year

     17    period.

     18                       MS. WICHT:      Object to the

     19               form.

     20               Q.      Go ahead.

     21                       MS. WICHT:      Foundation.

     22               Calls for a legal conclusion.

     23               A.      I can't --

     24               Q.      Because you have to do more than

    Golkow Litigation Services                                             Page 123
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further124Confidentiality
                                                           of 402. PageID #: 224123
                                                                               Review

      1    just distribute to someone that's licensed to

      2    receive it, don't you?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      Yes.    You need to make sure that

      6    they are licensed properly, and you also have --

      7    so this one is difficult because you also have

      8    to understand that the entity that's licensed

      9    has also legal obligations.

     10                       I, as a pharmacist, would not

     11    knowingly fill a prescription that would be

     12    going out into and used for diversion or abuse.

     13    So I have -- as a pharmacist, looking at this, I

     14    have to understand there are other professionals

     15    out there that have also the responsibility.                 So

     16    I can't see who they're dispensing to, who their

     17    prescriber is, so I'm very limited in that.

     18                       So effective control is through

     19    the whole system.

     20               Q.      And Cardinal has to do its part,

     21    doesn't it?

     22               A.      Cardinal has done its part.

     23               Q.      Well --

     24               A.      Those were allegations.

    Golkow Litigation Services                                               Page 124
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further125Confidentiality
                                                           of 402. PageID #: 224124
                                                                               Review

      1               Q.      Well, no, because in 2012,

      2    Cardinal admitted to its system failing.               There

      3    was an admission by -- do you -- are you not

      4    aware of that, that Cardinal in its memorandum

      5    of agreement -- of understanding with the DEA --

      6               A.      I believe there was --

      7               Q.      -- and the DOJ -- hold on, let me

      8    finish -- actually admitted to failure related

      9    to the Controlled Substances Act?

     10                       MS. WICHT:      Object to the

     11               form of the question.

     12               A.      I am not aware of an admission.

     13               Q.      No one ever shared that with you

     14    before today, right?

     15                       MS. WICHT:      Object to the

     16               form of the question.

     17               A.      I am not aware of an admission.

     18               Q.      So, again, my question is, no one

     19    ever shared that with you before today, right?

     20                       MS. WICHT:      Object to the

     21               form of the question.

     22               A.      I am not aware of an admission.

     23               Q.      Did you ever see the second

     24    memorandum of understanding, what the

    Golkow Litigation Services                                             Page 125
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further126Confidentiality
                                                           of 402. PageID #: 224125
                                                                               Review

      1    allegations were against Lakeland for the second

      2    time?

      3               A.      They were allegations.

      4               Q.      Right.    But Cardinal admitted to

      5    some of them.

      6               A.      I --

      7               Q.      Did anybody share with you --

      8               A.      I do not -- I do not remember

      9    Cardinal admitting.

     10               Q.      Fair enough.

     11                       So does Cardinal -- from

     12    Mr. Forst's perspective, does Cardinal need to

     13    maintain effective controls against diversion?

     14    Yes or no?

     15               A.      In (d)(2)?

     16                       MS. WICHT:      Object to form of

     17               the question.

     18               A.      Sorry.    What was the question

     19    again?

     20               Q.      Does Cardinal need to maintain

     21    effective controls to prevent diversion?

     22                       MS. WICHT:      Object to the

     23               form of the question.

     24               A.      Cardinal does the best to its

    Golkow Litigation Services                                             Page 126
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further127Confidentiality
                                                           of 402. PageID #: 224126
                                                                               Review

      1    ability to maintain controls to avoid diversion

      2    of controlled substances.

      3               Q.      All right.

      4                       Then let's go to Exhibit Number 7,

      5    4915.

      6                                - - -

      7      (Cardinal-Forst Deposition Exhibit 7 marked.)

      8                                - - -

      9               Q.      Does Cardinal have an obligation

     10    related to suspicious orders that you're aware

     11    of, Mr. Forst?

     12               A.      I'm sorry.

     13               Q.      Does Cardinal have an obligation

     14    related to suspicious orders?

     15                       MS. WICHT:      Object to the

     16               form.

     17               A.      Yes.

     18               Q.      And what is that obligation, to

     19    your understanding?

     20               A.      The obligation, to my

     21    understanding, is to report orders that are

     22    deemed suspicious.

     23               Q.      All right.      So make sure I've got

     24    this right.

    Golkow Litigation Services                                             Page 127
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further128Confidentiality
                                                           of 402. PageID #: 224127
                                                                               Review

      1                       First we talked about they have to

      2    monitor DEA customers looking for possible

      3    suspicious orders that may be diverted for

      4    non-medical purposes, correct?

      5               A.      Correct.

      6                       MS. WICHT:      Object to the

      7               form.

      8               Q.      Second, we talked about they need

      9    to maintain controls against diversion, right?

     10               A.      Yes.

     11                       MS. WICHT:      Object to the

     12               form.

     13                       MR. FULLER:      He even paused

     14               and sort of glanced your way.

     15                       MS. WICHT:      Sorry.    I was

     16               slow.

     17    BY MR. FULLER:

     18               Q.      And lastly, we talked about

     19    Cardinal has to, at least according to the

     20    regulations, report orders that are deemed

     21    suspicious.

     22                       MS. WICHT:      Object to the

     23               form.

     24               Q.      Is that correct, Mr. Forst?

    Golkow Litigation Services                                             Page 128
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further129Confidentiality
                                                           of 402. PageID #: 224128
                                                                               Review

      1               A.      Yes.

      2               Q.      Okay.    Now, let's bounce back to

      3    thresholds for one second.

      4                       Actually, let's finish with this

      5    document, 4915.

      6                       Read, if you will, the -- Section

      7    (b) there aloud for the jury, Mr. Forst.

      8               A.      "The registrant shall design and

      9    operate a system to disclose to the registrant

     10    suspicious orders of controlled substances.                The

     11    registrant shall inform the field office --

     12    Field Division Office of the Administration in

     13    his area of suspicious orders when discovered by

     14    the registrant.        Suspicious orders include

     15    orders of unusual size, orders deviating

     16    substantially from a normal pattern, and orders

     17    of unusual frequency."

     18               Q.      So suspicious orders are defined

     19    by the DEA as including orders of unusual size,

     20    orders deviating substantially from normal

     21    pattern, or orders of unusual frequency; is that

     22    correct?

     23               A.      According to the document, yes.

     24               Q.      So Cardinal should be identifying

    Golkow Litigation Services                                              Page 129
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further130Confidentiality
                                                           of 402. PageID #: 224129
                                                                               Review

      1    and reporting orders of unusual size, deviating

      2    substantially from a normal pattern, and orders

      3    of unusual frequency; is that right?

      4                       MS. WICHT:      Object to the

      5               form.

      6               A.      Well --

      7               Q.      Is that how the regulation reads?

      8               A.      It's how the regulation reads, but

      9    the regulation is vague as opposed to what is

     10    unusual, what is truly normal, or what is an

     11    unusual frequency.

     12               Q.      Okay.    Fair enough.

     13               A.      That's open to interpretation.

     14               Q.      So -- well, all right.         Let's --

     15    let's talk about those thresholds just for a

     16    moment, though.

     17                       The thresholds, the process that

     18    started in 2008 when you were there, those

     19    thresholds -- once somebody reached them, the

     20    orders were stopped, weren't they?

     21               A.      The orders were held for review.

     22               Q.      They wouldn't go out until they

     23    were cleared; is that correct?

     24               A.      That is correct.

    Golkow Litigation Services                                             Page 130
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further131Confidentiality
                                                           of 402. PageID #: 224130
                                                                               Review

      1               Q.      And that's been the system since

      2    2008 up until the time you left, wasn't it?

      3               A.      That is correct.

      4               Q.      Now, they can be reviewed and then

      5    released, right?

      6               A.      That is correct.

      7               Q.      But no order is going to go out of

      8    Cardinal that's hit a threshold without somebody

      9    looking at it, reviewing it, and releasing it,

     10    correct?

     11               A.      That is correct.

     12               Q.      Okay.    And that's, again, from

     13    February of '08 all the way to when you left in

     14    June of '17 -- I think you said June, right?

     15               A.      Correct.

     16               Q.      Okay.    Let's talk -- June or July,

     17    somewhere around there, isn't that right?

     18               A.      Yes.

     19               Q.      Okay.

     20               A.      Yeah, because we're in '19.

     21               Q.      Now, about that same time,

     22    Cardinal also started a Know Your Customer

     23    policy --

     24               A.      And the time you're referring to

    Golkow Litigation Services                                             Page 131
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further132Confidentiality
                                                           of 402. PageID #: 224131
                                                                               Review

      1    is?

      2               Q.      Back in 2008.

      3               A.      Okay.

      4               Q.      Right?

      5                       MS. WICHT:      Object to the

      6               form of the question.

      7               A.      As far as I know, that is correct.

      8               Q.      Okay.    Now, it may have been, I

      9    guess, already started when you arrived, but it

     10    was there when you got there; is that fair?

     11               A.      Yes.

     12               Q.      And it's been in place since that

     13    time, maybe with some tweaks and adjustments,

     14    all the way up till the time you left, again, in

     15    middle of 2017, correct?

     16               A.      Correct.

     17               Q.      Okay.    So those aren't -- those

     18    aren't anything new after the 2012 incident?

     19    Those have been in place going all the way back

     20    to 2008, correct?

     21               A.      That --

     22                       MS. WICHT:      Object to the

     23               form.

     24               A.      That sounds correct.

    Golkow Litigation Services                                             Page 132
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further133Confidentiality
                                                           of 402. PageID #: 224132
                                                                               Review

      1               Q.      Okay.    We're going to mark -- my

      2    handwriting is a -- we'll call it an art --

      3    Exhibit Number 9.

      4                                - - -

      5      (Cardinal-Forst Deposition Exhibit 9 marked.)

      6                                - - -

      7               Q.      Exhibit 9 is a demonstrative --

      8    I'm just going to throw it there in the middle

      9    for now.

     10                       MS. WICHT:      We can make

     11               copies at the break.

     12                       MR. FULLER:      Sure.    Sure.

     13                                - - -

     14      (Cardinal-Forst Deposition Exhibit 10 marked.)

     15                                - - -

     16    BY MR. FULLER:

     17               Q.      Let's talk about --

     18                       MR. FULLER:      Plaintiffs'

     19               Exhibit Number 10 is going to be

     20               4547.

     21    BY MR. FULLER:

     22               Q.      Have you ever seen this

     23    suspicious -- or excuse me -- standard operating

     24    procedure previously?

    Golkow Litigation Services                                             Page 133
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further134Confidentiality
                                                           of 402. PageID #: 224133
                                                                               Review

      1                       And, again, if you look on

      2    page 13, I think you're the owner of this

      3    document as well, Mr. Forst.

      4               A.      And I reiterate, owner does not

      5    necessarily mean the person that is the author

      6    of the document.

      7               Q.      Well, you said that, but Cardinal

      8    labeled you as the owner.

      9               A.      So this document --

     10                       MS. WICHT:      What's the

     11               question that's open?

     12                       MR. FULLER:      I'm just asking

     13               if he's seen it before.

     14                       MS. WICHT:      Okay.

     15    BY MR. FULLER:

     16               Q.      Is it fair to say that you've seen

     17    it before, or would they just stick your name on

     18    something you've never seen?

     19               A.      This document should belong to

     20    Steve Morse, because he was the head of

     21    investigations.

     22               Q.      Now, you worked with Mr. Morse,

     23    didn't you?

     24               A.      Yes.

    Golkow Litigation Services                                             Page 134
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further135Confidentiality
                                                           of 402. PageID #: 224134
                                                                               Review

      1               Q.      Okay.

      2               A.      And, again, the assignment of

      3    these documents --

      4               Q.      Look, I can only go by what's on

      5    the document.

      6               A.      I understand.

      7               Q.      I wasn't at Cardinal.         I haven't

      8    been in Cardinal.        I don't -- I'm trying to

      9    learn, okay?

     10                       MS. WICHT:      Well, I think

     11               he's trying to explain something --

     12                       MR. FULLER:      Well, no.

     13                       MS. WICHT:      -- and you jumped

     14               in on him.      So --

     15                       MR. FULLER:      He's trying to

     16               tell me --

     17                       MS. WICHT:      -- just let

     18               him -- you said you're trying to

     19               learn.    He's trying to explain.

     20                       MR. FULLER:      He's already

     21               explained the owner designation.

     22                       MS. WICHT:      Okay.

     23    BY MR. FULLER:

     24               Q.      All right.      Starting at the first

    Golkow Litigation Services                                             Page 135
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further136Confidentiality
                                                           of 402. PageID #: 224135
                                                                               Review

      1    page, you see it says "On-Site Investigations"?

      2               A.      Yes.

      3               Q.      Now, it's your position that

      4    Mr. Morse should be the owner of this document,

      5    right?

      6               A.      Correct.

      7               Q.      Not you.     Although the document

      8    says you; is that --

      9               A.      Correct.

     10               Q.      Okay.

     11               A.      He's the one that would be

     12    reviewing the document, recommending to his

     13    investigators, and then recommending to him what

     14    they should cover.

     15               Q.      Well, at least he should be,

     16    right?

     17               A.      Correct.

     18               Q.      You don't know sitting here today

     19    whether he did or didn't, do you?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      I can't answer that question.           I

     23    can't evaluate Steve's performance.

     24               Q.      I'm not asking you to evaluate his

    Golkow Litigation Services                                             Page 136
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further137Confidentiality
                                                           of 402. PageID #: 224136
                                                                               Review

      1    perform -- I'm just saying that you don't --

      2               A.      I --

      3               Q.      -- know sitting here today whether

      4    he did or didn't do those things?

      5                       MS. WICHT:      Object to the

      6               form.

      7               Q.      Do you?

      8               A.      I would say he did those things.

      9               Q.      But you're guessing, right?

     10               A.      I'm not guessing.

     11               Q.      So you know he did those things?

     12               A.      As a professional, yes.          To the

     13    best of his ability, yes.

     14               Q.      So you're assuming that based on

     15    your interactions with him in the past, that he

     16    would have taken those steps?

     17               A.      Yes.

     18               Q.      Fair enough.      Okay.

     19                       So it says the purpose.          "The

     20    purpose of this policy is to provide guidance to

     21    CAH" -- which means Cardinal Health, right?

     22               A.      Correct.

     23               Q.      -- "CAH employees by outlining the

     24    steps involved in the conduct of on-site

    Golkow Litigation Services                                             Page 137
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further138Confidentiality
                                                           of 402. PageID #: 224137
                                                                               Review

      1    investigation of Cardinal Health's customers to

      2    obtain information regarding their potential

      3    risk for diversion of regulated drugs."

      4                       Did I read that correctly?

      5               A.      Yes.

      6               Q.      All right.      So let's go down a

      7    little bit to 1.2, and then we see 1301.74.

      8                       Does that look familiar to you,

      9    Mr. Forst?      I think if you look at one of the

     10    last --

     11               A.      Yes.

     12               Q.      -- exhibits --

     13               A.      Yes.

     14               Q.      -- it may.

     15               A.      Yes.    It's familiar to me.

     16               Q.      That's the Code of Federal

     17    Regulation related to suspicious orders

     18    promulgated by the DEA, right?

     19               A.      That is correct.

     20               Q.      Let's go down to the next bullet

     21    point, which is 310 -- excuse me -- 1310.05.

     22    We're going to mark it as a demonstrative, the

     23    regulation.

     24                       MR. FULLER:      There's copies

    Golkow Litigation Services                                             Page 138
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further139Confidentiality
                                                           of 402. PageID #: 224138
                                                                               Review

      1               for counsel.

      2                                - - -

      3      (Cardinal-Forst Deposition Exhibit 11 marked.)

      4                                - - -

      5               Q.      And at least according to -- we'll

      6    put it up.

      7                       Do you see that on the screen?            Or

      8    maybe it's in front of you.

      9               A.      I have it.

     10               Q.      Okay.    It's Code of Federal

     11    Regulation, Part 1310, Records and Reports of

     12    Listed Chemicals in Certain Machines;

     13    Importation and Exportation of Certain Machines,

     14    right?

     15               A.      Yes.

     16               Q.      And then 310 [sic] (a)(1) -- which

     17    is what you cite to in your policy and

     18    procedure, right, standard operating procedure?

     19               A.      Yes.

     20               Q.      And it seems to track the same

     21    language, doesn't it?

     22               A.      Yes, it does.

     23               Q.      So read subsection (a) from your

     24    standard operating procedure used at Cardinal

    Golkow Litigation Services                                               Page 139
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further140Confidentiality
                                                           of 402. PageID #: 224139
                                                                               Review

      1    Health during this time.

      2               A.      Under 1310.05, Reports; is that

      3    correct?

      4               Q.      Yes, sir.

      5               A.      Okay.    "Each regulated person

      6    shall report to the special agent in charge of

      7    the DEA divisional office for the area in which

      8    the regulated person making the report is

      9    located as follows:         Any regulated transaction

     10    involving an extraordinary quantity of listed

     11    chemical, an uncommon method of payment or

     12    delivery and any other circumstance that the

     13    regulated person believes may indicate that the

     14    listed chemical will be used in violation of

     15    this part."

     16               Q.      So this is another reporting

     17    requirement that Cardinal has, correct?

     18               A.      Correct.

     19               Q.      That pertains to List I chemicals,

     20    doesn't it?

     21               A.      Correct.

     22               Q.      And is actually set out

     23    specifically in Cardinal's own policies and

     24    procedures; isn't that right?

    Golkow Litigation Services                                             Page 140
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further141Confidentiality
                                                           of 402. PageID #: 224140
                                                                               Review

      1               A.      According to this document, yes.

      2               Q.      Okay.    Now, read point -- excuse

      3    me -- 1.3 of the standard operating procedure

      4    for the jury.

      5               A.      "Notwithstanding the requirements

      6    of the C.F.R., any memorandum of understanding

      7    with the DE -- Drug Enforcement Administration

      8    that modifies the requirements of the C.E.R." --

      9    "C.F.R. will take precedence."

     10               Q.      So that's -- what that's telling

     11    us is any agreements as set out in the MOUs will

     12    take precedent over the regulations, correct?

     13               A.      According to the document, yes.

     14               Q.      Okay.    And how many memorandums of

     15    understanding are you aware of that Cardinal has

     16    with the DEA?

     17               A.      Possibly two in my time there.

     18               Q.      So let's turn to page 3.          This is

     19    the Definitions section.

     20                       You see we have a definitions

     21    section there for suspicious order?

     22               A.      Yes.    Suspicious order monitoring.

     23    Suspicious order, yes.

     24               Q.      Okay.    And we have three bullet

    Golkow Litigation Services                                             Page 141
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further142Confidentiality
                                                           of 402. PageID #: 224141
                                                                               Review

      1    points there, right?

      2               A.      Yes.

      3               Q.      Okay.    Read the first one for the

      4    jury.

      5               A.      "Controlled substance which is of

      6    an unusual size, deviates substantially from a

      7    normal pattern or is ordered with unusual

      8    frequency."

      9               Q.      Okay.    Now, I think you pointed

     10    out earlier that that was your definition of the

     11    regulation, right?

     12               A.      Yes.

     13               Q.      You said it was vague, didn't you?

     14               A.      It's vague in that unusual --

     15    substantial and unusual frequency can be -- what

     16    is unusual for one individual or deviates

     17    substantially from a normal pattern is going to

     18    be different across the board.            It has to be in

     19    a certain context to understand that.

     20               Q.      Sure.    Now, do you know if

     21    Cardinal provided a clearer definition of

     22    suspicious order in this regard?

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 142
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further143Confidentiality
                                                           of 402. PageID #: 224142
                                                                               Review

      1               A.      I can't -- I can't say if their

      2    definition --

      3               Q.      I'm just asking if you know if

      4    they had any written definition that gives more

      5    clarity to this or not.

      6               A.      That is the definition that we

      7    used.

      8               Q.      That's the -- okay.

      9                       And then read the next bullet

     10    point for the jury.

     11               A.      "List I or II chemical which is of

     12    an extraordinary quantity, involves an uncommon

     13    method of payment or delivery, and any other

     14    circumstance which may indicate that the listed

     15    chemical will be used in violation of the

     16    Federal Controlled Substances Act."

     17               Q.      Okay.    Now -- so that obviously is

     18    suspicious orders relating to List I or II

     19    chemicals, correct?

     20               A.      Correct.

     21               Q.      And it's a different definition

     22    for suspicious order than the controlled

     23    substance definition, right?

     24               A.      According to the document, yes.

    Golkow Litigation Services                                             Page 143
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further144Confidentiality
                                                           of 402. PageID #: 224143
                                                                               Review

      1               Q.      And it's consistent what we read

      2    in the regulations as well, correct?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      Correct.

      6               Q.      Now, bullet point 3, take a look

      7    at that real quick.         I'm not going to make you

      8    read it, but it's dealing with drugs required to

      9    be monitored by individual states; is that

     10    right?

     11               A.      Yes.

     12               Q.      Because some states may have had

     13    particular statutes that required certain

     14    monitoring for other substances --

     15               A.      Correct.

     16               Q.      -- above and beyond the Controlled

     17    Substances Act or the List I Chemicals Act,

     18    correct?

     19               A.      That is correct.

     20               Q.      Okay.    So -- and you can take a

     21    moment and look at this, but this is the -- the

     22    on-site investigations.          And I think you

     23    testified earlier related to chains.

     24                       Is there anywhere that you're

    Golkow Litigation Services                                             Page 144
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further145Confidentiality
                                                           of 402. PageID #: 224144
                                                                               Review

      1    aware of that on-site investigations, the

      2    investigative process that Cardinal goes

      3    through, is set out in a policy and procedure

      4    that is different for retail independents versus

      5    chains?

      6                       MS. WICHT:      Object to the

      7               form to the extent it purports to

      8               characterize his prior testimony.

      9               A.      I'm not aware of a document like

     10    that.

     11               Q.      Okay.    Now, something that you had

     12    to be able to do in your job for you to do your

     13    job effectively is to identify what is a

     14    suspicious order, correct?

     15               A.      My job was to identify orders that

     16    may be suspicious.

     17               Q.      You reviewed thresholds, correct?

     18               A.      Correct.

     19               Q.      And you had the authority to

     20    release a threshold, right?

     21               A.      Correct.     That order was not

     22    necessarily suspicious.

     23               Q.      Right.    You -- well, let's start

     24    with a premise.        You wouldn't want to release

    Golkow Litigation Services                                             Page 145
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further146Confidentiality
                                                           of 402. PageID #: 224145
                                                                               Review

      1    one that was suspicious, correct?

      2                       MS. WICHT:      Object to the

      3               form.

      4               A.      I would not want to do that, no.

      5               Q.      Okay.    Your goal was to identify

      6    those that were suspicious and release those

      7    that weren't, right?         That was your job?

      8               A.      Yes.

      9               Q.      Okay.    In order to identify if

     10    something is suspicious, you have to know what

     11    suspicious is or else you can't do your job; you

     12    would agree with that, right?

     13               A.      I have to understand what is

     14    possibly suspicious.

     15               Q.      And those are the ones that get

     16    reported, correct?

     17               A.      Correct.

     18               Q.      Okay.

     19               A.      Because I won't know if it's

     20    suspicious because what happens to the product

     21    once it gets to the pharmacy, I have no control

     22    over.

     23               Q.      And let me make sure we're on the

     24    same page.

    Golkow Litigation Services                                             Page 146
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further147Confidentiality
                                                           of 402. PageID #: 224146
                                                                               Review

      1                       You said you don't know that it's

      2    suspicious, meaning you don't have to determine

      3    if it's actually being diverted is what you're

      4    saying, right?

      5               A.      Correct.     I can't.

      6               Q.      You can't know where it goes after

      7    you deliver it?

      8               A.      I can't.

      9               Q.      If there's the potential that it

     10    could be diverted, Cardinal has a regulatory

     11    obligation to report that, correct?

     12                       MS. WICHT:      Object to the

     13               form.    Foundation.      Calls for a

     14               legal conclusion.

     15               A.      I can't -- again, once it leaves

     16    Cardinal Health, I can -- following the guidance

     17    of D -- or the DEA, I can say that this looks

     18    suspicious.       Whether it is or not, I don't know.

     19    So if I identify it as such, then it would be

     20    reported.

     21               Q.      That's what I wanted to make sure.

     22               A.      But just because it's a threshold

     23    does not mean it's necessarily suspicious.

     24                                - - -

    Golkow Litigation Services                                             Page 147
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further148Confidentiality
                                                           of 402. PageID #: 224147
                                                                               Review

      1      (Cardinal-Forst Deposition Exhibit 12 marked.)

      2                                - - -

      3               Q.      Okay.    4226, Plaintiffs' Exhibit

      4    Number 12.

      5                       All right.      I'm going to tell you

      6    again, this is one that --

      7               A.      Yeah.

      8               Q.      -- guess what, you are the owner,

      9    Mr. Forst.      That's set out on page 7.

     10                       Did you see that already?

     11               A.      Yep.    Yes, I see that.

     12               Q.      All right.      This is another

     13    standard operating procedure for the

     14    pharmaceutical distribution for Cardinal, isn't

     15    it?    It says it in the upper right.            You can say

     16    no.

     17               A.      Yes, it is.

     18               Q.      Okay.

     19               A.      I'm trying to get ahead a little

     20    bit.

     21               Q.      Detecting and reporting suspicious

     22    orders and responding to threshold events is

     23    exactly what you did, isn't it?

     24                       MS. WICHT:      Object to the

    Golkow Litigation Services                                             Page 148
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further149Confidentiality
                                                           of 402. PageID #: 224148
                                                                               Review

      1               form of the question.

      2               Q.      This was your job at Cardinal,

      3    right?

      4               A.      Correct.

      5               Q.      Okay.    This is what you spent --

      6    and this is what you did most of the ten --

      7    well, almost ten years that you were there,

      8    right, almost a decade?

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      No.   My role changed.

     12               Q.      Okay.    From what time frame did

     13    you detect and report suspicious orders at

     14    Cardinal?

     15               A.      Probably seven of the ten years.

     16               Q.      So for seven years, this was your

     17    job.

     18                       Did you receive any particularized

     19    training related to identifying and reporting

     20    suspicious orders and evaluating threshold

     21    events?

     22               A.      The training was based on my

     23    knowledge as a pharmacist.

     24               Q.      From being a pharmacist --

    Golkow Litigation Services                                             Page 149
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further150Confidentiality
                                                           of 402. PageID #: 224149
                                                                               Review

      1               A.      From being a pharmacist, from

      2    reading the policies and procedures, reading the

      3    objectives of what Cardinal was trying to do.

      4               Q.      From being aware of the

      5    regulations as well?

      6               A.      Aware of the regulations.

      7               Q.      And you've been a pharmacist -- I

      8    don't mean to pry about age -- how long?

      9               A.      Oh, God.

     10               Q.      Just tell me what year you

     11    graduated.      That'll help.

     12               A.      '81.

     13               Q.      Okay.    So you've been a

     14    pharmacist --

     15               A.      So whatever that is.

     16               Q.      Now you'll make me do the math.

     17               A.      Mm-hmm.     30-something -- 30 --

     18    35-plus years, maybe.

     19               Q.      Yes.

     20               A.      Yes.

     21               Q.      Close to 38 years.

     22               A.      Yeah.    Thanks.

     23               Q.      You're welcome.       Where did you do

     24    your schooling?

    Golkow Litigation Services                                             Page 150
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further151Confidentiality
                                                           of 402. PageID #: 224150
                                                                               Review

      1               A.      Went to Creighton University in

      2    Omaha, Nebraska.

      3               Q.      Now, was that for pharmacy school?

      4               A.      That was for pharmacy school.

      5               Q.      How about undergrad?

      6               A.      I went to the University of

      7    Arkansas, two different branches.

      8               Q.      Go Razorbacks.

      9               A.      Yes.

     10               Q.      I went to University of Florida

     11    and UCF undergrad, so I'm an SEC fan.               Do you

     12    still follow the Razorbacks or --

     13               A.      Fortunately, Creighton doesn't

     14    have a football team.

     15               Q.      And right now Arkansas doesn't

     16    have much of one either.

     17               A.      Can I object to that?

     18               Q.      Yes, you can.      Yes, you can.

     19    Look, I had completely written Florida off when

     20    they went to the bowl game.           I thought Michigan

     21    would have destroyed them.           I was shocked that

     22    we beat Michigan.

     23                       So let me ask, were you pulling

     24    for Alabama?

    Golkow Litigation Services                                             Page 151
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further152Confidentiality
                                                           of 402. PageID #: 224151
                                                                               Review

      1               A.      I didn't care.       I'm just tired of

      2    both of them.

      3               Q.      Well, the problem is I don't think

      4    that's going to change anytime soon.              Both of

      5    them have tremendous teams.

      6                       All right.      Sorry I digressed.

      7                       So you've been a pharmacist coming

      8    up on 40 years --

      9               A.      Yes.

     10               Q.      -- now, and worked in the industry

     11    that entire time?

     12               A.      I worked in hospital that entire

     13    time, and some -- did -- worked some outpatient

     14    in the hospital settings.

     15               Q.      When you say "outpatient in the

     16    hospital settings" --

     17               A.      Just being more like retail.           So

     18    I've done both.

     19               Q.      Okay.    And then for the past

     20    almost ten years of your professional career,

     21    you were with Cardinal, right?

     22               A.      That is correct.

     23               Q.      Part of that was, again, in a

     24    hospital setting?

    Golkow Litigation Services                                             Page 152
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further153Confidentiality
                                                           of 402. PageID #: 224152
                                                                               Review

      1               A.      Correct.

      2               Q.      And then in corporate with the

      3    anti-diversion group?

      4               A.      Correct.

      5               Q.      And seven of those ten years, your

      6    job was specifically detecting and reporting

      7    suspicious orders and responding to threshold

      8    events?

      9               A.      The job was to, as best we could,

     10    detect and report orders that would possibly be

     11    suspicious, yes.

     12               Q.      And evaluating these threshold

     13    events, right?

     14               A.      That is correct.

     15               Q.      Okay.    So let's talk about your

     16    policy and procedure.          It says, "The purpose."

     17                       "The purpose of the standard

     18    operating procedure is to provide guidance to

     19    Cardinal Health (CAH) employees in the Quality

     20    and Regulatory Affairs (QRA) section on

     21    responding, detecting, and reporting suspicious

     22    orders."

     23                       Did I read that correctly?

     24               A.      Yes, you did.

    Golkow Litigation Services                                             Page 153
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further154Confidentiality
                                                           of 402. PageID #: 224153
                                                                               Review

      1               Q.      So this is sort of the guidance

      2    provided to you and the others similarly like

      3    you at Cardinal in doing your job, right?

      4               A.      This is the framework, yes.

      5               Q.      Okay.    And it says, "and

      6    processing, documenting, and making judgments

      7    about threshold events, including making

      8    decisions about releasing or cutting orders that

      9    are suspicious or exceed a threshold."

     10                       Did I read that correctly?

     11               A.      You read that correctly.

     12               Q.      All right.      And this is the

     13    framework for doing that, this document, 4226,

     14    right?

     15                       Now you're going to go through it

     16    and look, huh?

     17               A.      Yes, this appears correct.

     18               Q.      Okay.    And it says, "Purpose 1.2.

     19    The purpose of this procedure is also to comply

     20    with or exceed the standards for distributors

     21    set forth in the Controlled Substances Act" --

     22    excuse me -- "Controlled Substances Act,

     23    regulations promulgated pursuant to that Act,

     24    and extra regulatory guidance to which DEA holds

    Golkow Litigation Services                                             Page 154
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further155Confidentiality
                                                           of 402. PageID #: 224154
                                                                               Review

      1    distributors responsible."

      2                       Did I read that accurately?

      3               A.      Yes, you did.

      4               Q.      Now, the scope.       The Scope under

      5    2.0 says, "This procedure applies when an order

      6    is triggered by CAH's Anti-Diversion

      7    Centralization (or equivalent) system for review

      8    by the QRA Pharmacist Group in order for the QRA

      9    Pharmacist to evaluate the order so as to meet

     10    the purpose of the procedure mentioned in 1.0

     11    above."

     12               A.      Yes.

     13               Q.      Do you agree that that is the

     14    scope of this document?

     15               A.      According to the document, yes.

     16               Q.      Do you have any basis to disagree

     17    with that?      And what I'm trying to find out

     18    is -- you said "according to the document."                Did

     19    things at Cardinal actually operate differently

     20    than the document suggests?

     21               A.      No.

     22                       MS. WICHT:      Object to the

     23               form.

     24               Q.      Okay.

    Golkow Litigation Services                                              Page 155
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further156Confidentiality
                                                           of 402. PageID #: 224155
                                                                               Review

      1                       MS. WICHT:      And just to

      2               clarify, the time --

      3                       MR. FULLER:      Are you going to

      4               tell me I read it wrong again?

      5                       MS. WICHT:      No, I'm not going

      6               to tell you you read it wrong.

      7                       MR. FULLER:      Okay.

      8                       MS. WICHT:      I'm just going to

      9               point out the -- the date on the

     10               document, which doesn't cover the

     11               full time period that --

     12                       THE WITNESS:      Correct.

     13                       MS. WICHT:      -- Mr. Forst was

     14               in the role.

     15                       MR. FULLER:      Sure.

     16    BY MR. FULLER:

     17               Q.      And so the effective date says at

     18    the bottom -- on the first page, effective date,

     19    the 2nd -- or excuse me -- the 6th of June 2012,

     20    right?

     21               A.      That is correct.

     22               Q.      Do you know if there are any other

     23    versions of this?

     24               A.      I'm -- I'm not aware, but I would

    Golkow Litigation Services                                             Page 156
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further157Confidentiality
                                                           of 402. PageID #: 224156
                                                                               Review

      1    imagine there would be.

      2               Q.      Was this or a similar policy and

      3    procedure in place the entire time that you were

      4    filling this role of detecting and reporting

      5    suspicious orders?

      6               A.      As far as I know, yes.

      7               Q.      Okay.    Do you recall any of the

      8    changes or updates that may have been done to it

      9    being significant in substance?

     10                       MS. WICHT:      Object to the

     11               form.

     12               Q.      And what I'm trying to determine,

     13    Mr. Forst, if there was some significant change

     14    with this policy and procedure that you

     15    specifically recall during your tenure.

     16               A.      There were changes --

     17                       MS. WICHT:      Object to form.

     18                       Sorry.    Go ahead.

     19               A.      I'm sorry.

     20                       There were changes in some of the

     21    ways that we tried to look for suspicious

     22    orders, but the goal is still the same as the

     23    scope of this document.

     24               Q.      Fair enough.

    Golkow Litigation Services                                             Page 157
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further158Confidentiality
                                                           of 402. PageID #: 224157
                                                                               Review

      1                       If we go to 4.0 on page 2, do you

      2    see the section there, Responsibilities?

      3               A.      Yes.

      4               Q.      "The responsibilities of the QRA

      5    pharmacist team include ..."

      6                       Now, let me ask you, who else was

      7    on the QRA pharmacist team with you?

      8               A.      At the time -- and this is --

      9               Q.      And we can go through your tenure.

     10               A.      -- 2012.

     11                       So Steve Morse was there.

     12               Q.      Was he a -- is he a pharmacist?

     13               A.      He is a pharmacist.

     14               Q.      Okay.

     15               A.      I'm trying to think of who came

     16    in.    We had some analysts, and I can't name all

     17    of them because some of them were temporaries.

     18    I think we had two or three when I started.

     19    Roger McCarter came.         Doug Emma came.        Who am I

     20    missing?      Kimberly came later on.

     21               Q.      Kimberly who?

     22               A.      Kimberly Anna-Soisson.

     23               Q.      Okay.

     24               A.      William Brady came.        I'm missing

    Golkow Litigation Services                                             Page 158
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further159Confidentiality
                                                           of 402. PageID #: 224158
                                                                               Review

      1    someone, or I think I'm missing someone.

      2                       If I think of it, I'll --

      3               Q.      You just shout it out, okay?

      4               A.      Yeah.

      5               Q.      All right.

      6               A.      So it grew as we evolved into

      7    the -- the central area as opposed to being at

      8    the distribution centers.

      9               Q.      Now, let me ask, when you first

     10    started, were there other -- I know Mr. Moné is

     11    a pharmacist as well, correct?

     12               A.      Correct, and Gary Cacciatore is a

     13    pharmacist.

     14               Q.      Okay.    Were you -- was he --

     15    Mr. Cacciatore was already there when you

     16    arrived in '08; is that right?

     17               A.      Correct.     I think him and

     18    Michael --

     19               Q.      Came in together?

     20               A.      -- came in together or --

     21               Q.      Or around the same time?

     22               A.      -- or -- I think he was already

     23    there, but he was also involved in this in some

     24    form or fashion.        So it became more evolved with

    Golkow Litigation Services                                             Page 159
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further160Confidentiality
                                                           of 402. PageID #: 224159
                                                                               Review

      1    him, too, at the very beginning.

      2               Q.        Okay.    Were there any other

      3    pharmacists there in the 2008, '09, '10 time

      4    frame?

      5               A.        Well, Bob Giacalone, he was there.

      6               Q.        Okay.

      7               A.        So, yes, there were pharmacists

      8    there.

      9               Q.        Did the department grow over time?

     10               A.        Yes, the department grew over

     11    time.

     12               Q.        Okay.    Now, it says

     13    Responsibilities.           It says, "The

     14    responsibilities of the QRA Pharmacist team

     15    includes:       A.    Evaluating held orders" -- that

     16    was part of your job, right?

     17               A.        Yes.

     18               Q.        -- "b.    Identifying suspicious

     19    orders," correct?

     20               A.        Correct.

     21               Q.        That's part --

     22               A.        Potentially -- potentially

     23    suspicious orders, correct.

     24               Q.        Okay.    The next, c, is "Reporting

    Golkow Litigation Services                                             Page 160
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further161Confidentiality
                                                           of 402. PageID #: 224160
                                                                               Review

      1    the suspicious orders to the DEA," right?

      2               A.      Correct.

      3               Q.      "D.   Performing a review of

      4    suspicious orders."

      5                       Now, this may be a little out of

      6    order.

      7               A.      That's correct.       And, yeah, I

      8    agree.     It's probably out of order.

      9               Q.      But -- that's all right.

     10                       Let's go to e, "Releasing

     11    suspicious orders when appropriate."

     12               A.      Well, I don't like that verbiage,

     13    but --

     14               Q.      Because you would never release a

     15    suspicious order --

     16               A.      Correct.

     17               Q.      -- right?

     18               A.      Correct.

     19                       MS. WICHT:      Object to the

     20               form.

     21               Q.      Cutting suspicious orders when

     22    appropriate, that was another job that you would

     23    do; is that correct?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 161
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further162Confidentiality
                                                           of 402. PageID #: 224161
                                                                               Review

      1               Q.      When we say "cutting," help the

      2    jury understand what you guys mean by "cutting."

      3               A.      So the order was held in the

      4    system so it wasn't sent to the customer.

      5               Q.      So when we say an order is held,

      6    it's just sort of in limbo; it's not going

      7    out --

      8               A.      It's not going out.        The order has

      9    been placed.       It's at the distribution center.

     10    The system has stopped it so that it can be

     11    evaluated based on -- it's stopped because of --

     12    it has hit or exceeded the threshold.

     13               Q.      And it hasn't been canceled yet,

     14    either, right?

     15               A.      It has not been canceled.

     16               Q.      Okay.    Go ahead.

     17               A.      So it's still an active order.

     18               Q.      Yes, sir.     So what does the

     19    cutting mean?

     20               A.      So the cutting means that the

     21    order is essentially voided.

     22               Q.      So canceled?

     23               A.      It is canceled.       It is voided.

     24               Q.      So it will no longer exist in the

    Golkow Litigation Services                                             Page 162
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further163Confidentiality
                                                           of 402. PageID #: 224162
                                                                               Review

      1    system?

      2               A.      It's in the system --

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      It's in the system.        But it's not

      6    an active order, so it can't be shipped.

      7               Q.      So maybe a different way of saying

      8    it is it's taken out of active status?

      9               A.      It's taken out of active status.

     10               Q.      So there's no way --

     11               A.      It is still -- it is still being

     12    documented that it was --

     13               Q.      Placed?

     14               A.      Placed, correct.

     15               Q.      Okay.    But as far as the potential

     16    for shipment, that's gone away when an --

     17               A.      It's gone.

     18               Q.      -- order becomes inactive?

     19               A.      It's gone.      Correct.

     20               Q.      Okay.    If we go to page 3,

     21    "Definitions.       5.0.    Anti-Diversion

     22    Centralization (ADC)."

     23                       What is your understanding of the

     24    ADC system?

    Golkow Litigation Services                                             Page 163
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further164Confidentiality
                                                           of 402. PageID #: 224163
                                                                               Review

      1               A.      Prior to the ADC system, we had

      2    lots of information, but it was housed in

      3    different areas.        So we would have to go and

      4    look in each of the areas separately.

      5                       The ADC system brought all those

      6    together under one -- into one system.               So you

      7    could just be in ADC and you could pull up

      8    information that you had previously about the

      9    customer, possibly in Content Manager.               You

     10    could see --

     11               Q.      Can you see investigations that

     12    may have been done?

     13               A.      You could see investigations in

     14    Content Manager.        You would go to that.         It

     15    would take you to that area.            So it would open

     16    up different screens.

     17                       So it was more centralized, so it

     18    was a lot easier to find documents when you were

     19    reviewing orders.

     20               Q.      So it sort of did what it's named?

     21               A.      Exactly.

     22               Q.      Anti-diversion centralization?

     23               A.      Correct.

     24               Q.      Bringing everything together from

    Golkow Litigation Services                                             Page 164
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further165Confidentiality
                                                           of 402. PageID #: 224164
                                                                               Review

      1    different -- like you said, stored in different

      2    areas?

      3               A.      Correct.

      4               Q.      Now, not that you wouldn't have

      5    had access to the --

      6               A.      We had access to all those areas

      7    previously.       This just tried to simplify it to

      8    streamline the process.

      9               Q.      What's the -- read the definition

     10    for anti-diversion customer profile.

     11               A.      "Anti-diversion customer profile.

     12    A report generated by QRA containing various

     13    background, licensing, and analytical metrics

     14    relevant to a customer used to assist in the

     15    evaluation of threshold -- threshold events."

     16               Q.      Have you utilized these reports

     17    before, used them in your --

     18               A.      Yes.

     19               Q.      You're trying to peek and see what

     20    I've got over here.

     21               A.      Yeah, I'm trying to see which one

     22    it is because they changed.

     23               Q.      Yeah, I think you're right.           I

     24    think they've changed maybe a couple of times,

    Golkow Litigation Services                                             Page 165
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further166Confidentiality
                                                           of 402. PageID #: 224165
                                                                               Review

      1    but I had one that was attached to a daily

      2    threshold reporting policy and procedure.

      3               A.      Okay.

      4               Q.      This is going to be Exhibit 13,

      5    and it's 4301.

      6                                - - -

      7      (Cardinal-Forst Deposition Exhibit 13 marked.)

      8                                - - -

      9               Q.      And I'm not going to really ask

     10    you anything other than to turn to page 5 of the

     11    document.

     12               A.      Okay.    Okay.

     13               Q.      Is that what the -- the earlier

     14    document, the detecting and reporting suspicious

     15    orders, was referring to, is that type of

     16    anti-diversion customer profile?

     17               A.      This was one of the documents,

     18    yes --

     19               Q.      Okay.

     20               A.      -- which changed over time.

     21               Q.      All right.      Okay.    So if you'd

     22    turn to the next page.

     23                       MS. WICHT:      Which document?

     24                       MR. FULLER:      I'm sorry.

    Golkow Litigation Services                                             Page 166
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further167Confidentiality
                                                           of 402. PageID #: 224166
                                                                               Review

      1               We're going back to 4226.

      2    BY MR. FULLER:

      3               Q.      Actually, stay on the same page,

      4    page 3.     Then we have the procedure and then the

      5    initial review.

      6                       Do you see that?

      7               A.      Yes.

      8               Q.      6.11, it says, "The following

      9    orders are held or cut, pending review by QRA

     10    under this procedure:          Orders of interest

     11    referred by a distribution center" -- right?

     12               A.      Yes.

     13               Q.      -- "or orders that exceed a

     14    threshold set for the customer from the drug

     15    family."

     16                       Correct?

     17               A.      That's correct.

     18               Q.      And that was two ways that orders

     19    could be held and reviewed by your department,

     20    right?

     21               A.      That is correct.

     22               Q.      Then I guess 6.1.2 is sort of a

     23    catchall that allows you to look at other stuff,

     24    too?

    Golkow Litigation Services                                             Page 167
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further168Confidentiality
                                                           of 402. PageID #: 224167
                                                                               Review

      1               A.      That is correct.

      2               Q.      And it says -- 6.1.3 says, "Under

      3    this procedure, QRA must first review every --

      4    it's all capped --

      5                       MR. FULLER:      Underline that,

      6               Gina.

      7    BY MR. FULLER:

      8               Q.      -- "every held or cut order under

      9    6.1.1 to determine whether the order is

     10    suspicious as the term is used in

     11    21 C.F.R. 1301.74(b)."

     12                       Right?

     13               A.      Correct.

     14               Q.      And it says, "Per the regulation,

     15    orders are deemed suspicious if they meet one or

     16    more of the three criteria."

     17                       Is that your understanding of the

     18    regulation, Mr. Forst?

     19               A.      Yes, it is.

     20                       MS. WICHT:      Object to form.

     21               Q.      Is that you could have any one of

     22    the three criteria for an order to be

     23    suspicious, correct?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 168
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further169Confidentiality
                                                           of 402. PageID #: 224168
                                                                               Review

      1               Q.      And then required to be reported

      2    to the DEA?

      3               A.      If it was deemed as suspicious,

      4    yes.

      5               Q.      Well, if it fits one of the three

      6    criteria, then it fits the definition of

      7    suspicious, doesn't it?

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      Again, we're with the -- some of

     11    the vagueness or the unspecificity of unusual --

     12               Q.      Okay.    Well, we'll -- we'll get

     13    there.

     14               A.      Okay.

     15               Q.      So (a) is order of unusual size;

     16    (b) order of unusual frequency; and (c) order

     17    deviates substantially from the normal pattern

     18    for the customer.

     19                       Did I read those correctly?

     20               A.      Yes, you did.

     21               Q.      As Cardinal has set them out in

     22    their own policies and procedures?

     23               A.      Yes, you did.

     24               Q.      Okay.    Then 6.1.4, "Orders that

    Golkow Litigation Services                                             Page 169
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further170Confidentiality
                                                           of 402. PageID #: 224169
                                                                               Review

      1    meet one or more of the criteria in 6.1.3

      2    must" -- do you see that word?            We're going to

      3    underline that -- "must be reported to the DEA

      4    as suspicious."

      5                       And you agree with that, don't

      6    you, Mr. Forst?

      7                       MS. WICHT:      Object to the

      8               form.

      9               A.      I can agree to that --

     10               Q.      Okay.

     11               A.      -- based on the way that we

     12    interpreted unusual and frequency.

     13               Q.      All right.      Well, let's keep going

     14    then, because next we've got 6.1.5.              Here we

     15    have Cardinal's definition of orders of unusual

     16    size, don't we?

     17               A.      Yes, we do.

     18               Q.      And let's underline that and mark

     19    it up, because orders of unusual size is one of

     20    the three criterias that if we meet it, we are

     21    supposed to report it to the DEA, aren't we,

     22    Mr. Forst?

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 170
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further171Confidentiality
                                                           of 402. PageID #: 224170
                                                                               Review

      1               Q.      Correct?

      2               A.      If it's deemed suspicious.

      3               Q.      All right.      So orders of unusual

      4    size can be determined two ways, according to

      5    Cardinal's definition, correct?             "Orders of

      6    unusual size are significantly larger than --

      7    it's still 1 -- orders normally placed by the

      8    customer" --

      9                       Did I read that correctly?

     10               A.      Yes.

     11               Q.      -- "or" -- right?        It's not "and,"

     12    it's "or," isn't it?

     13               A.      Yes.

     14               Q.      So 2, "or by customers that have

     15    a -- "have a size and type of business that is

     16    similar to the ordering customer's business."

     17                       Right?

     18               A.      Correct.

     19               Q.      So if we look at this, two ways we

     20    get suspicious orders per Cardinal Health -- or

     21    at least orders of unusual size, right?               These

     22    are orders of unusual size only, isn't it?

     23               A.      Yes, according to the policy.

     24               Q.      -- is that they have to be, when

    Golkow Litigation Services                                             Page 171
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further172Confidentiality
                                                           of 402. PageID #: 224171
                                                                               Review

      1    you follow along with me on the regulation -- to

      2    make sure I get this right -- or excuse me --

      3    the standard operating procedure, they have to

      4    be significantly larger than the orders normally

      5    placed by 1, being that customer, correct?

      6               A.      Correct, the customer himself.

      7               Q.      So we have to look at that

      8    customer's history, whoever the ordering

      9    customer is.       Whether it's a retail -- a

     10    hospital, a chain, whoever it is, we need to

     11    look at their history as well, correct?

     12               A.      We look at their --

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      We look at their patterns that we

     16    have the ability to see.

     17               Q.      Sure.    And if it's a customer that

     18    you've been selling to for a while, you may have

     19    a lengthy history, right?

     20               A.      Yes.

     21               Q.      And you guys actually have

     22    computer systems to help look at that history,

     23    don't you, through Tableau, through these --

     24    what was that thing we just looked at?

    Golkow Litigation Services                                             Page 172
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further173Confidentiality
                                                           of 402. PageID #: 224172
                                                                               Review

      1               A.      Oh, the --

      2               Q.      The anti-diversion customer

      3    profile?

      4               A.      Correct.

      5               Q.      It gives you ordering history on

      6    there as well, right?

      7               A.      It gives you -- oh, it's right

      8    here.

      9                       Yes --

     10               Q.      Okay.

     11               A.      -- it can.

     12               Q.      And now, 2, of Cardinal's own

     13    policy and procedure is by customers that have a

     14    size and type of business similar to the

     15    ordering customer, right?

     16               A.      Yes.

     17               Q.      So in order to be able to

     18    determine -- when you get a threshold event, in

     19    order to determine whether it meets the criteria

     20    of orders of unusual size, you need to be able

     21    to look at that customer's history, correct?

     22               A.      Correct.

     23               Q.      And you look to see if it's

     24    unusual based on that customer's purchasing

    Golkow Litigation Services                                             Page 173
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further174Confidentiality
                                                           of 402. PageID #: 224173
                                                                               Review

      1    history, right?

      2               A.      That is correct.

      3               Q.      And then you also have to be able

      4    to find out what customers of like size and type

      5    have ordered in the past and compare it to those

      6    histories, right?

      7                       MS. WICHT:      Object to the

      8               form.

      9               Q.      That's what the policy says, isn't

     10    it?

     11                       MS. WICHT:      Object to the

     12               form.

     13               A.      If that information is available,

     14    yes.

     15               Q.      So my question is, that's what the

     16    policy says, isn't it, Mr. Forst?

     17               A.      It was done if the --

     18                       MS. WICHT:      Object to the

     19               fortunately.

     20               A.      -- information is available.

     21               Q.      So what was -- so, for example --

     22    let's do a hypothetical.           Well, let's use a real

     23    life example.       We're going to pretend that

     24    everybody in this room is a retail pharmacy,

    Golkow Litigation Services                                             Page 174
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further175Confidentiality
                                                           of 402. PageID #: 224174
                                                                               Review

      1    okay?

      2               A.      Okay.

      3               Q.      And that would mean that we're all

      4    the same type, correct?

      5               A.      Not necessarily.

      6               Q.      We're all retail pharmacies.           How

      7    did you sub- --

      8               A.      Well, I don't know --

      9               Q.      Let's say retail independent

     10    pharmacies.

     11               A.      Okay.

     12               Q.      Now we're all the same type,

     13    right?

     14               A.      You're all considered a retail

     15    independent pharmacy.          But, sure, each different

     16    and unique based on your patient population,

     17    based on the number of scripts, et cetera.

     18               Q.      Hold on.     Cardinal's policy and

     19    procedure says we have to do it by size and by

     20    type, right?

     21               A.      It says type of business.

     22               Q.      Type of business.        And Cardinal

     23    subcategorized its customers into types of

     24    business.       We've already seen that in the

    Golkow Litigation Services                                             Page 175
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further176Confidentiality
                                                           of 402. PageID #: 224175
                                                                               Review

      1    threshold system, right?

      2                       MS. WICHT:      Object to the

      3               form.    Mischaracterizes.

      4               A.      Yes, but type can be a broad

      5    definition.

      6               Q.      Sure.    I understand.       You are

      7    going to now try to change how type is defined.

      8    I get it.       The policy and procedure is there,

      9    though.     You cannot get away from it.

     10                       So it says type of business.           You

     11    tell us right now what different types of

     12    business Cardinal categorized customers into.

     13                       MS. WICHT:      Object to the

     14               commentary and the form of the

     15               question.

     16                       MR. FULLER:      Actually, strike

     17               that question.

     18    BY MR. FULLER:

     19               Q.      Where in this policy and procedure

     20    does it set out the different types of business?

     21    Where in this policy?

     22                       MS. WICHT:      While he's

     23               looking for that, Mike, we've been

     24               on the record, I think, over an

    Golkow Litigation Services                                             Page 176
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further177Confidentiality
                                                           of 402. PageID #: 224176
                                                                               Review

      1               hour and a half now, so whenever

      2               you're at a point to take a break,

      3               that would be good.

      4                       MR. FULLER:      Sure.    I'd like

      5               to finish with this issue.

      6                       MS. WICHT:      Sure.

      7                       MR. FULLER:      And then we can

      8               take a lunch break, probably, too.

      9               I think it's that time.

     10               A.      I don't see the definition of type

     11    of business, but I just skimmed through it,

     12    so ...

     13               Q.      Now, you are aware, are you not,

     14    that Cardinal classified types of business into

     15    different categories, right?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      Yes, as a type, but there are also

     19    subtypes to that, which I don't think it was

     20    categorized as such.         So even though you might

     21    be a small retail pharmacy, your customer base

     22    would still delineate you to be different

     23    than -- you would still be in that type, but

     24    your customer base can delineate you to be of a

    Golkow Litigation Services                                             Page 177
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further178Confidentiality
                                                           of 402. PageID #: 224177
                                                                               Review

      1    different animal than each one of us in the

      2    room.

      3               Q.      Okay.    I'm just trying to follow

      4    the policy and procedures that Cardinal wrote.

      5               A.      I understand.

      6               Q.      Okay.    So Cardinal delineated

      7    customers into types of business, right?

      8                       MS. WICHT:      Object to the

      9               form.

     10               Q.      They had an independent

     11    retail-type category, correct?

     12                       MS. WICHT:      Object to the

     13               form.

     14               A.      Yes.

     15               Q.      They had retail chains, correct?

     16               A.      Yes.

     17               Q.      They had hospitals, right?

     18               A.      Yes.

     19               Q.      Okay.    They also divided customers

     20    into size categories, correct?

     21               A.      Yes.

     22               Q.      And they did small, medium, and

     23    large, based on your knowledge, correct?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 178
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further179Confidentiality
                                                           of 402. PageID #: 224178
                                                                               Review

      1               Q.      So if we're going to apply this

      2    policy and procedure, we need to follow whatever

      3    categorize -- well, strike that.

      4                       Cardinal's system designated each

      5    customer by its customer type, didn't it?

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      The customer was placed in those

      9    different types.

     10               Q.      Types of business, right?

     11               A.      By types of business, by the

     12    information that we had on the customer --

     13               Q.      Right.

     14               A.      -- so ...

     15               Q.      And they were placed in the

     16    different size categories, although you don't

     17    necessarily recollect how the size was

     18    determined?

     19               A.      I don't know how the size was

     20    determined, correct.

     21               Q.      That's -- you've already testified

     22    to that.

     23                       But they were separated into size

     24    categories?

    Golkow Litigation Services                                             Page 179
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further180Confidentiality
                                                           of 402. PageID #: 224179
                                                                               Review

      1               A.      Yes.

      2               Q.      And so for a simplistic example,

      3    if everybody in here is a retail independent

      4    pharmacy and everybody in here is ordering

      5    10,000 pills a month of oxycodone and I'm

      6    ordering 100,000 pills per month of oxycodone,

      7    that's significantly -- and maybe my history is

      8    I've ordered 100,000 every month for the past

      9    year.

     10                       You would agree with me that

     11    that's not abnormal, it's not unusual, for my

     12    ordering history, right?

     13                       MS. WICHT:      Object to the

     14               form.    Hypothetical.

     15               A.      I mean, if it's a hypothetical

     16    situation, yeah.        I mean, yeah, you -- and that

     17    could be -- there could be absolutely no

     18    diversion there.

     19               Q.      Well, hold on.       We're just talking

     20    about my ordering pattern.

     21               A.      I know.     So you're staying in your

     22    normal realm.

     23               Q.      I'm staying in my normal pattern.

     24               A.      Right.

    Golkow Litigation Services                                             Page 180
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further181Confidentiality
                                                           of 402. PageID #: 224180
                                                                               Review

      1               Q.      But compared to everybody else, I

      2    would be unusual; can we agree to that?               I'm ten

      3    times what everybody else is ordering that is

      4    the same --

      5               A.      You would --

      6               Q.      -- type --

      7               A.      You would --

      8               Q.      -- and size of customer?

      9                       MS. WICHT:      Object to the

     10               form.    Foundation.      Hypothetical.

     11               A.      You would look different.

     12               Q.      Now, doesn't necessarily mean for

     13    certain that pills are being diverted, does it?

     14               A.      No.

     15               Q.      Okay.    But it's certainly a red

     16    flag that deserves looking into?

     17                       MS. WICHT:      Object to the

     18               form.

     19               A.      And that's when we would find --

     20    look for other information about that

     21    customer --

     22               Q.      Sure.    But --

     23               A.      -- to determine.

     24               Q.      But it fits the definition of

    Golkow Litigation Services                                             Page 181
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further182Confidentiality
                                                           of 402. PageID #: 224181
                                                                               Review

      1    unusual size, doesn't it?

      2                       MS. WICHT:      Object to the

      3               form.    Foundation.

      4               A.      I don't --

      5                       MS. WICHT:      Hypothetical.

      6               A.      I can't speak to that because I'm

      7    not sure at what time period.            There is at the

      8    end something that's a lot more definitive where

      9    you can see all the customers grouped.

     10               Q.      There is at the end something more

     11    definitive?

     12               A.      Well, I mean --

     13               Q.      Is there a computer system?

     14               A.      -- after like -- when Tableau came

     15    out, then you could see by dots the different

     16    types of customers that fall into.

     17                       Prior to that, you had to look and

     18    search for those customers.           So the system got

     19    more technical and it was a lot easier to look

     20    for that information.

     21               Q.      So here's what I want to know:

     22                       For the particular types and sizes

     23    of customers, did Cardinal set out what the

     24    average was?       Did they give you a sheet that

    Golkow Litigation Services                                             Page 182
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further183Confidentiality
                                                           of 402. PageID #: 224182
                                                                               Review

      1    says, "Okay.       For retail independents of medium

      2    size, this is what the average is"?

      3               A.      I don't remember a --

      4                       MS. WICHT:      Object to the

      5               form.

      6                       I'm sorry.      Go ahead.

      7               A.      I don't remember a specific sheet

      8    that says this is the average of a small, a

      9    medium, or a large customer purchasing this

     10    certain drug family.

     11               Q.      All right.      And while I know you

     12    had plenty of things going on when you were

     13    trying to do your job, did you go and calculate

     14    what the average was -- and I want to figure out

     15    over what geographical area.            So if you're

     16    looking at a pharmacy that's in Cuyahoga County,

     17    Ohio, the Cleveland area, did you compare it

     18    just to other pharmacies in Cleveland?               Did you

     19    compare it to like pharmacies across the state?

     20    Was the comparison across the country?               Or do

     21    you know?

     22                       MS. WICHT:      Object to the

     23               form.    Foundation.      Compound.

     24               A.      Each customer was looked at

    Golkow Litigation Services                                             Page 183
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further184Confidentiality
                                                           of 402. PageID #: 224183
                                                                               Review

      1    individually.       So we would look at what's around

      2    them.     We would look at -- it could be the state

      3    they're in.       It could be what's around them, if

      4    it's a hospital, if it's several other

      5    pharmacies, if it's a specialty group of some

      6    sort.     So if you're at the Cleveland Clinic,

      7    you're probably going to be more of a heart

      8    specialist or whatever.

      9                       So it was an -- it was an

     10    independent look at each individual customer.

     11    And, yes, we did compare it to size and type of

     12    businesses, but, again, they're different and

     13    individual.       So each one is going to be -- each

     14    one is different.         Even a -- even retail chains

     15    that are -- one can be four blocks from the

     16    other.     Their customer base could be totally

     17    different.

     18               Q.      I'm not here to agree or disagree

     19    with you.       What I want to know -- and you're

     20    saying they look at each customer's

     21    individually.

     22               A.      Yes.

     23               Q.      That's great.      That's the first

     24    part of the definition of suspicious --

    Golkow Litigation Services                                             Page 184
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further185Confidentiality
                                                           of 402. PageID #: 224184
                                                                               Review

      1               A.      Yes.

      2               Q.      -- or unusual order.

      3               A.      Yes.

      4               Q.      The second part is comparing it to

      5    likes.     And I want to know how Cardinal did

      6    that.     For the seven years that you were there

      7    doing this, I want to know -- not guessing.                 I

      8    want to know how Cardinal -- what geographical

      9    area Cardinal looked at.           Was it just within the

     10    neighborhood?       Was it within the county?          Was it

     11    within the state?         Was it across the country?

     12                       There are going to be very

     13    similarly situated pharmacies like the ones in

     14    Ohio in other states.          There just are.       This

     15    country isn't that different going from one side

     16    to the other.

     17               A.      I think it is.

     18               Q.      So my point is, how did

     19    Cardinal -- what was Cardinal's system for doing

     20    that?     Can you answer that question?

     21               A.      I can't answer --

     22                       MS. WICHT:      Object to the

     23               form.

     24               A.      I can't answer that question.

    Golkow Litigation Services                                             Page 185
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further186Confidentiality
                                                           of 402. PageID #: 224185
                                                                               Review

      1               Q.      Okay.    So sitting here today, you

      2    can't tell us what system Cardinal had in place

      3    to compare similarly situated pharmacies, at

      4    least according to this policy and procedure,

      5    correct?

      6                       MS. WICHT:      Object to the

      7               form of the question.

      8               Mischaracterizes his testimony.

      9               A.      As I -- as I said previously, each

     10    customer was looked at individually.

     11               Q.      I --

     12               A.      If you could compare them by size

     13    and type that made sense, then yes.

     14               Q.      Okay.

     15               A.      But, otherwise, each customer is

     16    individual customer.

     17               Q.      So I'm -- all I'm asking,

     18    Mr. Forst, is, do you know and can you tell us

     19    the system that Cardinal used to make the

     20    similarly situated comparison as it relates to

     21    orders of unusual size, orders of unusual

     22    frequency and pattern during the seven years

     23    that you were in this department?

     24               A.      I don't know --

    Golkow Litigation Services                                             Page 186
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further187Confidentiality
                                                           of 402. PageID #: 224186
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               A.      I don't --

      4               Q.      And if you can't, just say "I

      5    can't."     That's fine.

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      I don't know the system that they

      9    used to do that, no.

     10               Q.      Okay.    Now, you've testified that

     11    it would make sense to do that if they had the

     12    information, right?

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      I have testified that we used all

     16    the information that we had available to us to

     17    make decisions on whether an order had the

     18    potential to be suspicious and to be diverted.

     19                       MR. FULLER:      Okay.    Let's

     20               take our lunch break.

     21                       THE VIDEOGRAPHER:        We're

     22               going off the record at 12:28.

     23                                - - -

     24              Thereupon, at 12:28 p.m. a lunch

    Golkow Litigation Services                                             Page 187
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further188Confidentiality
                                                           of 402. PageID #: 224187
                                                                               Review

      1               recess was taken until 1:35 p.m.

      2                                - - -

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    Golkow Litigation Services                                             Page 188
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further189Confidentiality
                                                           of 402. PageID #: 224188
                                                                               Review

      1                                         Tuesday Afternoon Session

                                                January 22, 2019

      2                                         1:35 p.m.

      3                                - - -

      4                       THE VIDEOGRAPHER:        We are

      5               back on the record at 1:35.

      6                  CROSS-EXAMINATION (CONT'D.)

      7    BY MR. FULLER:

      8               Q.      All right.      We were finishing with

      9    the policy and procedure when we took a break,

     10    Mr. Forst.

     11                       I want to attach a piece of

     12    artwork, Number 14, as another demonstrative

     13    exhibit for the record.

     14                                - - -

     15      (Cardinal-Forst Deposition Exhibit 14 marked.)

     16                                - - -

     17               Q.      And, Mr. Forst, the -- we were on

     18    4226 over on page 4 when we took that break.

     19                       The definitions for orders of

     20    unusual frequency, which is 6.1.6, as well as

     21    orders that deviate substantially from the

     22    normal ordering pattern, 6.1.7, include the same

     23    sort of criteria as orders of unusual size, in

     24    that they compare to the customer's history,

    Golkow Litigation Services                                             Page 189
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further190Confidentiality
                                                           of 402. PageID #: 224189
                                                                               Review

      1    then to history of customers of similar type, as

      2    well as size, right?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      Correct.

      6               Q.      Okay.    And if you'd turn to the

      7    next page, page 5.         And if you look at 6.1.8.1,

      8    orders cut due to order entry errors and not

      9    reported to the DEA.

     10                       How do you determine if something

     11    is an order entry error versus a suspicious

     12    order?

     13               A.      Order entry errors are usually the

     14    orders that -- say the customer places an order.

     15    They call the distribution center and say "This

     16    order was placed in error."           And so they're over

     17    their threshold, so the distribution center

     18    can't do anything with the order until we act on

     19    it and they inform us that that order was placed

     20    incorrectly.       They can cut the order, but the

     21    order will sit there until we act on it.

     22               Q.      And you say "they can cut the

     23    order."

     24               A.      The distribution center can --

    Golkow Litigation Services                                             Page 190
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further191Confidentiality
                                                           of 402. PageID #: 224190
                                                                               Review

      1    they can inactivate the order, like we cut

      2    orders.

      3               Q.      Yes, sir.

      4               A.      But we have to respond to it and

      5    make a comment on it to clear it through the

      6    system.

      7               Q.      So the distribution system --

      8    center --

      9               A.      They can cut it or they can leave

     10    it sit there for us if it gets held.

     11               Q.      Okay.

     12               A.      And then they communicate with us

     13    that the order was an entry error or whatever.

     14    There are times when there's a -- an order

     15    that's a lot larger than what customers normally

     16    order.     And at that time, whoever is reviewing

     17    the orders can call the customer and says, "This

     18    order looks different than normal, what's going

     19    on?"    And they would say, "Oh, we didn't mean to

     20    order that" or whatever.           So that's how we deal

     21    with the order entry errors.

     22                       And there were -- I don't see

     23    those as -- there was very many of those that

     24    occurred as a percentage of the orders that we

    Golkow Litigation Services                                             Page 191
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further192Confidentiality
                                                           of 402. PageID #: 224191
                                                                               Review

      1    cut.

      2               Q.      That was a very small percentage;

      3    is that what you're saying?

      4               A.      I believe so.      I don't know the

      5    percentage, though.

      6               Q.      It wasn't something that you

      7    encountered all the time?

      8               A.      No.

      9               Q.      Okay.

     10               A.      Not that routinely.

     11               Q.      Now --

     12               A.      Me personally that was doing the

     13    orders.

     14               Q.      Fair enough.

     15                       6.1.8.2, held or cut orders

     16    reported to the DEA.         So if it's not an order

     17    entry error and it's held and then ultimately

     18    cut, it's your understanding that it has to be

     19    reported to the DEA, correct?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      Not all cut orders were reported.

     23    They had to be -- have an air of suspiciousness

     24    around them.

    Golkow Litigation Services                                             Page 192
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further193Confidentiality
                                                           of 402. PageID #: 224192
                                                                               Review

      1                       So there had to be something in

      2    the patient's profile that would alert us to

      3    say, "This is something that is a suspicious

      4    order for some reason."

      5                       MS. WICHT:      Did you mean to

      6               say "patient" in that answer,

      7               Chris?    I'm sorry.      Just to --

      8                       THE WITNESS:      I'm sorry?

      9                       MS. WICHT:      You said there

     10               would be something in the patient's

     11               profile.

     12               A.      Oh, I'm sorry.       In the --

     13                       MS. WICHT:      I don't think you

     14               meant that.

     15               A.      -- in the -- I'm not -- I'm

     16    sorry -- in the customer's profile.

     17               Q.      Okay.

     18                       THE WITNESS:      Thank you.

     19               Q.      But if it's held or cut, it had to

     20    be triggered by something, right?             And this --

     21               A.      If it's held, it's triggered by

     22    the threshold.

     23               Q.      So your testimony to the jury is

     24    that you could cut an order that's been

    Golkow Litigation Services                                             Page 193
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further194Confidentiality
                                                           of 402. PageID #: 224193
                                                                               Review

      1    triggered by a threshold and not report it to

      2    the DEA?

      3               A.      Yes.

      4                       MS. WICHT:      Object to the

      5               form.

      6               Q.      Even if it's not just an order

      7    entry problem?

      8               A.      Yes.    It's -- what is around the

      9    order that makes it possibly suspicious.               I

     10    mean, another example that might not be an -- an

     11    order entry error is




     24               Q.      Uh-huh.

    Golkow Litigation Services                                             Page 194
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further195Confidentiality
                                                           of 402. PageID #: 224194
                                                                               Review

      1               A.




     14               Q.      But does that constitute a cut

     15    order?     What's being cut, then, if they --

     16               A.      Well, if it -- if it pushes it

     17    over threshold, it would be cut.             And then you

     18    would have to back it out because of that so

     19    that they -- you know, the accrual is

     20    appropriate.

     21               Q.      Hold on.     So let's just make sure

     22    we're on the same page.

     23                       You're saying they have to

     24    re-place the order because someone shipped them

    Golkow Litigation Services                                             Page 195
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further196Confidentiality
                                                           of 402. PageID #: 224195
                                                                               Review

      1    the wrong --

      2               A.      No.    We didn't ship -- we didn't

      3    ship the wrong thing.




      6               Q.      Right.

      7               A.      --



      9                       If -- if the -- let's say the tech

     10    ordered it and then it was incorrect -- I guess

     11    you could call it an order entry error -- and

     12    they shipped the




     17               Q.      So -- but in those scenarios,

     18    they're returning -- let's just call it the

     19    wrong product?

     20               A.      Yes.

     21               Q.      Okay.    So it's not really a

     22    threshold event because some of the --

     23               A.      Well, it is if it goes over

     24    threshold.      If they're close to that threshold

    Golkow Litigation Services                                             Page 196
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further197Confidentiality
                                                           of 402. PageID #: 224196
                                                                               Review

      1    and it bumps them over, it would stop that

      2    order.

      3               Q.      Right.

      4               A.      If I'm reviewing it and I don't

      5    know that they're -- they need a




      9                       And then it would have to be

     10    returned.

     11                       And it -- you know, if it was

     12    ahead of time and it was over and they told us,

     13    well, then, it's an order entry error.               But --

     14               Q.      When you say "ahead of time," what

     15    do you mean?

     16               A.      Well, I mean, like I say, you

     17    know, if they notice that they ordered the wrong

     18    thing or it was going to -- they were going to

     19    get shipped the wrong thing, then it would be

     20    considered an order entry error.

     21               Q.      All right.      Let's go to 4919.

     22                                - - -

     23      (Cardinal-Forst Deposition Exhibit 15 marked.)

     24                                - - -

    Golkow Litigation Services                                             Page 197
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further198Confidentiality
                                                           of 402. PageID #: 224197
                                                                               Review

      1                       MR. FULLER:      And this is

      2               going to be -- I'm sorry --

      3               Plaintiffs' Exhibit Number 15, 4919

      4               for the record.

      5    BY MR. FULLER:

      6               Q.      And, Mr. Forst, you see this

      7    apparently is a corporate quality and regulatory

      8    compliance manual.

      9                       Do you see that there?

     10               A.      Yes.

     11               Q.      And its issue date is June 15th of

     12    2006?

     13               A.      Yes.

     14               Q.      And it's signed off by Stephen

     15    Reardon, vice president, quality and regulatory

     16    affairs?

     17               A.      Yes.

     18               Q.      And that's the same Mr. Reardon

     19    you mentioned earlier --

     20               A.      Correct.

     21               Q.      -- correct?

     22                       Okay.    Now, this is actually --

     23    well, it's not entered before your time at

     24    Cardinal because you were actually with

    Golkow Litigation Services                                             Page 198
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further199Confidentiality
                                                           of 402. PageID #: 224198
                                                                               Review

      1    Cardinal, but you were in Texas at this point in

      2    time, correct?

      3               A.      Yes.

      4               Q.      Okay.    Do you know when this

      5    policy went out of effect?

      6               A.      No.

      7               Q.      Okay.    And we've looked at some of

      8    the policies that you were on already today,

      9    right?

     10               A.      Correct.

     11               Q.      I think the earliest one that went

     12    into effect was December of 2008.             I believe it

     13    was December 22nd, if memory serves.

     14                       Does that seem right?

     15               A.      That sounds correct, yes.

     16               Q.      Okay.    So if you will turn to the

     17    second page, it says, title, "Required Reports

     18    to the DEA."

     19                       Do you see that?

     20               A.      Yes.    I'm sorry.     I was looking --

     21               Q.      And the Purpose is "To comply with

     22    DEA and Cardinal Health, Inc. requirements to

     23    report transactions, thefts, drug destructions

     24    and suspicious orders to the DEA and DEA ARCOS

    Golkow Litigation Services                                             Page 199
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further200Confidentiality
                                                           of 402. PageID #: 224199
                                                                               Review

      1    Unit."

      2                       Did I read that correctly?

      3               A.      Yes, you did.

      4               Q.      And then the scope is

      5    pharmaceutical distribution facilities.

      6                       Do you ever recall being shown

      7    this policy and procedure?

      8               A.      No.

      9               Q.      Okay.    Well, if you'll turn to --

     10    page 5 is where we get to the order on

     11    suspicious -- the section on suspicious orders.

     12                       Do you see that near the bottom of

     13    the page, "Suspicious Orders"?

     14               A.      Yes.

     15               Q.      Can you read 5a aloud for us,

     16    please?

     17               A.      "Wholesalers must design and

     18    operate a system that will disclose suspicious

     19    orders to the wholesaler."

     20               Q.      Okay.    And you agree with that,

     21    correct?

     22               A.      Why am I -- "Wholesalers must

     23    design and operate a system that will disclose

     24    suspicious orders to the wholesaler."

    Golkow Litigation Services                                             Page 200
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further201Confidentiality
                                                           of 402. PageID #: 224200
                                                                               Review

      1                       What wholesaler are we doing?

      2               Q.      Wholesale distributors.          Cardinal,

      3    for example.

      4               A.      The sentence doesn't seem to make

      5    sense to me, but -- I mean, we'll disclose

      6    suspicious orders to the wholesaler, so the

      7    wholesaler is reporting them to a wholesaler?

      8               Q.      Well, you have to design and

      9    operate a system to disclose suspicious orders

     10    to yourself, right?         It's part of the

     11    regulation?

     12               A.      That's what it seems to say, yes.

     13               Q.      I mean, that's part of the actual

     14    regulation isn't it?

     15               A.      Okay.    Yeah.    So you'd have to

     16    know what's --

     17               Q.      You have to have a system to

     18    identify suspicious orders.

     19               A.      Right.    Okay.

     20               Q.      Okay.

     21               A.      I agree with that.

     22               Q.      And a.i. says -- read that one for

     23    us, if you don't mind.

     24               A.      "The facility must inform the DEA

    Golkow Litigation Services                                             Page 201
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further202Confidentiality
                                                           of 402. PageID #: 224201
                                                                               Review

      1    field office in the areas of all suspicious

      2    orders."

      3               Q.      Okay.    You agree with that as

      4    well, correct?

      5               A.      It's --

      6               Q.      So let's go to --

      7               A.      Based on the definition of

      8    suspicious orders, yes.

      9               Q.      Okay.    Let's go to --

     10               A.      Again, it's vague.

     11               Q.      -- ii.

     12                       Read that one for us.

     13               A.      "Suspicious orders include orders

     14    of unusual size, orders deviating from a normal

     15    pattern, and orders of unusual frequency."

     16               Q.      Okay.    You agree that's the

     17    definition that the regulation gives related to

     18    suspicious orders, do you not?

     19               A.      Yes.

     20               Q.      All right.      Read b for us.

     21               A.      "Wholesalers must establish

     22    written criteria of what constitutes a

     23    suspicious order."

     24               Q.      Okay.    Did Cardinal have, to your

    Golkow Litigation Services                                             Page 202
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further203Confidentiality
                                                           of 402. PageID #: 224202
                                                                               Review

      1    knowledge when you joined them, a written

      2    criteria for what constitutes a suspicious

      3    order?

      4               A.      I believe it was in one of the

      5    policies, but I can't say directly.

      6               Q.      You don't have any recollection of

      7    what that definition would have been or that

      8    criteria would have been?

      9               A.      The definition would have probably

     10    been what the DEA guidelines are.

     11               Q.      This asks for a written criteria

     12    of what constitutes a suspicious order.

     13                       Do you have any recollection of

     14    seeing that before?

     15               A.      No.

     16                       MS. WICHT:      Object to the

     17               form.

     18               Q.      If you go down to c -- it's there

     19    on page 6 -- it says, "Each facility shall

     20    submit to the DEA office on a monthly basis via

     21    registered or certified mail, return receipt

     22    requested, or via Federal Express or UPS with a

     23    tracking number an ingredient limit report."

     24                       And, again, I think I asked you

    Golkow Litigation Services                                             Page 203
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further204Confidentiality
                                                           of 402. PageID #: 224203
                                                                               Review

      1    when we got started about ingredient limit

      2    reports and you don't recollect necessarily

      3    seeing an ingredient limit report, do you?

      4               A.      No.   Excuse me.      No.

      5                       MR. FULLER:      3501.

      6                       (Discussion off the record.)

      7                       MR. FULLER:      Jennifer, this

      8               is one of the documents on that USB

      9               I gave you earlier, too --

     10                       MS. WICHT:      Oh.

     11                       MR. FULLER:      -- that who

     12               knows where it went?

     13                       MS. WICHT:      It's down there

     14               somewhere.      Okay.

     15                       MR. FULLER:      This is going to

     16               be Exhibit --

     17                       MS. WICHT:      16.

     18                       MR. FULLER:      -- 16, 3501.

     19                                - - -

     20      (Cardinal-Forst Deposition Exhibit 16 marked.)

     21                                - - -

     22    BY MR. FULLER:

     23               Q.      And my understanding from other

     24    witnesses is this prints out a little

    Golkow Litigation Services                                             Page 204
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further205Confidentiality
                                                           of 402. PageID #: 224204
                                                                               Review

      1    differently than the way it may have looked back

      2    in the day.       I don't know why, but it's just the

      3    way we got it.

      4                       This says, "Compliance Group

      5    Ingredient Limit Report," and it has a run date

      6    there of May 9th of 2008.

      7                       This is during your time frame

      8    within the regulatory department at Cardinal,

      9    correct?

     10               A.      Correct.     It's right after I

     11    started.

     12               Q.      And the Ingredient Limit Report,

     13    we see "Ingredient Limit Report Summary,

     14    Non-ARCOS Report" there in the first part of the

     15    section.

     16                       Do you see that?

     17               A.      Yes.

     18               Q.      Now, to save us some time, I'm

     19    going to sort of give you a thumbnail sketch.

     20    You're more than happy -- more than welcome to

     21    look, but I believe there's non-ARCOS

     22    reportables in here.         There's a hospital

     23    section.      But we're going to jump forward to

     24    page 274.

    Golkow Litigation Services                                             Page 205
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further206Confidentiality
                                                           of 402. PageID #: 224205
                                                                               Review

      1                       Can you tell me when you've found

      2    that.

      3               A.      Okay.

      4               Q.      Okay.    So the first customer

      5    listed on this page -- although we have some of

      6    the prior page there -- is Customer 2848,

      7    CVS 3360.

      8                       Do you see that?

      9               A.      Yes, I do.

     10               Q.      And it provides the address as

     11    well as the DEA number and then the ingredient

     12    we're measuring, correct?

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      According to the report, yes.

     16               Q.      And if we go down a little bit, we

     17    have where it looks like there was a page break.

     18    And, again, it says month of April '08.               Factor

     19    used, it says factor of 4.

     20                       Do you see that there?

     21               A.      Oh, yes, I see it.        Thank you.

     22               Q.      Any idea why they would be using a

     23    factor of 4 in the ingredient limit report?

     24               A.      I don't even --

    Golkow Litigation Services                                             Page 206
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further207Confidentiality
                                                           of 402. PageID #: 224206
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               A.      I don't even know what that factor

      4    of 4 means.

      5               Q.      Okay.    And we saw earlier with the

      6    thresholds they were using, at least for certain

      7    controls, a factor of 3, correct?

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      Correct, but I'm not sure that

     11    factor is the same as this factor.

     12               Q.      I'm not saying it was.         I just

     13    asked if you recalled us looking at the factor

     14    of 3 earlier.

     15               A.      Yes.

     16               Q.      Okay.    And in discovery it's been

     17    indicated that it was a DEA-approved factor.

     18                       Do you have any knowledge of DEA

     19    approval to any multiple factor being used by

     20    Cardinal?

     21               A.      No.

     22               Q.      No one from the DEA ever told you

     23    to use a multiple factor?

     24                       MS. WICHT:      Object to the

    Golkow Litigation Services                                             Page 207
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further208Confidentiality
                                                           of 402. PageID #: 224207
                                                                               Review

      1               form.

      2               A.      No.

      3               Q.      Did you ever see any letters from

      4    the DEA or from Cardinal to the DEA confirming

      5    conversations where it was suggested to use a

      6    multiple factor related to thresholds?

      7                       MS. WICHT:      Object to the

      8               form.

      9               A.      No.

     10               Q.      Okay.    Now, let me ask you this:

     11                       If, in relation to the ingredient

     12    limit report, as you saw from the policy and

     13    procedure that we were looking at on page 6

     14    there, it was sent to the DEA after it's ran --

     15    and it clearly was ran after the end of the

     16    month because it contains the information for

     17    the entire prior month -- in your mind, is that

     18    a sufficient and adequate way to monitor the

     19    potential diversion of controlled substances

     20    simply by sending a report a month after all the

     21    substances have been shipped?

     22                       MS. WICHT:      Object to the

     23               form.    No foundation.       Vague.     And

     24               calls for a legal conclusion.

    Golkow Litigation Services                                             Page 208
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further209Confidentiality
                                                           of 402. PageID #: 224208
                                                                               Review

      1               A.      I can't comment on that because

      2    I'm not familiar with this report.

      3               Q.      Well, do you want to take a moment

      4    and familiarize yourself with it?

      5                       MS. WICHT:      Same objections,

      6               even if he spends the whole

      7               afternoon looking at it.

      8               A.      No, I'm not familiar with this

      9    report because this comes from the distribution

     10    center.     I wouldn't have seen this report.

     11               Q.      What is it that you would have to

     12    familiarize yourself with the report about?

     13                       So the premise of my question is

     14    if the system in place, according to the policy

     15    and procedure, is to send a list of orders that

     16    exceed some sort of threshold after the month is

     17    over and after all the pills have shipped, you

     18    would agree that that is not a sufficient policy

     19    and procedure to prevent diversion, correct?

     20                       MS. WICHT:      Object to the

     21               form.    No foundation.       Calls for a

     22               legal conclusion.        And vague.

     23               A.      Again, I am unfamiliar with this

     24    form or that process.

    Golkow Litigation Services                                             Page 209
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further210Confidentiality
                                                           of 402. PageID #: 224209
                                                                               Review

      1               Q.      I -- well, we have the process in

      2    front of us.       We have the policy and procedure

      3    that Cardinal utilized.

      4               A.      I wasn't at Cardinal at that time,

      5    so I'm not --

      6               Q.      Yes, sir, you were.

      7               A.      Well --

      8               Q.      You were --

      9               A.      -- I was not at Cardinal in the --

     10    at a distribution center where this would be --

     11               Q.      I get that.      I understand that.

     12    You don't have to be for me to ask you this

     13    question.

     14                       You are one that's been trained by

     15    Cardinal, and based on your history and

     16    experience, you can testify because you did it

     17    for Cardinal, evaluated their systems, improved

     18    on their systems.

     19                       I'm asking you, is this a

     20    sufficient system?

     21               A.      I -- my --

     22                       MS. WICHT:      Object to the

     23               form.    No foundation.       Vague.

     24               A.      I --

    Golkow Litigation Services                                             Page 210
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further211Confidentiality
                                                           of 402. PageID #: 224210
                                                                               Review

      1                       MS. WICHT:      And calls for a

      2               legal conclusion.

      3               A.      I -- now I've forgotten what I was

      4    going to say.

      5                       MS. WICHT:      Sorry.

      6               A.      I didn't design the systems.            I

      7    reviewed orders held by the systems in place to

      8    determine whether they were possibly suspicious.

      9    And, to the best of my ability, that's what my

     10    role was.

     11                       I didn't design the forms.          I

     12    wasn't the IT person.          I wasn't the person at

     13    the distribution center when this was set up in

     14    2006.     So I can't honestly comment on this form.

     15               Q.      You would agree with me that

     16    shipping suspicious orders -- shipping

     17    suspicious orders is not a valid system based on

     18    your understanding of the regulations, correct?

     19                       MS. WICHT:      Object to the

     20               form.    Vague.     Calls for a legal

     21               conclusion.

     22               A.      I can't -- I don't know what this

     23    form --

     24               Q.      I'm not --

    Golkow Litigation Services                                             Page 211
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further212Confidentiality
                                                           of 402. PageID #: 224211
                                                                               Review

      1               A.      -- information the form was

      2    sending, so ...

      3               Q.      Listen to my question.

      4               A.      If it's calling them suspicious

      5    orders --

      6               Q.      Just listen to my question and

      7    answer my question.         I did not ask you about

      8    that form that you keep trying to do -- relate

      9    this to.      I'm just asking you the question.

     10                       Earlier you testified that if an

     11    order was suspicious, you wouldn't ship it,

     12    right?

     13               A.      That is correct.

     14               Q.      Because that's not compliant with

     15    the regulations, correct?

     16                       MS. WICHT:      Object to the

     17               form.    No foundation.

     18               Mischaracterizes his testimony.

     19               A.      If it was allegedly suspicious or

     20    from what it looks to me as being suspicious,

     21    no.

     22               Q.      So any system -- you would agree

     23    that any system that allowed suspicious orders

     24    to be shipped is not a sufficient system,

    Golkow Litigation Services                                             Page 212
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further213Confidentiality
                                                           of 402. PageID #: 224212
                                                                               Review

      1    correct?

      2                       MS. WICHT:      Object to the

      3               form.    No foundation.       Calls for

      4               speculation and a legal conclusion.

      5               A.      I don't know that the system did

      6    not --

      7               Q.      I didn't ask you about the system,

      8    sir.    Just listen to my question, Mr. Forst.

      9                       I am asking you that a system --

     10    if someone put in place a system that allowed

     11    suspicious orders to be shipped, that that

     12    wouldn't be complying with the regulations as

     13    you understand them, correct?

     14                       MS. WICHT:      Object to the

     15               form.    No foundation.       Calls for a

     16               legal conclusion.

     17               A.      I can't answer that question.

     18               Q.      Why can't you answer that

     19    question?       You've already told us that it would

     20    be against the regulation to ship a suspicious

     21    order, right?

     22                       MS. WICHT:      Object to the

     23               form.    Mischaracterizes his

     24               testimony.

    Golkow Litigation Services                                             Page 213
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further214Confidentiality
                                                           of 402. PageID #: 224213
                                                                               Review

      1                       MR. FULLER:      Counsel, just

      2               object to form, please.          The

      3               deposition protocol is clear that

      4               these talking objections are

      5               inappropriate.

      6                       MS. WICHT:      Well, the

      7               deposition protocol is also clear

      8               that you're not supposed to

      9               mischaracterize his testimony back

     10               to him.

     11                       MR. FULLER:      And I'm not.

     12               And, no, the deposition protocol

     13               doesn't say that.

     14    BY MR. FULLER:

     15               Q.      So go ahead and answer -- well,

     16    let me ask it again.

     17                       You agree with me that it would be

     18    violative of the regulation to ship a suspicious

     19    order, correct?

     20                       MS. WICHT:      Object to the

     21               form.    Calls for a legal

     22               conclusion.

     23               A.      If it was known to be suspicious.

     24               Q.      Potentially suspicious, right?

    Golkow Litigation Services                                             Page 214
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further215Confidentiality
                                                           of 402. PageID #: 224214
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form --

      3               A.      Potentially suspicious.

      4                       MS. WICHT:      -- of the

      5               question.

      6               Q.      That would be --

      7               A.      No.   If it was known to be

      8    suspicious, yes.

      9               Q.      Well, what if it was known to be

     10    potentially suspicious?          You testified earlier

     11    you have an obligation to report suspicious

     12    orders.

     13                       Potentially suspicious orders,

     14    right?

     15                       MS. WICHT:      Object to the

     16               form.    Compound.      Vague.

     17               A.      Mine is not an automated system.

     18    Mine is a decision based on my -- the

     19    information that's given to me, the information

     20    the system sends me.

     21               Q.      Yes, sir.     So -- I mean, that

     22    didn't answer my question.           Were you done with

     23    your answer?

     24               A.      Mm-hmm, yes.      I mean --

    Golkow Litigation Services                                             Page 215
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further216Confidentiality
                                                           of 402. PageID #: 224215
                                                                               Review

      1               Q.      My question, again, is you have an

      2    obligation under the regulation not to ship a

      3    potentially suspicious order, correct?

      4                       MS. WICHT:      Object to the

      5               form.    Foundation.

      6               A.      That is correct.

      7                       MS. WICHT:      Calls for a legal

      8               conclusion.

      9               Q.      I apologize.      Your counsel keeps

     10    making talking objections.           So you'll have to

     11    let her finish.

     12               A.      Sorry.

     13               Q.      And it's clearly interrupting the

     14    flow of the deposition.

     15                       So you would agree with me that

     16    any system that allowed the shipment of

     17    potentially suspicious orders would not be a

     18    sufficient system to comply with the regulation,

     19    right?

     20                       MS. WICHT:      Object to form.

     21               Foundation.      Calls for a legal

     22               conclusion.

     23               A.      I can't comment on the design of

     24    the system.

    Golkow Litigation Services                                             Page 216
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further217Confidentiality
                                                           of 402. PageID #: 224216
                                                                               Review

      1               Q.      Well, you know --

      2               A.      If it was designed to do that, it

      3    should be able to fulfill that regulation.

      4    Again, I can't say that -- whether or not this

      5    did it or not.       I was not there.

      6               Q.      I'm not asking you whether this

      7    did it or not.

      8                       I just asked you, "You have an

      9    obligation under the regulation not to ship a

     10    potentially suspicious order, correct?"

     11                       "Answer:     That is correct."

     12                       You still agree with that

     13    testimony, right?

     14               A.      Yes.

     15                       MS. WICHT:      Object to form.

     16               Q.      Okay.

     17                       MS. WICHT:      Calls for a legal

     18               conclusion.

     19               Q.      So -- and the reason you can't do

     20    that -- well, you said it.           It's under the

     21    regulation.       It would be violative of the

     22    regulation to ship potentially suspicious

     23    orders, correct?

     24                       MS. WICHT:      Object to form.

    Golkow Litigation Services                                             Page 217
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further218Confidentiality
                                                           of 402. PageID #: 224217
                                                                               Review

      1               Calls for a legal conclusion.

      2               A.      Again, I can't answer that because

      3    I'm really not understanding what your question

      4    is because I have this in front of me, a report

      5    I haven't seen.

      6               Q.      Here -- well, let's take a break

      7    and you can move everything out from in front of

      8    you that's confusing you and then we'll come

      9    back.

     10                       THE VIDEOGRAPHER:        We're

     11               going off the record at 2:03.

     12                       (Recess taken.)

     13                       THE VIDEOGRAPHER:        We're back

     14               on the record at 2:11.

     15    BY MR. FULLER:

     16               Q.      Mr. Forst, I've written down a

     17    question and an answer.          The question was, "My

     18    question is again" -- excuse me -- "again is,

     19    you have an obligation under the regulation not

     20    to ship a potentially suspicious order,

     21    correct?"

     22                       And your answer was, "That is

     23    correct."

     24                       Do you stand by that testimony, or

    Golkow Litigation Services                                             Page 218
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further219Confidentiality
                                                           of 402. PageID #: 224218
                                                                               Review

      1    do you wish to change that answer?

      2                       MS. WICHT:      Objection.     Calls

      3               for a legal conclusion.

      4               A.      Reading your question as you have

      5    it written, I do not believe the word "ship" is

      6    in the regulation.         We have a right to report a

      7    suspicious order, but it can be shipped.               The

      8    reporting of a suspicious order can actually

      9    happen after the fact.

     10               Q.      So your understanding -- and so

     11    your understanding now is that you can ship

     12    suspicious orders, right?

     13                       MS. WICHT:      Object to the

     14               form.    Calls for a legal

     15               conclusion.

     16               Q.      And it's not against the law.

     17                       MS. WICHT:      Sorry.

     18               Q.      That's your testimony to the jury?

     19                       MS. WICHT:      Object to --

     20               Q.      Now --

     21                       MS. WICHT:      I'm sorry.

     22               Object to the form.        Calls for a

     23               legal conclusion.

     24                       MR. FULLER:      Tell him yes.

    Golkow Litigation Services                                             Page 219
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further220Confidentiality
                                                           of 402. PageID #: 224219
                                                                               Review

      1               That's fine.

      2               A.      Well, if the regulation doesn't

      3    say "ship" in it -- I mean, there are times that

      4    you're going to find that an order might be

      5    suspicious long after it's shipped.              So the

      6    regulation is to report suspicious orders.

      7               Q.      The regulation also requires you

      8    to maintain effective controls against

      9    diversion, doesn't it?

     10                       MS. WICHT:      Object to --

     11               Q.      That's actually the code.

     12                       MS. WICHT:      Object to the

     13               form.

     14               Q.      Right?

     15               A.      Effective against diversion, yes.

     16               Q.      Yes.    So do you believe --

     17               A.      Just because an order is --

     18               Q.      Hold on.

     19               A.      -- suspicious does not mean --

     20               Q.      Let me finish my question.

     21               A.      -- it's necessarily going to be

     22    diverted.

     23               Q.      Do you believe shipping suspicious

     24    orders is maintaining effective controls against

    Golkow Litigation Services                                             Page 220
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further221Confidentiality
                                                           of 402. PageID #: 224220
                                                                               Review

      1    diversion?

      2                       MS. WICHT:      Object to the

      3               form.    Foundation.      Calls for a

      4               legal conclusion.

      5               A.      No.

      6               Q.      So maintaining effective controls

      7    against diversion would be preventing shipping

      8    suspicious orders, right --

      9                       MS. WICHT:      Object to the

     10               form.

     11               Q.      -- not shipping them?

     12                       MS. WICHT:      Sorry, Mike.

     13                       Object to the form.        Calls

     14               for a legal conclusion.

     15               A.      Could you repeat the question

     16    again, please.

     17               Q.      Sure.    You understand that -- I

     18    mean, the testimony has been since even the

     19    early 2000s, this country has been in the middle

     20    of an opioid epidemic, right?

     21               A.      Yes.

     22               Q.      People are dying at obscene

     23    numbers in this country mainly due to

     24    prescription opioids, not even the illicit

    Golkow Litigation Services                                             Page 221
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further222Confidentiality
                                                           of 402. PageID #: 224221
                                                                               Review

      1    stuff, right?

      2                       MS. WICHT:      Object to the

      3               form.    Foundation.

      4               A.      I don't know if that information

      5    is totally correct.

      6               Q.      Have you read that?

      7               A.      I haven't read it.        I -- my

      8    understanding --

      9               Q.      Have you seen the news stories?

     10               A.      -- is now heroin is.

     11               Q.      Have you seen news stories on it,

     12    prescription opioids?

     13               A.      Yes.

     14               Q.      And the abuse and the epidemic

     15    this country is facing?          That our kids are

     16    dying?

     17               A.      I've seen stories.

     18               Q.      That kids are dying from

     19    prescription opioids?

     20               A.      Yes.

     21               Q.      So what I'm trying to find out, as

     22    one in charge of anti-diversion at Cardinal, one

     23    who makes the ultimate decision as to whether an

     24    order gets shipped or not, I'm just trying to

    Golkow Litigation Services                                             Page 222
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further223Confidentiality
                                                           of 402. PageID #: 224222
                                                                               Review

      1    find out what the obligation is under -- that

      2    Cardinal believes or you believe -- I just want

      3    to know what Mr. Forst believes -- is the

      4    obligation under the regulations, can you or can

      5    you not ship a suspicious order?             Yes or no?

      6                       MS. WICHT:      Object to form.

      7               Calls for a legal conclusion.

      8               Asked and answered.

      9               A.      If I don't know at the time that

     10    order is suspicious and it's shipped and I find

     11    out later on, I can't unship an order.

     12               Q.      Okay.    So if you --

     13               A.      My goal is to -- if -- when I see

     14    it and it's stopped, if it is potentially

     15    suspicious, it will be not shipped.

     16               Q.      And that's what the regulation

     17    requires, correct?

     18                       MS. WICHT:      Object to the

     19               form.

     20               A.      The regulation --

     21                       MS. WICHT:      Calls for a legal

     22               conclusion.

     23               A.      -- has nothing to say about

     24    shipping.       It's reporting potentially suspicious

    Golkow Litigation Services                                             Page 223
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further224Confidentiality
                                                           of 402. PageID #: 224223
                                                                               Review

      1    orders.

      2               Q.      And the code section has to deal

      3    with shipping, correct?

      4                       MS. WICHT:      Object to the

      5               form.    No foundation.       Calls for a

      6               legal conclusion.

      7               A.      Can I see the code?

      8               Q.      The one we already looked at,

      9    maintaining effective controls against

     10    diversion.

     11                       Here's all I want to find out,

     12    Mr. Forst:      According to Mr. Forst, in his

     13    almost 40 years of experience, is it legal to

     14    ship an order that we know is suspicious?

     15               A.      If I know it's suspicious --

     16                       MS. WICHT:      Object to the

     17               form.    Foundation.      Calls for a

     18               legal conclusion.

     19               A.      You're making me understand that

     20    that order is suspicious.           Mine is potentially

     21    suspicious.

     22               Q.      Okay.    Now --

     23               A.      Potentially suspicious is

     24    different than suspicious.

    Golkow Litigation Services                                             Page 224
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further225Confidentiality
                                                           of 402. PageID #: 224224
                                                                               Review

      1               Q.      Okay.    The reg doesn't say

      2    potentially suspicious, does it?

      3               A.      The reg says suspicious order.

      4               Q.      Okay.    And I understand how you

      5    want to qualify with potentially suspicious, and

      6    I -- I'm not going to quibble with you on that

      7    one.    That one I'm fine with.          So let me re-ask

      8    the question.

      9                       Is it Mr. Forst's position and

     10    understanding of his obligations that we can

     11    ship a potentially suspicious order or not?

     12                       MS. WICHT:      Object to the

     13               form.    Foundation.      Calls for a

     14               legal conclusion.

     15               A.      Have I reviewed the suspicious

     16    order?     Have I reviewed the order, that is,

     17    quote, suspicious?

     18               Q.      If you -- it's a potentially

     19    suspicious order, yes, sir.

     20               A.      If I determine it's potentially

     21    suspicious, I would not allow that to be shipped

     22    under the process of the Cardinal Health policy.

     23               Q.      And so we're on the same page, the

     24    term "potentially suspicious," that means a

    Golkow Litigation Services                                             Page 225
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further226Confidentiality
                                                           of 402. PageID #: 224225
                                                                               Review

      1    chance that it may be diverted, correct?

      2               A.      It has the possibility of being

      3    diverted.

      4               Q.      Okay.    And so then my follow-up

      5    question is, is if we have a system in place --

      6    ignore anything in front of you, okay?

      7                       If we have a system in place that

      8    is allowing potentially suspicious orders to be

      9    shipped, that's not an effective system based on

     10    the regulations, correct?

     11                       MS. WICHT:      Object to form.

     12               Foundation.

     13               A.      I don't know if the system --

     14                       MS. WICHT:      Calls for a legal

     15               conclusion.

     16               A.      -- is allowing --

     17                       THE COURT REPORTER:        I need

     18               you to wait until she finishes.

     19                       THE WITNESS:      I'm sorry.

     20                       MS. WICHT:      Objection to

     21               form.    Foundation.      Calls for a

     22               legal conclusion.

     23                       Thank you.

     24               A.      Okay.    Please repeat the question.

    Golkow Litigation Services                                             Page 226
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further227Confidentiality
                                                           of 402. PageID #: 224226
                                                                               Review

      1               Q.      Sure.    If we have a system in

      2    place that is allowing potential suspicious

      3    orders to be shipped, then we're -- the system

      4    is not in compliance with the regulations,

      5    correct?

      6                       MS. WICHT:      Same objections.

      7               A.      When I started at Cardinal Health,

      8    the system in place would not allow orders over

      9    a certain threshold to be shipped.              Those orders

     10    were reviewed to see if there was potential --

     11    potential -- potentially -- potentially risk of

     12    diversion.

     13               Q.      Potential suspicious orders,

     14    right?

     15               A.      Correct.

     16               Q.      The way we've framed that today?

     17               A.      Correct.

     18               Q.      Okay.    I'm not asking what went on

     19    at Cardinal.       That's not my question, because

     20    I -- so when I premised this question, I said

     21    ignore everything in front of you.

     22                       My question is, if we have a

     23    system in place that allows for the shipment of

     24    potentially suspicious orders, can we agree that

    Golkow Litigation Services                                             Page 227
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further228Confidentiality
                                                           of 402. PageID #: 224227
                                                                               Review

      1    that system is not in compliance with the

      2    regulations?

      3                       MS. WICHT:      Object to the

      4               form.    Foundation.      Calls for a

      5               legal conclusion.

      6               A.      I'm not familiar with any system

      7    that is totally foolproof.           So I would say what

      8    you're saying is correct.

      9               Q.      So you agree --

     10               A.      That is correct.       I have an issue

     11    with the word "ship" because, like I said

     12    previously, an order can be shipped and then

     13    realized later that it is suspicious and it

     14    needs to be reported as such.

     15               Q.      But you do agree now that a system

     16    that allows us to ship known potential

     17    suspicious orders is not a system that complies

     18    with the regulation?

     19               A.      If it's an --

     20                       MS. WICHT:      Object to the

     21               form.    Foundation.      Calls for a

     22               legal conclusion.

     23               A.      If it's known to be suspicious,

     24    yes.

    Golkow Litigation Services                                             Page 228
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further229Confidentiality
                                                           of 402. PageID #: 224228
                                                                               Review

      1               Q.      Fair enough.

      2                       Now, if you'll -- the policy and

      3    procedure now, if you'll put it back in front of

      4    you, 4919.      That's the one that was in place

      5    when you were there, but -- oh, actually ...

      6                       So I think this is the question I

      7    asked you:      "A system that allows for the

      8    shipment of potentially suspicious orders does

      9    not comply with the regulatory requirements,

     10    correct?"

     11                       Mr. Forst, you tell me what your

     12    answer is.

     13                       MS. WICHT:      Object to the

     14               form.    No foundation.       Vague.     And

     15               calls for a legal conclusion.

     16               A.      This is a system.        Again, a

     17    general system that would do that -- and there's

     18    absolutely nothing that prevents it from doing

     19    it, there's no thresholds in place, there's

     20    nothing in place -- I would say that is correct.

     21               Q.      All right.

     22                       MS. WICHT:      Just for purposes

     23               of the record, the demonstrative

     24               that Mr. Fuller has just written

    Golkow Litigation Services                                             Page 229
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further230Confidentiality
                                                           of 402. PageID #: 224229
                                                                               Review

      1               was not the witness' answer.

      2                       MR. FULLER:      Okay.    So I'll

      3               ask him the question again.

      4                       MS. WICHT:      The answer is in

      5               the transcript.

      6                       MR. FULLER:      I'm sorry.      I

      7               thought this was my noticed

      8               deposition, not yours, Counsel.

      9                       MS. WICHT:      Okay.    I'm

     10               free -- you're free to ask your

     11               questions, Mr. Fuller.          It's no

     12               problem.     I'm just --

     13                       MR. FULLER:      Okay.

     14                       MS. WICHT:      -- pointing out

     15               that the -- what you've written

     16               down on the sheet of paper that's

     17               going to be marked as an exhibit to

     18               this deposition is not what the

     19               witness said, as the transcript

     20               will reflect.

     21    BY MR. FULLER:

     22               Q.      So, Mr. Forst, I'm going to ask

     23    the question again.

     24                       A system that allows for the

    Golkow Litigation Services                                             Page 230
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further231Confidentiality
                                                           of 402. PageID #: 224230
                                                                               Review

      1    shipment of potential -- and look, if we need to

      2    rewrite the question, you help me.              We'll

      3    rewrite it.

      4                       How should we rewrite it?

      5               A.      I'm okay with the question.           I

      6    just -- the answer that I gave is not that

      7    answer.

      8               Q.      Well, then I want an answer to

      9    this question, because your answer restructures

     10    my question.       So we need to change the question.

     11                       MS. WICHT:      You just told him

     12               he could do that.

     13                       Go ahead.

     14               Q.      And I'm happy to do that.

     15               A.      So --

     16                       MS. WICHT:      Wait.    Hang on.

     17               Q.      Go ahead.

     18                       MS. WICHT:      Is the question

     19               pending the one --

     20                       MR. FULLER:      No, no.

     21                       MS. WICHT:      -- that's written

     22               down?

     23                       What's the question?

     24                       MR. FULLER:      No.    The witness

    Golkow Litigation Services                                             Page 231
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further232Confidentiality
                                                           of 402. PageID #: 224231
                                                                               Review

      1               was fixing to talk and then you cut

      2               him off.     Please --

      3                       MS. WICHT:      Because there --

      4                       MR. FULLER:      -- resist from

      5               doing it.

      6                       MS. WICHT:      -- wasn't a

      7               question pending.

      8                       MR. FULLER:      Yes, there is.

      9                       MS. WICHT:      All right.     Then

     10               go ahead and say it.

     11    BY MR. FULLER:

     12               Q.      Go ahead.

     13               A.      So your question to me is, if I'm

     14    writing the question, my question would be a

     15    system that allows for the shipment of

     16    potentially shipped -- suspicious orders does

     17    not comply with the regulatory requirements if

     18    there are no parameters within the system to

     19    stop orders in some fashion, such as a threshold

     20    or whatever, if it just blatantly -- the system

     21    doesn't exist unless it does something to stop

     22    something.

     23               Q.      Okay.

     24                       MS. WICHT:      That question,

    Golkow Litigation Services                                             Page 232
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further233Confidentiality
                                                           of 402. PageID #: 224232
                                                                               Review

      1               obviously, was subject to my same

      2               objections as when Mr. Fuller asked

      3               it the last ten times.

      4               Q.      And so if I'm understanding you,

      5    if -- even if the system has a threshold, it

      6    doesn't stop them, doesn't stop the orders, that

      7    is not much of a threshold, right?

      8                       MS. WICHT:      Object to the

      9               form.

     10               Q.      You're -- hold on.        Let me follow

     11    up on your question.

     12                       Let's go back to your question,

     13    Mr. Forst.

     14                       I apologize because it keeps going

     15    and I got to scroll back.

     16               A.      That's all right.

     17               Q.      You said if there are no

     18    parameters within the system to stop orders in

     19    some fashion such as a threshold --

     20               A.      To stop them for review --

     21               Q.      Right?

     22               A.      -- again.

     23               Q.      When you say "such as a

     24    threshold," you're assuming that the threshold

    Golkow Litigation Services                                             Page 233
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further234Confidentiality
                                                           of 402. PageID #: 224233
                                                                               Review

      1    actually holds the shipment if it's breached,

      2    correct?

      3               A.      No.

      4                       MS. WICHT:      Object to the

      5               form.

      6               A.      What I'm saying is there should be

      7    a parameter in place whether the order is

      8    shipped or not because the regulation doesn't

      9    say it has to be stopped.

     10                       I would hope there would be

     11    something there.         I don't know.      I'm not that

     12    expert.     But there should be something there

     13    that reports that these instances, the product

     14    doesn't meet whatever the parameter loaded in

     15    the system as defined as a suspicious order is.

     16               Q.      And -- now -- all right.          So let's

     17    address that.       And let me make sure I'm on the

     18    same page with you.

     19                       You're suggesting that the system

     20    has to have some sort of mechanism to stop an

     21    order from shipping.

     22               A.      I did not say --

     23               Q.      Hold on.     Let me finish.

     24                       Well, so then in your mind, as

    Golkow Litigation Services                                             Page 234
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further235Confidentiality
                                                           of 402. PageID #: 224234
                                                                               Review

      1    long as we have a threshold in place, whatever

      2    it is -- say the threshold is 100 pills and we

      3    blow through that and we ship 10,000 pills and

      4    we know the threshold is 100 and we know that it

      5    went past it but we're still shipping, that's

      6    okay?

      7                       MS. WICHT:      Object to form.

      8               Foundation.      Hypothetical.       And

      9               calls for a legal conclusion.

     10               A.      I can't answer that.

     11               Q.      Why can't you answer that?

     12               A.      There's way too many things that

     13    are all over the place.

     14                       Why would you -- number one, if

     15    the system is designed to meet the regulation --

     16               Q.      Well, that's part of the problem.

     17    Let's start there.         A hypothetical --

     18               A.      I didn't design the system.

     19               Q.      I'm not saying you designed any

     20    system.     Well, I mean, the records speak to

     21    yourself with what you did in -- in the systems,

     22    but let's back up to this question.

     23                       What I'm trying to find out from

     24    you is a system -- whatever you want to call it,

    Golkow Litigation Services                                             Page 235
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further236Confidentiality
                                                           of 402. PageID #: 224235
                                                                               Review

      1    whoever's it is -- if it ships potentially

      2    suspicious orders, does it comply with the

      3    regulation or not?

      4                       MS. WICHT:      Object to form.

      5               Foundation.      Calls for a legal

      6               conclusion.      Asked and answered.

      7               A.      I can't answer that.

      8               Q.      Why not?     You've already said you

      9    have an obligation that you're not complying

     10    with the regulation if you allow a suspicious

     11    order to be shipped or potentially suspicious

     12    order to be shipped.

     13               A.      Potentially suspicious order.

     14                       MS. WICHT:      Object to the

     15               form.

     16               Q.      So if the system allows the same

     17    thing, it's violative of the reg just like you

     18    would be if you allowed a suspicious order to be

     19    shipped, correct?

     20                       MS. WICHT:      Object to the

     21               form.

     22               Q.      What's the difference between a

     23    system that allows it and you allowing it?

     24               A.      But I don't --

    Golkow Litigation Services                                             Page 236
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further237Confidentiality
                                                           of 402. PageID #: 224236
                                                                               Review

      1                       MS. WICHT:      Object to form.

      2               Mischaracterizes his prior

      3               testimony.      And calls for a legal

      4               conclusion.

      5                       MR. FULLER:      Please, let's

      6               just object to form.         One, you're

      7               cutting off the witness when the

      8               witness starts to answer.

      9    BY MR. FULLER:

     10               Q.      Go ahead.

     11               A.      I have a problem with the word

     12    "shipment."

     13               Q.      All right.      Well --

     14               A.      So --

     15               Q.      -- let --

     16               A.      -- does the reg say that it should

     17    stop a potentially suspicious order, or does it

     18    have -- the reg say that there has to be a flag

     19    that there's a potentially suspicious order and

     20    it is then reported whether before the fact or

     21    after the fact?

     22               Q.      Well, and that's -- that's what I

     23    want to find out, Mr. Forst.            That's what I want

     24    to find out.

    Golkow Litigation Services                                             Page 237
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further238Confidentiality
                                                           of 402. PageID #: 224237
                                                                               Review

      1                       Because -- and I've asked you

      2    repeatedly if you believe the reg and the code

      3    section allows for the shipment of suspicious

      4    orders, or potentially suspicious orders, how

      5    we've redefined those today.            And you've told me

      6    that it does not allow for it, that maintaining

      7    effective controls against diversion does not

      8    allow for it.       The record's clear.         You've

      9    answered that question.

     10               A.      Right.

     11                       MS. WICHT:      Object to the --

     12               Q.      So if the code -- the United

     13    States Code doesn't allow for the shipping of

     14    suspicious orders, we can agree on that,

     15    potentially suspicious orders, right?

     16                       MS. WICHT:      Object to the

     17               form.    Mischaracterizes his

     18               testimony.      And calls for a legal

     19               conclusion.

     20               A.      I can't.     I can't answer that

     21    question.

     22               Q.      You already have.        Are you

     23    retracting your earlier answer?

     24                       MS. WICHT:      Object to the

    Golkow Litigation Services                                             Page 238
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further239Confidentiality
                                                           of 402. PageID #: 224238
                                                                               Review

      1               form.

      2               Q.      It's fine if you want to.          You can

      3    change your testimony as many times as you want.

      4               A.      The question is not -- it can't be

      5    as clear and simple as that.

      6               Q.      Well, no, it is as clear and

      7    simple as that.        When people have tried to muddy

      8    it up, that's why we found our -- find ourselves

      9    right now sitting in the middle of an opioid

     10    epidemic, is because people didn't comply with

     11    the regulatory obligations.           That is as clear

     12    and simple as that.

     13                       MS. WICHT:      That's not a

     14               question.     That's a speech.        And --

     15               Q.      Yeah.    Let's take another break

     16    and I'll go back and find your earlier testimony

     17    and see if you want to change it.

     18                       MR. FULLER:      Let's go off the

     19               record.

     20                       THE VIDEOGRAPHER:        We're

     21               going off the record at 2:32.

     22                       (Recess taken.)

     23                       THE VIDEOGRAPHER:        We're back

     24               on the record at 2:47.

    Golkow Litigation Services                                             Page 239
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further240Confidentiality
                                                           of 402. PageID #: 224239
                                                                               Review

      1    BY MR. FULLER:

      2               Q.      All right.

      3                       MS. WICHT:      Mr. Fuller,

      4               before there's a question pending,

      5               I want to put on the record a

      6               continuing objection to this line

      7               of questioning that I assume you're

      8               about to continue on the basis

      9               of -- on all the bases that I've

     10               stated and also on the basis of

     11               Special Master Cohen's ruling in

     12               September of 2018 in the context of

     13               the Walgreens deposition that

     14               witnesses are not to be asked about

     15               legal conclusions or their

     16               agreement or disagreement with

     17               regulatory requirements, including

     18               shipping or reporting requirements.

     19                       I think these are improper

     20               questions.

     21                       MR. FULLER:      Special Master

     22               Cohen's ruling only applied to

     23               30(b)(6) witnesses.        It did not

     24               apply to individuals.

    Golkow Litigation Services                                             Page 240
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further241Confidentiality
                                                           of 402. PageID #: 224240
                                                                               Review

      1                       So if you're done, we can --

      2                       MS. WICHT:      I understand that

      3               you disagree.

      4                       MR. FULLER:      Fair enough.

      5                       MS. WICHT:      I want a

      6               continuing objection.

      7                       MR. FULLER:      Absolutely.      No

      8               problem at all.

      9    BY MR. FULLER:

     10               Q.      There you go.

     11                       So this is the question and answer

     12    copied verbatim from page 199 of the -- I guess

     13    it's a draft transcript at this point.

     14                       And it says, "Do you believe

     15    shipping suspicious orders is maintaining

     16    effective controls against diversion?"               Oh, I

     17    forgot to write your answer.

     18                       You said no.      Now, do you want to

     19    change that answer at this point?

     20                       MS. WICHT:      Object to the

     21               form of the question.

     22               A.      Yes.

     23               Q.      Okay.    How do you want to change

     24    that answer now?

    Golkow Litigation Services                                             Page 241
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further242Confidentiality
                                                           of 402. PageID #: 224241
                                                                               Review

      1               A.      "Do you believe shipping

      2    suspicious orders is maintaining effective

      3    controls against diversion?"

      4                       Well, if we're looking at the

      5    reg --

      6               Q.      Well, first of all, maintaining

      7    suspicious orders doesn't -- or excuse me --

      8    maintaining effective controls against diversion

      9    doesn't have anything to do with the reg.

     10                       But go ahead.      Sorry.

     11                       MS. WICHT:      Subject to the

     12               same objections.

     13               Q.      The U.S. Code says that a

     14    distributor such as Cardinal has to maintain

     15    effective controls to prevent diversion.               And

     16    your testimony is that shipping suspicious

     17    orders would not be maintaining effective

     18    controls against diversion.           That's the U.S.

     19    Code.     That's law passed by Congress.            It's not

     20    a regulation.

     21                       Regulation on suspicious orders,

     22    you're right, doesn't say verbatim anything

     23    about shipping.        But explain to this jury how

     24    you can maintain effective controls against

    Golkow Litigation Services                                             Page 242
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further243Confidentiality
                                                           of 402. PageID #: 224242
                                                                               Review

      1    diversion if you're shipping suspicious orders

      2    throughout this country.           Tell the jury that.

      3                       MS. WICHT:      Object to the

      4               form of the question.         Foundation.

      5               Calls for a legal conclusion.

      6               Q.      Go ahead.

      7                       MS. WICHT:      Hypothetical.

      8               Q.      Tell the jury how this country is

      9    in the middle of an epidemic and Mr. Forst

     10    believes it's okay to ship suspicious orders.

     11                       MS. WICHT:      Object to the

     12               form of the question.

     13               Mischaracterizes his testimony, in

     14               addition to all the other

     15               objections.

     16               A.      When I was with Cardinal Health,

     17    the system that we had set up --

     18               Q.      Okay.

     19                       MS. WICHT:      Let him finish

     20               his answer.

     21                       MR. FULLER:      No, no.     This

     22               isn't the answer to the question.

     23                       MS. WICHT:      You don't -- let

     24               him --

    Golkow Litigation Services                                             Page 243
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further244Confidentiality
                                                           of 402. PageID #: 224243
                                                                               Review

      1                       MR. FULLER:      This has --

      2                       MS. WICHT:      -- finish his

      3               answer.

      4                       MR. FULLER:      -- nothing to do

      5               with what was going on at Cardinal

      6               Health.     I didn't ask anything

      7               about Cardinal Health.

      8                       MS. WICHT:      Are you going to

      9               let him answer or not?

     10               A.      Again, when I was at Cardinal

     11    Health, my job was to review orders that were

     12    held by a system that were deemed possibly being

     13    suspicious.       Those orders were held using a

     14    threshold.      I reviewed those orders.          If there

     15    was anything that pertained that they might be

     16    potentially suspicious, those orders were cut

     17    and not shipped.

     18                       MR. FULLER:      So I'm going to

     19               certify this whole line of

     20               questioning, and we'll file a

     21               motion to require the witness to

     22               actually answer the questions being

     23               asked.

     24                       I'll move on.      And I'll

    Golkow Litigation Services                                             Page 244
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further245Confidentiality
                                                           of 402. PageID #: 224244
                                                                               Review

      1               attach both of these exhibits.

      2                       I need two exhibit stickers,

      3               please.

      4                       17 is going to be the

      5               document with two questions on it.

      6                                - - -

      7      (Cardinal-Forst Deposition Exhibit 17 marked.)

      8                                - - -

      9                       MR. FULLER:      18 will be the

     10               one that we just discussed since

     11               being back on the break with one

     12               question on it.

     13                                - - -

     14      (Cardinal-Forst Deposition Exhibit 18 marked.)

     15                                - - -

     16    BY MR. FULLER:

     17               Q.      All right.      So at 4419 -- do you

     18    still have that document over there somewhere?

     19                       MR. FULLER:      4419.

     20                       4919.    My bad.     Sorry

     21               everybody.

     22                       MS. WICHT:      What is it?

     23                       MR. FULLER:      4919.

     24               A.      Yes.

    Golkow Litigation Services                                             Page 245
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further246Confidentiality
                                                           of 402. PageID #: 224245
                                                                               Review

      1                       MR. FULLER:      I apologize.

      2    BY MR. FULLER:

      3               Q.      If you'd turn to page 35 of that

      4    document.

      5                       Have you ever seen this part of

      6    the policies and procedures that were in place

      7    when you arrived at Cardinal?

      8                       MS. WICHT:      Object to the

      9               form of the question.

     10               A.      No.

     11               Q.      And I don't know if it helps you

     12    or not, but if you look -- page 6 refers to this

     13    document.       See E down there at the bottom of the

     14    page, Dosage Limit Charts?

     15               A.      Yes.

     16               Q.      "ED04.00 must be posted in the

     17    cage vaults."

     18                       Were you aware of a system where

     19    there was a posting in the cage vaults, the

     20    facilities that you were overseeing for

     21    anti-diversion purposes to identify excessive

     22    purchases related to Schedule IIs and

     23    Schedule III drugs?

     24               A.      I'm not familiar with that in a

    Golkow Litigation Services                                             Page 246
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further247Confidentiality
                                                           of 402. PageID #: 224246
                                                                               Review

      1    cage vault.

      2               Q.      Okay.    So if you'll turn back to

      3    page 35.      Have you ever seen this document

      4    before related to excessive purchases for

      5    different control II schedules?

      6               A.      No.

      7               Q.      If you turn to the next page, it

      8    should be a similar document of excessive

      9    purchases for IIIs, IVs and Vs.

     10                       Do you see that there?

     11               A.      Yes.

     12               Q.      And are you -- have you any

     13    recollection of seeing these or hearing about

     14    this system at Cardinal when you arrived?

     15               A.      Not to my recollection.

     16               Q.      Okay.    And, again, when you came

     17    in -- it was February of 2008 when you came into

     18    the regulatory department, correct?

     19               A.      That is correct.

     20               Q.      And as we saw from your

     21    performance evaluation, part of your job was

     22    assisting with certain policies and procedures

     23    related to regulatory, right?

     24               A.      These are from the distribution

    Golkow Litigation Services                                             Page 247
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further248Confidentiality
                                                           of 402. PageID #: 224247
                                                                               Review

      1    section.

      2               Q.      Sir, my question was, part of your

      3    job was to help with the policies and procedures

      4    related to regulation, correct?

      5               A.      That is --

      6                       MS. WICHT:      Object to the

      7               form.

      8                       I'm sorry.

      9               A.      That is correct --

     10               Q.      Okay.

     11               A.      -- under the anti-diversion part

     12    that I was assigned when I got there.

     13               Q.      So let's go to the -- 3514.

     14                       MR. FULLER:      This is -- I'm

     15               sorry -- going to be Plaintiffs'

     16               Exhibit 19, P1.3514 for the record.

     17                                - - -

     18      (Cardinal-Forst Deposition Exhibit 19 marked.)

     19                                - - -

     20    BY MR. FULLER:

     21               Q.      Mr. Forst, you actually sent this

     22    e-mail, didn't you?

     23               A.      Yes.

     24               Q.      This was back in November of 2009;

    Golkow Litigation Services                                             Page 248
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further249Confidentiality
                                                           of 402. PageID #: 224248
                                                                               Review

      1    is that right?

      2               A.      Correct.

      3               Q.      It's "Drug use called epidemic in

      4    Mass" -- meaning Massachusetts -- "OxyContin,

      5    heroin imperil public health commission seeks

      6    help for addicts."

      7                       Do you see that?

      8               A.      Yes.

      9               Q.      Did I read that correctly?          Did I

     10    read that --

     11               A.      Yes.    I'm sorry.

     12               Q.      Okay.    Read the first sentence of

     13    the article to us, please.

     14               A.      "'Abuse of OxyContin and heroin in

     15    Massachusetts has reached epidemic levels and

     16    must be attacked with the same fervor now being

     17    directed toward controlling the H1N1 flu virus,'

     18    a special state commission said yesterday."

     19               Q.      And if you go down two paragraphs,

     20    read, "The Commonwealth is losing men and

     21    women."

     22                       Read that for the jury.

     23               A.      "'The Commonwealth is losing men

     24    and women on its streets at a rate of 42 to 1,

    Golkow Litigation Services                                             Page 249
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further250Confidentiality
                                                           of 402. PageID #: 224249
                                                                               Review

      1    compared to what the state is losing in two wars

      2    overseas,' the panel said in its executive

      3    summary."

      4               Q.      Why would you circulate this to --

      5    and it looks like most of the persons in the

      6    anti-diversion group, correct?

      7               A.      Correct.

      8               Q.      You have Mark Hartman, Mr. Moné,

      9    Mr. Morse, Mr. Rausch, Shannon -- how do you

     10    pronounce her last name? -- is it Shaffer?

     11               A.      Yes.

     12               Q.      And who is she?

     13               A.      I believe she was one of the

     14    technicians -- or the analysts that worked with

     15    us.    And I believe she was contract, but I'm not

     16    sure.

     17               Q.      Okay.    But most of those people

     18    are in the anti-diversion group, correct?

     19               A.      That's correct.

     20               Q.      So why would you forward this to

     21    everyone?

     22               A.      Because we always stay -- tried to

     23    stay current as to what was going on with the

     24    epidemic and where it was happening and what

    Golkow Litigation Services                                             Page 250
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further251Confidentiality
                                                           of 402. PageID #: 224250
                                                                               Review

      1    drugs we needed to be focusing on and what

      2    states to look at, et cetera.

      3               Q.      And that's --

      4               A.      It was an FYI only document, just

      5    for people to look at and understand what we're

      6    trying to fight.

      7               Q.      But it's important to stay

      8    informed as to what's going on --

      9               A.      Exactly.

     10               Q.      -- when you're dealing with these

     11    controlled substances and shipping them --

     12               A.      Exactly.

     13               Q.      -- and shipping them across the

     14    country, right?

     15                       MS. WICHT:      Object to the

     16               form of the question.

     17               A.      Yes.

     18               Q.      And you even mentioned even

     19    particularly with problems in particular states.

     20                       Were there particular states that

     21    had more of a problem than other states that

     22    you're aware of?

     23                       MS. WICHT:      Object to the

     24               form of the question.

    Golkow Litigation Services                                             Page 251
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further252Confidentiality
                                                           of 402. PageID #: 224251
                                                                               Review

      1               A.      This looks like a public health

      2    issue across the country.           I'm sure there were

      3    states that had higher issues based on whether

      4    it's the population, whether it's the type of

      5    individuals there.         I mean, that all falls into

      6    it.

      7               Q.      And I completely get that, but my

      8    question to you was, were you aware of any

      9    states that had a more -- a bigger problem than

     10    particularly other states --

     11                       MS. WICHT:      Object to the

     12               form.

     13               Q.      -- based on your job?

     14               A.      The states that appeared to have

     15    large problems were in the Ohio Valley next to

     16    West Virginia --

     17               Q.      Yes, sir.

     18               A.      -- Florida, and possibly the

     19    Houston area of Texas.          Those are the ones that

     20    stick out in my mind when I first got to

     21    Cardinal Health.

     22               Q.      So part of Ohio.       Would you

     23    include West Virginia as well in that?

     24               A.      I would include parts of West

    Golkow Litigation Services                                             Page 252
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further253Confidentiality
                                                           of 402. PageID #: 224252
                                                                               Review

      1    Virginia in that.

      2               Q.      Or when you say the Ohio River

      3    Valley, you're talking about all around the

      4    river region there?

      5               A.      Correct.     And my geography of

      6    Ohio, since I have -- I haven't lived here all

      7    my life, but, yes, down in the bottom corner,

      8    Youngstown and that area.           So, yes.

      9               Q.      And then parts of West Virginia.

     10                       What about parts of Kentucky?

     11               A.      The Appalachias in Kentucky.

     12               Q.      So sort of the -- and I -- okay.

     13                       Did you ever become aware that a

     14    lot of the Appalachian states were being more

     15    heavily hit than other regions of the country?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      It appeared that they were more

     19    heavily hit.

     20               Q.      Did Cardinal ever do anything to

     21    look into that and see why, what's going on,

     22    what's the distribution pattern in some of the

     23    Appalachian states to similarly situated other

     24    states and why is there a disparity, if there is

    Golkow Litigation Services                                             Page 253
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further254Confidentiality
                                                           of 402. PageID #: 224253
                                                                               Review

      1    one at all?

      2                       MS. WICHT:      Object to the

      3               form.

      4               Q.      Do you know if Cardinal did that

      5    comparison?

      6                       MS. WICHT:      Sorry.

      7                       Object to the form.

      8               Compound.

      9               A.      I know the analytics team looked

     10    at several different factors, individual states

     11    across the country.         And that would probably

     12    include Ohio, West Virginia, Florida, states

     13    that are very prominent.

     14               Q.      And you say probably included.            It

     15    would make sense --

     16               A.      Oh.

     17               Q.      -- that they were included?

     18               A.      It would make sense that it would

     19    include that, yes.

     20                       MS. WICHT:      Object to the

     21               form.

     22               Q.      You don't know, sitting here

     23    today, whether they actually included them or

     24    not, nor the results of whatever comparisons

    Golkow Litigation Services                                               Page 254
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further255Confidentiality
                                                           of 402. PageID #: 224254
                                                                               Review

      1    they did, do you?

      2                       MS. WICHT:      Object to the

      3               form.

      4               A.      I don't know how their comparisons

      5    were.     I know they looked in states like West

      6    Virginia, Ohio, and Florida.

      7               Q.      Now, if they made some

      8    determinations or some findings or just had

      9    additional information, as one -- I'm assuming

     10    that you reviewed threshold triggers from all of

     11    those states, right?

     12               A.      Yes.

     13                       MS. WICHT:      Object to the

     14               form.

     15                       Was that question just

     16               whether he reviewed thresholds from

     17               those states?

     18                       MR. FULLER:      Threshold

     19               triggers.

     20                       MS. WICHT:      Sorry.    There was

     21               a lead-in about the analysis.

     22                       MR. FULLER:      Threshold

     23               triggers from all those states.

     24                       MS. WICHT:      Okay.    Thank you.

    Golkow Litigation Services                                             Page 255
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further256Confidentiality
                                                           of 402. PageID #: 224255
                                                                               Review

      1               A.      I reviewed thresholds from those.

      2    Or I -- I reviewed orders that reached

      3    thresholds from those states.

      4               Q.      Okay.    Were you ever provided any

      5    information to help you understand why was this

      6    disparity between, say, the Ohio River Valley

      7    versus -- I don't know -- Iowa?

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      Yes.    I mean --

     11               Q.      So what information was provided

     12    to you?

     13               A.      The information was provided -- we

     14    had to look out for pill mills.             We had to look

     15    out for people going down the Blue Highway,

     16    whatever it was called, and the lingo that --

     17    you know, drug dealers, that was the corridor

     18    between Florida and West Virginia and Ohio.

     19               Q.      What sometimes has been labeled as

     20    the Oxy Express?

     21               A.      Oxy Express, Blue Corridor.           It

     22    has several different names, yes.

     23               Q.      Sure.    And what's your

     24    understanding of what that was?             What was the

    Golkow Litigation Services                                             Page 256
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further257Confidentiality
                                                           of 402. PageID #: 224256
                                                                               Review

      1    Blue Corridor or the Oxy Express, at least as it

      2    was explained to you?

      3               A.      It was where drugs, whether

      4    obtained legally or illegally, were spread down

      5    the coast and disseminated illegally in Florida,

      6    or vice versa.       It could go both ways.

      7               Q.      Because a lot of people went from

      8    the Ohio River Valley area down to Florida.

      9               A.      Mm-hmm.

     10               Q.      Is that yes?

     11                       MS. WICHT:      Object to the

     12               form.

     13               A.      Yes, that was what I was informed.

     14    Yes.

     15               Q.      And then they would bring the

     16    drugs back home, back to the Ohio River Valley?

     17                       MS. WICHT:      Object to the

     18               form.

     19               A.      My understanding was it went both

     20    ways.     So you could go both ways.

     21               Q.      Yeah.    And -- now, you mentioned

     22    something earlier that Cardinal was distributing

     23    drugs for -- let me find my reg so I can -- for

     24    legitimate medical purposes, right?

    Golkow Litigation Services                                             Page 257
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further258Confidentiality
                                                           of 402. PageID #: 224257
                                                                               Review

      1               A.      Correct.

      2               Q.      So legitimate medical purposes,

      3    you sort of need to know the medical need in the

      4    areas, correct?

      5               A.      That is correct.

      6               Q.      So explain to the jury what

      7    Cardinal did to determine what the medical need

      8    was in some of these particularly harder-hit

      9    areas.     And let's talk about portions of Ohio,

     10    for example.

     11                       What did Cardinal do specifically

     12    to determine what the medical need was and to

     13    develop a system to make sure they weren't

     14    exceeding that medical need?

     15                       MS. WICHT:      Object to the

     16               form of the question.

     17               A.      I can't address exceed medical

     18    need.     I can say with the system that we used,

     19    we did as much due diligence on our customers

     20    there that we could.         And, again, some customers

     21    were large customers and required more

     22    medications than other customers, based on their

     23    proximity, based on the proximity of like

     24    hospitals around them, based on proximity of

    Golkow Litigation Services                                             Page 258
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further259Confidentiality
                                                           of 402. PageID #: 224258
                                                                               Review

      1    what type of physician practices were there.

      2                       We sent out investigators to check

      3    out the ones that were like higher volumes to

      4    make sure that there was no signs of diversion

      5    going on, according to the list of what you're

      6    looking for for signs of diversion.              We went

      7    back several times to double check to make sure

      8    that if we missed something, that we would catch

      9    up on it.       We asked for more information for

     10    those customers.        Not that we didn't ask for

     11    information across the board --

     12               Q.      Right?

     13               A.      -- but if it was something in an

     14    area that we focused on, we tried to do the best

     15    that we could do to evaluate each and every

     16    pharmacy that we served.

     17               Q.      Well, let's talk about that.           That

     18    was a little bit different with chains, correct?

     19                       MS. WICHT:      Object to the

     20               form.

     21               A.      Correct.

     22               Q.      On dealing with the chains.           And

     23    let's talk about CVS.

     24                       Cardinal relied on the chains to

    Golkow Litigation Services                                              Page 259
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further260Confidentiality
                                                           of 402. PageID #: 224259
                                                                               Review

      1    do their investigative and report back to

      2    Cardinal as to what their findings were, if any,

      3    right?

      4               A.      That's my understanding.

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      That's my understanding, yes.

      8               Q.      Now, you've been one that -- about

      9    what's in the regulation, right?             There's no

     10    shipping -- there's no term "shipping" in the

     11    regulation.

     12                       Do you remember that testimony?

     13               A.      Yes.

     14               Q.      I want you to show me where --

     15    anywhere in the reg or the code where it allows

     16    you to rely on the pharmacy or the chain parent

     17    to do the due diligence or do the investigation

     18    for you.

     19                       MS. WICHT:      Object to the

     20               form.    Foundation.      And calls for a

     21               legal conclusion.

     22               A.      I don't believe there's anything

     23    in the regulation that actually requires you to

     24    do that.

    Golkow Litigation Services                                             Page 260
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further261Confidentiality
                                                           of 402. PageID #: 224260
                                                                               Review

      1               Q.      So you don't believe that you're

      2    required to do due diligence?

      3                       MS. WICHT:      Object to the

      4               form.    Calls for a legal

      5               conclusion.

      6               Q.      Maintain --

      7               A.      Yeah, but due -- but due diligence

      8    can also include other forms of gathering

      9    information.       You can gather it from the owners

     10    of the pharmacy.        You can gather it from your

     11    other customers.        Example, CVS --

     12               Q.      So --

     13               A.      -- who also has a distribution

     14    center and a DEA license that -- there, so ...

     15               Q.      Do you know how many times DEA --

     16    or the -- Cardinal or any of its pharmacies have

     17    been fined in this country over the -- say the

     18    past eight years, how many tens of hundreds of

     19    millions of dollars they've paid in fines for

     20    not complying with the Controlled Substances

     21    Act?

     22                       MS. WICHT:      Cardinal?     Is

     23               that what you --

     24                       MR. FULLER:      No.   I'm sorry.

    Golkow Litigation Services                                             Page 261
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further262Confidentiality
                                                           of 402. PageID #: 224261
                                                                               Review

      1               CVS.

      2                       MR. MOYLAN:      Objection.

      3               Form.

      4                       MS. WICHT:      Object to the

      5               form.

      6               A.      I could think of maybe two or

      7    three, but I don't know the circumstances behind

      8    all of that.

      9               Q.      Well, I mean, let's be honest with

     10    ourselves.      We're not going to want to rely on

     11    CVS to do our due diligence for us if they're

     12    being fined repeatedly for not doing a good job

     13    in compliance with the Controlled Substances

     14    Act, are we?

     15                       MR. MOYLAN:      Objection.

     16                       MS. WICHT:      Object to the

     17               form.    No foundation.       To the

     18               extent it calls for a legal

     19               conclusion.

     20               A.      I can't answer that question.

     21               Q.      I figured.

     22                       Now, you did go down and do

     23    surveillance on a CVS because Mr. Gilberto asked

     24    you to in Florida, right?

    Golkow Litigation Services                                             Page 262
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further263Confidentiality
                                                           of 402. PageID #: 224262
                                                                               Review

      1               A.      A group of us went down and did

      2    surveillances on pharmacies in Florida, yes.

      3               Q.      Now, your normal course with any

      4    other pharmacy that wasn't part of a chain would

      5    be to go in and do an on-site investigation,

      6    right?

      7                       MS. WICHT:      Object to the

      8               form.

      9               A.      That was for retail independents,

     10    yes.

     11               Q.      But, because of the deal with CVS,

     12    you weren't allowed to go in and do an inside --

     13    in-store investigation, were you?

     14                       MS. WICHT:      Object to the

     15               form.    No foundation.

     16               A.      I am not aware of any deal with

     17    CVS.

     18               Q.      Well, then why didn't you go in

     19    and do the investigation inside?

     20               A.      I did go inside.

     21               Q.      Then why didn't you go do your

     22    investigation?

     23                       So you talked to the pharmacist,

     24    right?

    Golkow Litigation Services                                             Page 263
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further264Confidentiality
                                                           of 402. PageID #: 224263
                                                                               Review

      1               A.      I -- no, I didn't talk to the

      2    pharmacist.

      3               Q.      You asked for the drug usage logs

      4    of what they had been shipping out, right?

      5               A.      No, I did not.

      6               Q.      You asked for their highest

      7    prescribers, correct?

      8               A.      No, I did not.

      9               Q.      Well, that's what you would do at

     10    any other retail independent pharmacy, isn't it?

     11               A.      That's what the investigators

     12    would do.

     13               Q.      And you said you as a pharmacist,

     14    you can even be more pointed in your questions

     15    and your investigation when you --

     16               A.      Yes.

     17               Q.      -- go do it, correct?

     18               A.      Yes.    But, again, that was not --

     19               Q.      Did you do that when you were --

     20               A.      -- my function.

     21               Q.      Hold on.     Did you do that when you

     22    were at CVS?

     23                       MS. WICHT:      You interrupted

     24               his answer, Mike, so don't tell him

    Golkow Litigation Services                                             Page 264
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further265Confidentiality
                                                           of 402. PageID #: 224264
                                                                               Review

      1               to hold on.

      2               Q.      Did you do that when you were

      3    surveilling the CVS?

      4               A.      It wasn't a full investigation.

      5    It was a surveillance.

      6               Q.      Do you have any idea how many

      7    pills or dosage units that CVS was receiving

      8    from Cardinal?

      9               A.      Based on however many years ago,

     10    eight years ago, no.

     11               Q.      Was it explained to you why you

     12    were going there to do the investigation, or to

     13    do the surveillance, as you've put it?

     14               A.      My understanding was the DEA asked

     15    us to do some -- look at some information in

     16    Florida on customers -- oops, I'm sorry --

     17                       MS. WICHT:      Sorry.

     18               A.      -- on customers.       That was what

     19    was told to me.        That's as much as I know.

     20               Q.      And who told that to you?

     21               A.      That was in a group discussion

     22    when -- I believe it was Doug Emma and I and

     23    several of the pharmacists went all across

     24    Florida and the -- and the investigators.

    Golkow Litigation Services                                             Page 265
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further266Confidentiality
                                                           of 402. PageID #: 224265
                                                                               Review

      1               Q.      So how many different pharmacies

      2    did you visit?

      3               A.      Maybe seven or eight.         Mostly

      4    hospitals.

      5               Q.      Now, would that be what all of you

      6    all visited, or was that just what you visited

      7    when you were down in Florida?            Or do you

      8    recall?

      9               A.      I don't recall.       It was between

     10    seven and ten, and most of mine were hospitals.

     11               Q.      How many pharmacies did you do

     12    other than the 219 CVS?

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      I don't know.      Nine or ten.       I

     16    mean -- oh, you mean total?

     17               Q.      No, I mean other pharmacies.           How

     18    many --

     19               A.      Other like CVS or Walgreens or

     20    other --

     21               Q.      Or retail independents, pharmacy,

     22    drugstore, non-hospital.

     23               A.      Probably four retail independents,

     24    maybe six hospitals, and two or three

    Golkow Litigation Services                                             Page 266
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further267Confidentiality
                                                           of 402. PageID #: 224266
                                                                               Review

      1    surveillance for CVSs.

      2               Q.      Okay.    So that would be two or

      3    three different CVS stores that you sat outside

      4    of?

      5               A.      It was.     They weren't necessarily

      6    on my list.       If they were, I went there.          But if

      7    we drove past a CVS or a Walgreens and if we had

      8    time, we would stop and do a surveillance and

      9    look for, you know, cars in the parking lot with

     10    out-of-state plates, see if there was a line at

     11    the pharmacy, go in the pharmacy and walk around

     12    and see what -- who's at the counter or

     13    whatever.

     14               Q.      Were you -- did you have any

     15    information on the pharmacies that were on your

     16    list before --

     17               A.      I had information on the

     18    pharmacies that were on my list.

     19               Q.      And what type of --

     20                       MS. WICHT:      Be sure to let

     21               him finish the question before you

     22               start your answer, okay?

     23               A.      I'm sorry.

     24                       MS. WICHT:      That's okay.

    Golkow Litigation Services                                             Page 267
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further268Confidentiality
                                                           of 402. PageID #: 224267
                                                                               Review

      1               A.      Yes.

      2                       MS. WICHT:      Thank you.

      3               Q.      And what type of information did

      4    you have?

      5               A.      It was -- ranged from very little

      6    to maybe their -- their dispensing information.

      7    There were some that we possibly had a list of

      8    doctors that we had compiled from somewhere that

      9    they were possibly filling prescriptions for and

     10    that could have been a source from them, or just

     11    notices that we -- in the area from newspaper

     12    notices of questionable physicians.

     13                       Again, I couldn't look at the

     14    prescriptions.       That's a HIPAA violation for me

     15    because I'm not in any part of that.              So I would

     16    have to ask the pharmacist questions about --

     17    and go through the ten things:              Do you do your

     18    due diligence?       Are you familiar with your

     19    physician's practice?          Do you know what his

     20    specialty is?       Do you know of any legal action

     21    that may or may not have been taken against him

     22    with controlled substances?

     23                       So there was that list.          And it

     24    was very similar to what the investigators used.

    Golkow Litigation Services                                             Page 268
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further269Confidentiality
                                                           of 402. PageID #: 224268
                                                                               Review

      1               Q.      And that was for the retail

      2    independents, right?

      3               A.      That is correct.

      4               Q.      Okay.

      5               A.      And the hospitals also.

      6               Q.      Okay.    Fair enough.

      7                       Do you know if -- strike that.

      8                       When about was this that you made

      9    this trip to Florida with some others?

     10               A.      I'm thinking it was 2010, but I'm

     11    not sure what month.

     12                       MR. FULLER:      All right.

     13               Let's do -- well, here.          I need

     14               3505.

     15                       Plaintiffs' Exhibit 20, 3505.

     16                                - - -

     17      (Cardinal-Forst Deposition Exhibit 20 marked.)

     18                                - - -

     19    BY MR. FULLER:

     20               Q.      All right.      Mr. Forst, this is an

     21    e-mail that -- you're the last one on the chain,

     22    right?

     23                       MR. FULLER:      This is going to

     24               be -- didn't I say Plaintiffs'

    Golkow Litigation Services                                             Page 269
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further270Confidentiality
                                                           of 402. PageID #: 224269
                                                                               Review

      1               Exhibit 20?      Okay.    Great.

      2    BY MR. FULLER:

      3               Q.      And this is another chain

      4    pharmacy, right, K-Mart?

      5               A.      Yes.

      6               Q.      And, to your knowledge, the same

      7    rules that applied to CVS applied to K-Mart,

      8    correct?

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      I'm sorry.      Repeat the question.

     12               Q.      The same practices that applied to

     13    CVS applied to K-Mart, correct?

     14                       MS. WICHT:      Object to the

     15               form.

     16               A.      I -- I believe that is correct.

     17               Q.      Now, let me ask.       So there's this

     18    designation of chain versus retail independent.

     19                       How many pharmacies had to be in

     20    a, quote/unquote, chain for it to be categorized

     21    as a chain at Cardinal, if you know?

     22               A.      I don't know that information.

     23               Q.      Who would know?

     24               A.      Michael Moné, possibly, and Nick

    Golkow Litigation Services                                             Page 270
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further271Confidentiality
                                                           of 402. PageID #: 224270
                                                                               Review

      1    Rausch.

      2               Q.      Maybe Nick Rausch would know, too?

      3               A.      Yes.

      4               Q.      Okay.    And so at the bottom of the

      5    page it sort of starts off with Derek e-mailing

      6    Alan and Aaron.

      7                       Do you see that?

      8               A.      Yes.

      9               Q.      And the subject line -- read the

     10    subject line for us.

     11               A.      "K-Mart 4103 under C-II review

     12    again.     SOM event."

     13               Q.      All right.      It says, "Alan, Thank

     14    you for notifying us that K-Mart 4103 has seen a

     15    large increase in shipments for DEA base

     16    oxycodone/hydrocodone products over the last

     17    several months."

     18                       Turn to the next page.         It says,

     19    "Based on the information provided by Cardinal

     20    and our dispensing history at the store, we have

     21    investigated and considered" -- "concluded that

     22    there is no suspicious activity.             Please

     23    increase the threshold by 15 percent going

     24    forward to help eliminate possible holds and

    Golkow Litigation Services                                             Page 271
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further272Confidentiality
                                                           of 402. PageID #: 224271
                                                                               Review

      1    allow products to flow without interruption.

      2    Thank you, Derek."

      3                       Did I read that right?

      4               A.      Yes.

      5               Q.      Now, generally speaking, Cardinal

      6    doesn't get more feedback from the chains than

      7    that, do they?

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      I'm not familiar with all the

     11    information that comes from the chains, because

     12    some of it could go to Michael and Nick for

     13    their analysis.

     14               Q.      Well, we know from -- well, let's

     15    continue up this chain, then --

     16               A.      That's fine.

     17               Q.      -- this chain e-mail.

     18                       All right.      So then Alan forwards

     19    it to Debbie Todd and Maranda.

     20                       And Debbie Todd's in your

     21    department, right?

     22               A.      Yes.

     23               Q.      Okay.    It says, "Maranda, Please

     24    see K-Mart's response to the SOM event for store

    Golkow Litigation Services                                             Page 272
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further273Confidentiality
                                                           of 402. PageID #: 224272
                                                                               Review

      1    4103.     Alan."

      2                       Right?

      3               A.      Mm-hmm.

      4               Q.      Now, do we know at this point

      5    whether the order is being held or whether it

      6    was already shipped that triggered this event?

      7               A.      I don't -- I can't answer that

      8    with the -- I can't answer that by looking at

      9    this document.

     10               Q.      Okay.    What would we need to

     11    answer that?       If you wanted to find that out,

     12    what would you do?

     13               A.      Well, I would look at the date.

     14    And I'm assuming -- again, assuming -- that

     15    there is an attachment or something -- even

     16    maybe in a previous e-mail, because I don't see

     17    it here -- that's explaining about when and

     18    where that incident occurred or that threshold

     19    event occurred.        But I don't see it here, so I

     20    don't know what the attachment says.

     21               Q.      I don't know there was an -- this

     22    is what I was given.

     23               A.      I don't even know if there was

     24    a -- you know, I don't even know.             But, I mean,

    Golkow Litigation Services                                             Page 273
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further274Confidentiality
                                                           of 402. PageID #: 224273
                                                                               Review

      1    just from this information, there had to be some

      2    discussion somewhere --

      3               Q.      Okay.    Well, let's keep going up

      4    the chain.

      5               A.      -- verbal discussion.

      6                       Yes.

      7               Q.      So Debbie then says it to -- sends

      8    it to you and Shirlene Justus, right?

      9               A.      Correct.

     10               Q.      And this is all the same day,

     11    correct?

     12               A.      Well, it started on August 31st,

     13    so --

     14               Q.      Well, fair.

     15               A.      -- it's been about -- it's been

     16    about a week or so, yes.

     17               Q.      The e-mail that we started reading

     18    from --

     19               A.      Correct.

     20               Q.      -- is all in the same day?

     21               A.      Correct.

     22               Q.      That K-Mart has now e-mailed back

     23    and let Cardinal know that it's conducted an

     24    investigation and it's fine to ship --

    Golkow Litigation Services                                             Page 274
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further275Confidentiality
                                                           of 402. PageID #: 224274
                                                                               Review

      1               A.      Yes.

      2               Q.      -- and they want to increase their

      3    threshold.

      4                       They don't really give a reason

      5    why, do they?

      6                       MS. WICHT:      Object to the

      7               form.    Excuse me.      Sorry.

      8               A.      They don't have a reason why here.

      9               Q.      Okay.    And then Ms. Todd forwards

     10    it to you --

     11               A.      Yes.

     12               Q.      -- and says, "See below."

     13                       And read your response to the

     14    jury.

     15               A.      My response is, "Please adjust the

     16    customer's oxycodone's family threshold by

     17    20 percent.       Here is the DEA number and they're

     18    serviced out of Knoxville."

     19               Q.      "Thank you, Chris," right?

     20               A.      Yes.

     21               Q.      Now, they only asked -- K-Mart was

     22    only asking for a 15 percent increase in their

     23    threshold, right?

     24               A.      Yes.    That's what they requested.

    Golkow Litigation Services                                             Page 275
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further276Confidentiality
                                                           of 402. PageID #: 224275
                                                                               Review

      1               Q.      And you gave them an extra

      2    5 percent on top of that, didn't you?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      Again, since it's been --

      6               Q.      Well, you gave them an extra

      7    5 percent on top of that, right?

      8               A.      Yes, because I probably looked at

      9    the information that I had in front of me, and

     10    that was something that was -- still felt

     11    comfortable that there was no obvious signs of

     12    diversion going on from the information we had

     13    in the file.

     14               Q.      So -- and that would be

     15    information that's contained within the

     16    customer's due diligence file, Know Your

     17    Customer type of information, right?

     18               A.      Content Manager --

     19                       MS. WICHT:      Object to the

     20               form.

     21               A.      -- yes.

     22               Q.      Okay.

     23               A.      Content Manager.

     24               Q.      So we should be able to go back

    Golkow Litigation Services                                             Page 276
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further277Confidentiality
                                                           of 402. PageID #: 224276
                                                                               Review

      1    and see what type of information was in there.

      2                       Now, would you have done any

      3    documentation as to why or the basis for your

      4    increasing the threshold?

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      Again, it was probably a

      8    discussion after I reviewed the stuff.               I

      9    reviewed the information that I had in front of

     10    me.

     11                       And, again, I don't even remember

     12    this, but it was always review what was in the

     13    file, is there any signs of potential diversion,

     14    possibly what size store is it, is there

     15    rationale for the request, and then you would

     16    make a decision on whether you would move the

     17    threshold or not.

     18               Q.      So let's walk through this

     19    process.      So this is a chain, so we may not have

     20    all the information we have for the retail

     21    independent, correct?

     22               A.      Right.

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 277
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further278Confidentiality
                                                           of 402. PageID #: 224277
                                                                               Review

      1               Q.      And sitting here today, you don't

      2    know what information you had and didn't have?

      3               A.      I can't see in Content Manager off

      4    of this, no.

      5               Q.      And when you say "Content

      6    Manager," that's the due diligence?

      7               A.      That was the -- that was --

      8                       MS. WICHT:      Object to the

      9               form.

     10               Q.      What we talked about earlier,

     11    right?

     12               A.      That was the information system

     13    that we used to place our documents.

     14               Q.      Okay.    And all these would have

     15    been electronically stored, correct?

     16               A.      That is correct.

     17               Q.      And at this point in time, 2011,

     18    you had the ability to use Tableau as well,

     19    right?

     20               A.      No.

     21               Q.      You didn't have Tableau in 2011?

     22               A.      I do not believe so.

     23               Q.      Really?     Interesting.

     24               A.      If we had the ability to use

    Golkow Litigation Services                                             Page 278
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further279Confidentiality
                                                           of 402. PageID #: 224278
                                                                               Review

      1    Tableau, I would -- did not have access to it.

      2    So maybe Nick or whoever had started working on

      3    it, but I don't remember being able to use

      4    Tableau in 2011.

      5               Q.      Okay.

      6               A.      Because I don't -- I don't -- I

      7    can't answer that yes or no, but that date does

      8    not sound correct to me.           It's probably in this

      9    time frame, but I think it's past 2011 before

     10    Tableau was available.

     11               Q.      And you could be right, Mr. Forst.

     12    You could be right.

     13                       You had the customer

     14    anti-diversion profiles?

     15               A.      Yes.

     16               Q.      Right?

     17               A.      Mm-hmm.

     18               Q.      Okay.    That would have been

     19    something that you would have looked at?

     20               A.      Yes.

     21               Q.      For whatever information that you

     22    had to plug into that?

     23               A.      Correct.

     24               Q.      We may not have any site visit

    Golkow Litigation Services                                             Page 279
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further280Confidentiality
                                                           of 402. PageID #: 224279
                                                                               Review

      1    investigations because this is a chain?

      2               A.      Correct.

      3                       MS. WICHT:      Object to the

      4               form.

      5               Q.      Okay.

      6               A.      You may have a surveillance visit,

      7    but I don't know that.

      8               Q.      And we probably don't have any

      9    dosage usage documents because this is a chain?

     10                       MS. WICHT:      Object to the

     11               form.

     12               Q.      Right?

     13               A.      I don't know that with K-Mart.

     14               Q.      Well, if it got treated like CVS,

     15    we wouldn't have any, correct?

     16               A.      That --

     17                       MS. WICHT:      Object to the

     18               form.

     19               A.      That is correct.

     20               Q.      Okay.    So then maybe a

     21    surveillance, if one was done -- and we can go

     22    back and look in the file and see -- and the

     23    purchase history --

     24               A.      Yes.

    Golkow Litigation Services                                             Page 280
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further281Confidentiality
                                                           of 402. PageID #: 224280
                                                                               Review

      1               Q.      -- assuming they were purchasing

      2    from us for a while.

      3                       What else would be in there

      4    related specifically to the customer?               I mean,

      5    certainly you could look at the population,

      6    where it's at --

      7               A.      You could look at that.          You could

      8    see other, possibly, stores around it, where in

      9    the country is this K-Mart.

     10               Q.      I guess that goes to comparing it

     11    to similarly situated.          We could look and see

     12    what others around them were getting or in the

     13    county or state or whatever, correct?

     14               A.      If we had information around that

     15    area, yes, or a pharmacy that we had information

     16    on, yes.

     17               Q.      Okay.    Sitting here today, you

     18    don't recall doing any of that, one way or

     19    another, correct?

     20               A.      Recall doing any --

     21               Q.      Making that type of comparison.

     22               A.      Well, that would be in a decision

     23    that -- I wouldn't make a decision of 20 percent

     24    if I didn't have other things to validate what I

    Golkow Litigation Services                                             Page 281
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further282Confidentiality
                                                           of 402. PageID #: 224281
                                                                               Review

      1    was -- to give me a comfort zone that there's no

      2    diversion happening or potential diversion at

      3    this pharmacy.

      4               Q.      And then other than this e-mail

      5    when you're increasing it 20 percent, you would

      6    do some documentation to defend your judgment to

      7    make that increase, right?

      8               A.      My documentation --

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      My documentation would have been

     12    in Content Manager.

     13               Q.      That's what I mean.        It would be

     14    somewhere?

     15               A.      Yes.

     16               Q.      Okay.

     17                       MS. WICHT:      Object to the

     18               form.

     19               Q.      Now, if we're increasing them

     20    without a sufficient reason, that's not a

     21    justifiable excuse to increase it either, right?

     22                       MS. WICHT:      Object to the

     23               form.    Vague.

     24               A.      Again --

    Golkow Litigation Services                                             Page 282
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further283Confidentiality
                                                           of 402. PageID #: 224282
                                                                               Review

      1               Q.      Strike that.      Let me ask you a

      2    different question.         Strike that question.

      3                       What type of reasons justified an

      4    increase in threshold in Mr. Forst's mind?

      5               A.      So has there a pharmacy around

      6    them possibly been bought and closed recently

      7    and they obtained the files.

      8               Q.      You mean bought by them and they

      9    took the customers?

     10               A.      Well, you can buy the files, but

     11    you don't give them a -- I wouldn't put on top

     12    of their threshold what the thresholds of that

     13    other pharmacy was because -- I would maybe give

     14    them                because most of those customers

     15    are going to probably choose to go somewhere

     16    else.     They won't necessarily go to that --

     17               Q.      Sure.

     18               A.      -- store that buys them.

     19               Q.      Sure.

     20               A.      Are there any new facilities in

     21    the area, like a hospital that's expanded in

     22    some area?      I mean, you -- the list is --

     23               Q.      So I wonder if the DEA shut down a

     24    pharmacy next door.

    Golkow Litigation Services                                             Page 283
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further284Confidentiality
                                                           of 402. PageID #: 224283
                                                                               Review

      1               A.      I don't know that.

      2               Q.      Well, I'm not saying you know

      3    that.     Is that a legitimate reason to increase

      4    thresholds?

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      That wouldn't make any sense to do

      8    it, but --

      9               Q.      What do you mean, it wouldn't make

     10    any sense to do it?

     11               A.      Well, I mean, you wouldn't just go

     12    do it -- you would have to look to see -- the

     13    DEA goes into the store and shuts down that

     14    pharmacy --

     15               Q.      Yeah.    So you have to keep --

     16               A.      -- so -- and K-Mart obtained some

     17    of those customers that were possibly at that

     18    store.     That doesn't tell me those

     19    prescriptions -- all those prescriptions at that

     20    store that was shut down were subject to

     21    diversion.

     22                       I mean, you're going to have

     23    customers that have medical needs, so -- and the

     24    due -- the pharmacist at the K-Mart should also

    Golkow Litigation Services                                             Page 284
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further285Confidentiality
                                                           of 402. PageID #: 224284
                                                                               Review

      1    be doing their due diligence on any prescription

      2    they fill for a customer.

      3               Q.      Well, I mean, c'mon.         That goes

      4    across the entire country with all pharmacists,

      5    right?

      6               A.      Yes.

      7               Q.      Okay.    So that's nothing special

      8    about this K-Mart, correct?

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      No, but if they're doing their due

     12    diligence.

     13               Q.      I'm just -- I'm just asking if the

     14    DEA closed down a pharmacy nearby, is that a

     15    reason to increase the threshold?             Yes or no?

     16               A.      It depends.

     17               Q.      Okay.    Have you ever heard of the

     18    cockroach effect?

     19               A.      Vaguely, yes.

     20               Q.      Have you ever heard Ms. Howenstein

     21    talk about the cockroach effect?

     22               A.      Ms. Howenstein?       Oh, Kimberly

     23    Howenstein?

     24               Q.      I think that's her name,

    Golkow Litigation Services                                             Page 285
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further286Confidentiality
                                                           of 402. PageID #: 224285
                                                                               Review

      1    Ms. Howenstein, Kim.

      2               A.      No, not to my knowledge.

      3               Q.      Ask her about the cockroach

      4    effect.

      5                       So I wonder if Cardinal shut off

      6    a -- another customer nearby, would that be a

      7    reason to have increased thresholds for this

      8    pharmacy?

      9               A.      Again, it depends on the

     10    information that I have.

     11               Q.      So really, increasing thresholds

     12    or setting thresholds and evaluating suspicious

     13    orders all comes down to information that you

     14    have in your possession, right?

     15               A.      Yes, and then other information

     16    that we can garnish if we can find information.

     17               Q.      Sure, sure.      And we're truly

     18    trying to look for objective data to make a

     19    sound decision when we're talking about

     20    increasing thresholds, distributing controlled

     21    substances, typically Schedule IIs, which are,

     22    in most states, labeled as dangerous drugs,

     23    right?

     24                       MS. WICHT:      Object to the

    Golkow Litigation Services                                             Page 286
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further287Confidentiality
                                                           of 402. PageID #: 224286
                                                                               Review

      1               form.

      2               A.      All the data that we tried to find

      3    we hoped -- and was objective.            We tried to make

      4    it as objective as possible --

      5               Q.      Right.    I mean, that's the goal --

      6               A.      -- and use it correctly.

      7               Q.      Right.    Right.     So, you know, for

      8    example, if someone was trying to get an

      9    increase in thresholds and, for example, K-Mart

     10    here telling us those are no signs of diversion,

     11    if we saw signs of diversion maybe on our

     12    surveillance, me may not want to increase the

     13    threshold like they're asking, correct?

     14                       MS. WICHT:      Object to form.

     15               Foundation.      Hypothetical.

     16               A.      That would be correct and

     17    rational.

     18               Q.      Okay.

     19               A.      If I don't have the information

     20    that might be making me not agree to change this

     21    to 20 percent, then I don't know what I don't

     22    know.

     23               Q.      That's a true statement.

     24                       So what other legitimate reasons

    Golkow Litigation Services                                             Page 287
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further288Confidentiality
                                                           of 402. PageID #: 224287
                                                                               Review

      1    are there for increasing thresholds?              Can you

      2    tell the jury?

      3               A.      I believe I --

      4               Q.      Well, you answered some.

      5               A.      Some.

      6               Q.      I'm just asking if there's any --

      7               A.      Some more?

      8               Q.      -- more that you can think of.

      9               A.      I went practice, I went new

     10    hospitals in the area, possibly new

     11    practitioners in the area, but I'd want to know

     12    what their specialty is.

     13               Q.      When you -- and you say "new

     14    hospitals in the area."          Well, just because a

     15    new hospital --

     16               A.      Well, it could be a hospital

     17    adding more beds.        It could be a hospital adding

     18    another service, if I could find out that

     19    information.       So ...

     20               Q.      Now, what does Cardinal do when

     21    they have that situation to determine whether

     22    any of those hospital patients are actually

     23    filling scripts at that pharmacy?             Because you

     24    would agree with me, would you not, if they're

    Golkow Litigation Services                                             Page 288
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further289Confidentiality
                                                           of 402. PageID #: 224288
                                                                               Review

      1    not -- even if you have a new cancer center move

      2    in --

      3               A.      I can --

      4                       MS. WICHT:      Let him finish

      5               the question.

      6               Q.      -- but they don't -- but that

      7    pharmacy doesn't fill any of their scripts,

      8    there's no reason to increase that pharmacy's

      9    threshold, right?

     10                       MS. WICHT:      Object to the

     11               form of the question.

     12               A.      But, again, that's information

     13    I -- I'm not privy to information where somebody

     14    goes to get their prescription filled.

     15               Q.      Well --

     16               A.      Most people usually go when

     17    they're treated within either a mile or two of

     18    their home if it's convenient or a mile or two

     19    of where they've been treated.

     20               Q.      Now, is there research on that

     21    that suggests that?

     22               A.      I don't know if there's any

     23    research on that.        But just as an experience

     24    from the customers that have -- I've served and

    Golkow Litigation Services                                             Page 289
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further290Confidentiality
                                                           of 402. PageID #: 224289
                                                                               Review

      1    my colleagues around the country that -- you

      2    know, you ask the question where do you get your

      3    customers from, and most of them say it's

      4    usually someone close by or it's a facility that

      5    has healthcare, like a -- an emergency clinic or

      6    whatever that would give you a prescription for

      7    something.      So you're going to get to the

      8    closest one that you have.

      9               Q.      So can you tell us -- well, strike

     10    that.

     11                       Is increasing a threshold by

     12    20 percent a pretty large or significant

     13    increase, generally speaking?

     14               A.      It depends on what --

     15                       MS. WICHT:      Object to the

     16               form.

     17               A.      It depends on what the threshold

     18    is.

     19               Q.      Well, no matter if it's one or --

     20    or ten, it's still going to be 20 percent, isn't

     21    it?

     22               A.      Correct.     But that number -- I

     23    mean, 20 percent of ten is what?             So that would

     24    make it 12.

    Golkow Litigation Services                                             Page 290
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further291Confidentiality
                                                           of 402. PageID #: 224290
                                                                               Review

      1               Q.      Right.    20 percent of 100 would

      2    make it 120.

      3               A.      Right.    So I don't know what --

      4               Q.      What they were at?

      5               A.      I don't know what they were at.

      6    If they were at 2,000, that would, what, make it

      7    2400.

      8               Q.      4,000 dosage units a month, is

      9    that a pretty significant increase?

     10                       MS. WICHT:      Not 4,000.

     11               Q.      400 dosage units?

     12               A.      No, that's not a significant

     13    increase.

     14                       Again, I don't know what the

     15    product is and how often -- how many times a day

     16    it's given.       It's just oxycodone family.

     17               Q.      And sitting here today, you don't

     18    know if K-Mart actually provided any additional

     19    information to Cardinal or not?

     20               A.      I'm not sure at that point in time

     21    what information they provided.             I believe it

     22    changed over time.

     23               Q.      Now, let's talk about CVS 219, the

     24    one you did surveillance on.

    Golkow Litigation Services                                             Page 291
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further292Confidentiality
                                                           of 402. PageID #: 224291
                                                                               Review

      1                       You're aware that they were

      2    getting obscene amounts of controlled

      3    substances, particularly oxycodone, correct?

      4                       MR. MOYLAN:      Objection to

      5               form.

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      I was aware that their numbers

      9    were larger than --

     10               Q.      Were you also aware that from the

     11    time you did your investigation, Cardinal

     12    continued to increase its thresholds up until

     13    the point of the DEA coming in and getting

     14    involved with Cardinal in 2012 --

     15                       MR. MOYLAN:      Objection.

     16                       MS. WICHT:      Object to the --

     17               Q.      -- end of 2011?

     18                       MS. WICHT:      Object to the

     19               form.

     20               A.      I did my visit.       And when I was

     21    there -- and it's a point in time -- there was

     22    no indications of any diversion going on.                There

     23    was no cars in the parking lot that were from

     24    out of state.       There was no lines.         There was

    Golkow Litigation Services                                              Page 292
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further293Confidentiality
                                                           of 402. PageID #: 224292
                                                                               Review

      1    none of that.

      2                       As far as the threshold changes

      3    for some of the chains, those were done

      4    analytically, and that would have been done

      5    through Michael or Nick and his team.               So they

      6    had information that we didn't necessarily see

      7    and documentation coming in.

      8               Q.      When you say those were done

      9    analytically, what do you mean?             Some sort of

     10    formula?

     11               A.      They had some formulary analysis.

     12    They had -- their -- they would analyze the data

     13    and -- I wish I could find the term, but I

     14    can't -- see what was trending, see what looked

     15    reasonable.       I don't know exactly what all their

     16    parameters were, if it was population changes or

     17    anything like that, but ...

     18               Q.      Now, Mr. Moné's talked in the past

     19    about there being a chain-wide threshold.

     20                       Are you aware of that?

     21               A.      A chain-wide threshold?

     22               Q.      Yes, sir.

     23               A.      I'm not familiar with what he --

     24    what he means by "chain-wide threshold" or if

    Golkow Litigation Services                                             Page 293
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further294Confidentiality
                                                           of 402. PageID #: 224293
                                                                               Review

      1    it's something that was implemented or not.

      2               Q.      That may be a good question, too.

      3                       MR. FULLER:      4213.

      4                                - - -

      5      (Cardinal-Forst Deposition Exhibit 21 marked.)

      6                                - - -

      7    BY MR. FULLER:

      8               Q.      Exhibit 21 is 4213.

      9                       Have you ever seen this before?

     10               A.      I can't say that I'm familiar with

     11    this document.

     12               Q.      If you'd turn to page 8,

     13    paragraph 17.

     14                       Do you see that there?

     15               A.      Yes.

     16               Q.      Now, this is Mr. Moné's sworn

     17    testimony -- or declaration.            It says,

     18    "Thresholds for chain pharmacies that open a new

     19    pharmacy are set based on the standard threshold

     20    for the entire chain because Cardinal Health has

     21    determined that chain pharmacy customers

     22    generally have a known ordering pattern for a

     23    majority of their stores."

     24               A.      Okay.

    Golkow Litigation Services                                             Page 294
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further295Confidentiality
                                                           of 402. PageID #: 224294
                                                                               Review

      1               Q.      So do you have any understanding

      2    of what this general standard threshold is for

      3    the different chains?

      4               A.      No.

      5               Q.      So that may be something that's a

      6    little different than what we looked at earlier

      7    related to setting thresholds; you know, we went

      8    through that threshold setting policy and

      9    procedure that didn't segregate out chains,

     10    right?

     11               A.      No.    Well, this says "opens a new

     12    pharmacy," so this is a startup.

     13               Q.      Right.    But it also says that

     14    there is a standard threshold for the entire

     15    chain, doesn't it?

     16               A.      Yes.

     17               Q.      It says, "Pharmacy's" --

     18                       MS. WICHT:      Object to the

     19               form.

     20               Q.      -- "threshold is set based on the

     21    standard threshold for the entire chain."

     22               A.      Yes.    I don't know what that

     23    standard threshold --

     24               Q.      You don't have any idea what he's

    Golkow Litigation Services                                             Page 295
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further296Confidentiality
                                                           of 402. PageID #: 224295
                                                                               Review

      1    talking about?

      2               A.      No.

      3               Q.      Okay.    Now, what about there being

      4    a logistical -- a sophisticated logistic

      5    regression model for pointing out or detecting

      6    at-risk customers?         Are you aware of whether

      7    Cardinal was running some sort of logistical

      8    model?

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      That would be Nick Rausch and his

     12    group, so I --

     13               Q.      You have no idea?

     14               A.      -- I probably would not have known

     15    what they were doing.          I know that they did

     16    statistical analysis all the time.

     17               Q.      They did number stuff and you

     18    stayed out of number stuff, or their number

     19    stuff at least?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      Yes.

     23               Q.      Okay.

     24                                - - -

    Golkow Litigation Services                                             Page 296
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further297Confidentiality
                                                           of 402. PageID #: 224296
                                                                               Review

      1      (Cardinal-Forst Deposition Exhibit 22 marked.)

      2                                - - -

      3               Q.      Plaintiffs' Exhibit 22, 4323.

      4                       Now, certainly, Mr. Forst, you've

      5    seen this e-mail before because you're on it,

      6    right?

      7               A.      Yes.

      8               Q.      And this is back in -- was it

      9    2010, February 2010?         January or February 2010,

     10    I guess.

     11               A.      Yes.

     12               Q.      Right?

     13               A.      Yes.

     14               Q.      Do you know who Jennifer -- I

     15    guess it's Hug.

     16               A.      I believe she was a PBC.

     17               Q.      That's a salesperson, right?

     18               A.      Right.    Probably, I believe, a

     19    manager.      Yeah, manager of retail national

     20    accounts.

     21               Q.      It's a pharmacy business

     22    consultant, PBC; is that right?

     23               A.      I believe that's the terminology.

     24               Q.      And she e-mails Jason.         Who's

    Golkow Litigation Services                                             Page 297
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further298Confidentiality
                                                           of 402. PageID #: 224297
                                                                               Review

      1    Jason; do you know?         Looks like someone at CVS.

      2               A.      I don't know, unless it would be

      3    the -- it was someone in loss prevention just by

      4    looking at the information.

      5               Q.      Okay.    Well, let's read this.

      6               A.      That was sent to Maranda.

      7               Q.      It says, "Jason, Can you please

      8    have your LP department" -- which I guess is

      9    loss prevention.        Makes sense, right?

     10               A.      Yes.

     11               Q.      -- "your LP department look into

     12    the ordering habits of two stores below.               We

     13    have seen a huge jump in oxycodone purchases

     14    from both.      Please see the detail for each

     15    store."

     16                       And then it provides some

     17    information on the two stores.            It's CVS 850 and

     18    CVS 219, correct?

     19               A.      Yes.

     20               Q.      Okay.    And if you turn over to the

     21    next page, it says, "Thank you for your

     22    guidance" -- excuse me -- "Thank you for any

     23    guidance you can give us on the continued

     24    increases we are seeing for the classes of

    Golkow Litigation Services                                             Page 298
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further299Confidentiality
                                                           of 402. PageID #: 224298
                                                                               Review

      1    drugs" -- or "for this class of drugs."

      2                       And then Jason responds back.           He

      3    says, "Jenn, From LP, the store 850 and 219 are

      4    okay.     They're comfortable with the levels."

      5                       Do you see that there?

      6               A.      Yes.

      7               Q.      And then it -- apparently Jennifer

      8    sends to Maranda, you, and Mr. Moné -- it says,

      9    "Maranda, I wanted to -- "I wanted to forward

     10    you the information from CVS' LP department in

     11    reference to the two SOM events attached.

     12    Please let me know if you have any additional

     13    concerns.       Thank you."

     14                       Right?

     15               A.      Yes.    I don't see any SOM events

     16    attached.

     17               Q.      Right.    They are not attached.

     18                       And what does an SOM event look

     19    like?

     20               A.      It was -- it was what the held

     21    orders were called in the suspicious order

     22    monitoring system.         So it was a threshold event.

     23               Q.      And what type of information did

     24    it give?

    Golkow Litigation Services                                             Page 299
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further300Confidentiality
                                                           of 402. PageID #: 224299
                                                                               Review

      1               A.      The threshold event?

      2               Q.      Yes, sir.

      3               A.      It was the drug product, I think

      4    the amount ordered.         You also had the visibility

      5    of the threshold.

      6                       Again, I don't have that

      7    information in front of me so ...

      8               Q.      Right.    So that's in February.

      9    Then let's fast forward to September.

     10                       MR. FULLER:      I need 4948.

     11                       This is going to be

     12               Plaintiffs' Exhibit 23.

     13                                - - -

     14      (Cardinal-Forst Deposition Exhibit 23 marked.)

     15                                - - -

     16    BY MR. FULLER:

     17               Q.      So we're what, about seven -- six,

     18    seven months later; is that right?

     19               A.      Yes.

     20               Q.      And you're on this e-mail chain as

     21    well, right?       You've read this?        You've seen

     22    this?

     23               A.      Yes.    It's directing me to do an

     24    action for Michael.

    Golkow Litigation Services                                             Page 300
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further301Confidentiality
                                                           of 402. PageID #: 224300
                                                                               Review

      1               Q.      And if we start down near the

      2    bottom, there's a Paul Farley who sends an

      3    e-mail to Mr. Moné and it includes a Brian

      4    Jackson.

      5                       Who is Paul Farley?

      6               A.      I'm not familiar with a Paul

      7    Farley.

      8               Q.      Well, he says, "Michael, I'll

      9    continue to try to reach you by phone, but I

     10    wanted to recap my conversation with CVS this

     11    morning."

     12                       Do you see that?

     13               A.      Yes.

     14               Q.      It says -- and this CVS ended up

     15    causing a lot of problems for Cardinal, didn't

     16    it?

     17                       MS. WICHT:      Object to the

     18               form.

     19                       MR. MOYLAN:      Object to the

     20               form.

     21               Q.      CVS 219?

     22                       MS. WICHT:      Same objection.

     23               A.      I'm not always familiar with the

     24    CVS store numbers.

    Golkow Litigation Services                                             Page 301
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further302Confidentiality
                                                           of 402. PageID #: 224301
                                                                               Review

      1               Q.      CVS 219 was one of the CVS stores

      2    that was the basis of the immediate suspension

      3    order --

      4               A.      Okay.

      5               Q.      -- in February.

      6               A.      Okay.

      7               Q.      You're aware of that right?

      8               A.      Yes.

      9               Q.      So this CVS store caused some

     10    problems for Cardinal, correct?

     11                       MR. MOYLAN:      Objection to

     12               form.

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      You could call that a problem,

     16    yes.

     17               Q.      Okay.    Well, let's -- let's read

     18    what he -- and I -- by "he," I mean Paul

     19    Farley -- relayed from CVS.

     20                       It says, "I spoke with Brian

     21    Whalen at CVS a couple of times this morning

     22    regarding Store 219 and other locations you

     23    referenced at NACDS.         I also reviewed your

     24    slides with him.        He tells me that he responded

    Golkow Litigation Services                                             Page 302
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further303Confidentiality
                                                           of 402. PageID #: 224302
                                                                               Review

      1    to Cardinal's last March on inquiries for these

      2    same stores.       At that time, CVS experienced an

      3    increase in sales of oxycodone due to the DEA

      4    closing stores in the area."

      5                       Cockroach effect, right?

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      If that's what the definition of

      9    cockroach effect is, yes.

     10               Q.      Ask Ms. Howenstein.

     11                       MS. WICHT:      Well --

     12               Q.      Let's go on down a little bit.

     13                       MS. WICHT:      -- nobody here

     14               has defined what it is --

     15               A.      Yeah.    Yeah.

     16               Q.      Let's go down a little bit.

     17                       MS. WICHT:      -- so I don't see

     18               how he could possibly answer that

     19               question.

     20               Q.      "None of these stores show

     21    significant growth or shrinkage issues."

     22                       Do you see that?       "None of these

     23    stores show significant growth or shrinkage

     24    issues."

    Golkow Litigation Services                                             Page 303
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further304Confidentiality
                                                           of 402. PageID #: 224303
                                                                               Review

      1               A.      Oh, okay.     I need to look at my

      2    monitor.      Yes, I see it.       Thank you.

      3               Q.      Okay.    Now, we know that's not

      4    true, don't we?

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      I don't know that information.

      8               Q.      We can certainly check it, because

      9    Cardinal can look at its own sales and see if

     10    it's selling them or distributing to them

     11    significant growth, right?

     12                       MS. WICHT:      Object to the

     13               form.

     14               A.      Again, this is --

     15                       MS. WICHT:      Mischaracterizes

     16               the document.

     17               A.      Again, this is -- started off

     18    addressed to Michael.

     19               Q.      I understand that.        I'm not asking

     20    you who it's addressed to.           I don't care who

     21    it's addressed to.         It doesn't matter to me at

     22    this point.

     23                       CVS is telling Cardinal that there

     24    are -- none of these stores are showing

    Golkow Litigation Services                                             Page 304
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further305Confidentiality
                                                           of 402. PageID #: 224304
                                                                               Review

      1    significant growth or shrinkage issues.

      2                       That's what they're saying to

      3    Cardinal, right?

      4               A.      That's what the document says.

      5               Q.      And if Cardinal is distributing

      6    the drugs to them, the controlled substances,

      7    Cardinal can go and check, can't they?

      8                       MS. WICHT:      Object to the

      9               form.    Foundation.

     10               A.      Cardinal can check --

     11               Q.      Yeah, Cardinal can go and pull up

     12    on the computer --

     13                       MS. WICHT:      Let him finish

     14               his answer.      He was in the middle

     15               of a sentence.

     16                       MR. FULLER:      No, he wasn't.

     17                       MS. WICHT:      Let him finish.

     18                       MR. FULLER:      No, he wasn't.

     19               A.      Well, CVS also self warehouses

     20    some of their controls.

     21               Q.      Control IIIs, not Control IIs,

     22    right?

     23               A.      V through IIIs, whatever.

     24               Q.      Not Control IIs, correct?

    Golkow Litigation Services                                             Page 305
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further306Confidentiality
                                                           of 402. PageID #: 224305
                                                                               Review

      1               A.      Not IIs, correct.        So whether we

      2    have access to seeing that information, I'm not

      3    sure of that.

      4               Q.      Let's focus on OxyContin -- or

      5    oxycodone.      Sorry.

      6               A.      Okay.

      7               Q.      And secondly, let's dispel this

      8    issue that you've thrown up.

      9                       Cardinal doesn't care what IIIs

     10    through Vs are going there, because Cardinal

     11    doesn't distribute them, right?

     12                       MS. WICHT:      Object to the

     13               form.

     14               A.      I don't know the answer to that

     15    question.

     16               Q.      Well, you just told me CVS had its

     17    own warehouse and was distributing its own IIIs

     18    through Vs and Cardinal didn't have access to

     19    that information.

     20               A.      That doesn't necessarily mean that

     21    we didn't care that we didn't have access to

     22    that information.

     23               Q.      All right.

     24               A.      I don't know if there was -- in

    Golkow Litigation Services                                             Page 306
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further307Confidentiality
                                                           of 402. PageID #: 224306
                                                                               Review

      1    the analysis if that was taken into account,

      2    because that was not my area of expertise -- or

      3    my area that I did.         I wasn't part of the

      4    analytics group.

      5               Q.      So CVS says none of these stores

      6    show significant growth or shrinkage, correct?

      7               A.      That's what this says, yes.

      8               Q.      And then it says, "Additionally,

      9    CVS has a new attorney working with the DEA.

     10    They acknowledge that Florida has been cracking

     11    down on pill mills, and that is driving more

     12    legitimate traffic to the CVS stores."

     13                       Right?

     14               A.      That's what it says in the

     15    document.

     16               Q.      It says, "Brian will send your

     17    slides over to LP" -- loss prevention -- "for

     18    their review and response.           They will not

     19    provide -- they will not provide the doctor or

     20    patient information you requested unless it is

     21    requested by the DEA."

     22                       They're refusing to provide

     23    information that Cardinal asked them for, aren't

     24    they?

    Golkow Litigation Services                                             Page 307
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further308Confidentiality
                                                           of 402. PageID #: 224307
                                                                               Review

      1               A.      According to the document, yes.

      2               Q.      He was quite adamant about this.

      3    "He does not expect Cardinal to interrupt

      4    service to CVS stores since they have responded

      5    in the manner that we originally agreed upon

      6    when launching the SOM program."

      7                       Did I read that right?

      8               A.      Yes.

      9               Q.      So they're telling you -- they're

     10    telling Cardinal, "You better not interrupt our

     11    service because we're doing what you asked us to

     12    do and we're not going to give you the

     13    information that you asked for."

     14                       And it says, "Any disruption to

     15    service will impact patient care and patient

     16    care with pain medication is critical as you are

     17    aware.     I ask that you release any pending

     18    orders and update Gilberto."

     19                       Did I read that correctly?

     20               A.      Yes.

     21               Q.      So let's see what Cardinal did.

     22                       Mr. Moné forwards that to you,

     23    correct?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 308
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further309Confidentiality
                                                           of 402. PageID #: 224308
                                                                               Review

      1               Q.      "Okay to release the CVS held

      2    orders for this weekend."

      3                       That's what he tells you to do,

      4    doesn't he?

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      Yes, but he has information that I

      8    don't see.

      9               Q.      How do you know he has information

     10    you don't see?       How do you know he has any

     11    additional --

     12                       MS. WICHT:      Besides the next

     13               sentence in the e-mail that you're

     14               not reading?

     15               Q.      -- information?

     16               A.      "We will be working through

     17    another solution.        Please place this e-mail in

     18    the repository."

     19               Q.      Okay.    You tell me.      What does

     20    that -- does that say he has information that

     21    you don't see or that you don't have?

     22               A.      I don't know what he has.          I don't

     23    know what he's looking at.

     24               Q.      Well, counsel tried to make a

    Golkow Litigation Services                                             Page 309
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further310Confidentiality
                                                           of 402. PageID #: 224309
                                                                               Review

      1    cautionary objection that, oh, it's --

      2                       MS. WICHT:      Let him finish --

      3                       MR. FULLER:      -- in the next

      4               sentence.

      5                       MS. WICHT:      -- his answer.

      6    BY MR. FULLER:

      7               Q.      And there is nothing in the next

      8    sentence about missing information or additional

      9    information he has, is there?

     10               A.      Are we talking about "We will be

     11    working through another solution.             Please place

     12    this in the e-mail" -- is that the sentence

     13    that --

     14               Q.      That's apparently what -- she said

     15    the next sentence, so that would be the next

     16    one.

     17                       MS. WICHT:      What's the

     18               question?

     19               Q.      So is there anything there that

     20    indicates he had additional information?               Where

     21    does it say he -- that I --

     22               A.      There's nothing there that

     23    indicates he has additional information.

     24               Q.      Oh, okay.

    Golkow Litigation Services                                             Page 310
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further311Confidentiality
                                                           of 402. PageID #: 224310
                                                                               Review

      1               A.      I don't know the context of --

      2               Q.      Because I was being --

      3               A.      -- this down here at the bottom.

      4                       MS. WICHT:      Except that he

      5               has another solution.

      6                       Go ahead.     Ask your

      7               questions.

      8               Q.      Does it say he has another

      9    solution?

     10               A.      "We will be working through

     11    another solution."

     12               Q.      It doesn't say he has one, does

     13    it?    Does it say, "I have another solution"?

     14               A.      I'm not privy to this conversation

     15    down here.      I'm only privy to the part that I

     16    was asked to release the held orders.               That

     17    could have been a bottle of 100.             I don't even

     18    know what that held order was --

     19               Q.      Sure.    Sure.

     20               A.      -- and to place this information

     21    in the repository.

     22               Q.      And I apologize, Mr. Moné, but

     23    someone was accusing me of misleading when I

     24    weren't, and what they're supposed to do is

    Golkow Litigation Services                                             Page 311
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further312Confidentiality
                                                           of 402. PageID #: 224311
                                                                               Review

      1    certainly they can cross you on this information

      2    when it's their turn and stop the speaking

      3    objections and -- and I don't even know what

      4    they're called, the statements -- the accusatory

      5    statements on the record.

      6                       MS. WICHT:      Mr. Forst.

      7               Q.      And then you respond that "Please

      8    add to the repository.          Thanks."

      9                       And I'm assuming that you lifted

     10    the -- or released the orders as instructed,

     11    correct?

     12               A.      I would -- I would assume that is

     13    correct.

     14               Q.      Okay.

     15                       MR. FULLER:      Let's go to

     16               4663.

     17                       This is Plaintiffs' Exhibit

     18               24.

     19                                - - -

     20      (Cardinal-Forst Deposition Exhibit 24 marked.)

     21                                - - -

     22    BY MR. FULLER:

     23               Q.      So we know back in February we had

     24    concerns about CVS 219, correct?

    Golkow Litigation Services                                             Page 312
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further313Confidentiality
                                                           of 402. PageID #: 224312
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               Q.      The first e-mail we looked at was

      4    February --

      5               A.      Apparently, yes.

      6               Q.      -- was February 2010; is that

      7    right?

      8               A.      Yes.

      9               Q.      Then we look in September of 2010

     10    and we see there's concerns again because

     11    they're again breaching threshold limits; is

     12    that right?

     13               A.      They are exceeding their

     14    threshold, yes.

     15               Q.      And if we look at what's been

     16    attached as 4663, this document includes the

     17    threshold information and actual shipments on a

     18    monthly basis for these four pharmacies.               And I

     19    say four.       It's CVS 219, Gulf Coast, CVS 5195,

     20    and CareMed.

     21                       Do you have any familiarity with

     22    any of those pharmacies, Mr. Forst?

     23               A.      I'm familiar with the 219 store.

     24    I know information of the Gulf Coast.               I'm not

    Golkow Litigation Services                                             Page 313
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further314Confidentiality
                                                           of 402. PageID #: 224313
                                                                               Review

      1    sure what 5195 is.         And I'm not sure about

      2    CareMed.

      3               Q.      So let's look at 219.

      4                       In September of 2010, CVS tells us

      5    that there has been no significant increase or

      6    shrinkage at the store, right?

      7               A.      My document is turned around.

      8                       On September 30th, I believe,

      9    that's correct.

     10               Q.      Okay.    And in the past nine

     11    months, at least according to document 4663,

     12    their accrual, meaning monthly dosage, of

     13    oxycodone has increased from 141,000 to 281,000,

     14    and the thresholds went from 118,000 pills per

     15    month to 235,000 pills per month, correct?

     16               A.      According to the document, yes.

     17               Q.      That would seem like some

     18    significant growth.         Can we agree on that?

     19                       MS. WICHT:      Object to the

     20               form.

     21               A.      I'm not -- I can't answer that

     22    because I'm not sure what significant growth

     23    definition is over here, and I also noticed that

     24    these orders are all at the end of the month.

    Golkow Litigation Services                                             Page 314
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further315Confidentiality
                                                           of 402. PageID #: 224314
                                                                               Review

      1               Q.      Those are the totals for the

      2    month, sir.

      3               A.      But this is an order at the end of

      4    the month, this date, because that comment says

      5    that there was an order there, I believe.                Is

      6    this out of the --

      7               Q.      So you believe on one day CVS --

      8               A.      No, no, no.

      9               Q.      -- ordered 281,600 --

     10               A.      No, no.

     11               Q.      -- dosage units --

     12               A.      No.

     13               Q.      -- of oxycodone 30-milligram 100s?

     14    Is that what you're telling the jury?

     15               A.      No.

     16               Q.      And that Cardinal delivered them?

     17               A.      No, that's not what I'm saying.

     18               Q.      Oh, okay.

     19               A.      Where is this screenshot from; do

     20    you know?

     21               Q.      It was information provided by

     22    Cardinal to the DEA.

     23                       MS. WICHT:      No, it was

     24               information that the DEA attached

    Golkow Litigation Services                                             Page 315
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further316Confidentiality
                                                           of 402. PageID #: 224315
                                                                               Review

      1               to a filing.      If you're going to

      2               say what the document is and you're

      3               incorrect, then I'm going to

      4               correct you.

      5                       MR. FULLER:      No.   You're

      6               absolutely wrong.        The

      7               information -- DEA didn't make up

      8               the threshold.       The information

      9               came from Cardinal, Counsel.

     10               Unless you're willing to stipulate

     11               on the record that the DEA had

     12               access to Cardinal's thresholds,

     13               then --

     14                       MS. WICHT:      My point is that

     15               the document is a DEA government

     16               exhibit.     Whatever this document

     17               is, it was created by DEA.

     18                       MR. FULLER:      Well, I disagree

     19               with you.

     20                       MS. WICHT:      That was the

     21               correction.

     22                       MR. FULLER:      If you want to

     23               cross him with it, you can.

     24               A.      Okay.    Back to the question.

    Golkow Litigation Services                                             Page 316
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further317Confidentiality
                                                           of 402. PageID #: 224316
                                                                               Review

      1               Q.      Yes, sir.

      2               A.      Please repeat the question.

      3               Q.      I don't care what Mr. CVS'

      4    definition of significant growth is.              Clearly

      5    it's completely different --

      6               A.      I'm --

      7               Q.      -- than what the person --

      8                       MS. WICHT:      Wait, wait, wait.

      9               He hasn't asked the question yet.

     10               A.      Okay.    What's the --

     11               Q.      -- what any other person would

     12    deem significant growth.

     13               A.      Okay.

     14               Q.      My question to you was, the

     15    growth, at least according to this document,

     16    that we see at CVS 219 from January to

     17    September, when it doubles in threshold as well

     18    as actual dosage units delivered, is

     19    significant, correct?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      Again, I don't know the parameters

     23    of the discussion.         I don't know what has

     24    changed with this store.           I'm not really sure

    Golkow Litigation Services                                             Page 317
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further318Confidentiality
                                                           of 402. PageID #: 224317
                                                                               Review

      1    where the -- what this -- this looks like it was

      2    pulled at the end of each month.             That's just by

      3    looking at the date.         So I can't comment on a

      4    document that I'm not sure what the information

      5    is saying, except for I'm looking at two

      6    numbers.      One's bigger than the threshold, and

      7    it's an accrual.

      8                       I don't know what was shipped.

      9    That's an accrual.         I don't know how much of

     10    this was shipped.        The accrual doesn't

     11    necessarily mean the product was shipped.

     12               Q.      So your testimony is the accrual

     13    amount, the amount -- the process through

     14    Cardinal doesn't mean it was shipped?

     15               A.      That's an accrual.        I don't know

     16    what the shipped amount is.

     17               Q.      Mr. Forst --

     18               A.      Does this accrual --

     19               Q.      Hold on.

     20                       Go ahead.     I'm sorry.

     21               A.      I don't understand what the

     22    document -- where it's from and what accrual in

     23    a column means.        Does the accrual in this

     24    document mean a shipped quantity, or does the

    Golkow Litigation Services                                             Page 318
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further319Confidentiality
                                                           of 402. PageID #: 224318
                                                                               Review

      1    accrual in this column mean the amount of

      2    product that the customer tried to order and was

      3    or was not necessarily shipped?

      4               Q.      Okay.    So let's back up,

      5    Mr. Forst.

      6                       First you started off this long

      7    answer with I don't know what the situation with

      8    this conversation was referring to, the earlier

      9    document between Mr. CVS and Mr. Moné, correct?

     10               A.      Correct.

     11               Q.      I told you already I don't care

     12    about what their interpretation is of

     13    "significant."       I don't care about that.          I'm

     14    not asking you about that.

     15                       I'm asking you, Mr. Forst, sitting

     16    here in Columbus, Ohio reviewing threshold

     17    events, if you see an accrual account go from --

     18    if shipped product go from 141,000 to 281,000,

     19    is that a significant increase?

     20                       MS. WICHT:      Object to the

     21               form.

     22               Q.      Or is it not?      Maybe it's not.

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 319
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further320Confidentiality
                                                           of 402. PageID #: 224319
                                                                               Review

      1               A.      I don't know the definition on

      2    this piece of paper of what this accrual number

      3    is.

      4               Q.      I'm asking you to accept as true

      5    it's the number of pills shipped for purposes of

      6    my question, okay?

      7               A.      If it's for the purposes of your

      8    question and this is actually the shipped

      9    quantity, then yes, it shows some growth.

     10                       MS. WICHT:      Object to the

     11               form of the question.

     12               Q.      Just some growth, right?

     13                       MS. WICHT:      I didn't want to

     14               interrupt the witness.

     15               A.      I don't know --

     16               Q.      Not significant growth?

     17               A.      I don't know the parameters of

     18    what has changed in these months at this store.

     19               Q.      They're getting a whole lot more

     20    pills of OxyContin -- or excuse me -- oxycodone,

     21    right?

     22                       Let me ask you, assuming for the

     23    purposes of my question that the accruals are

     24    shipped amounts and that the thresholds are

    Golkow Litigation Services                                             Page 320
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further321Confidentiality
                                                           of 402. PageID #: 224320
                                                                               Review

      1    accurate as well.        Each time they exceeded that

      2    threshold, someone in your department would have

      3    had to clear that shipment, correct?

      4                       MS. WICHT:      Object to the

      5               form.

      6               A.      Again, accrual on here, in all the

      7    terminology that I've ever used at Cardinal,

      8    does not mean shipped.          If you're telling me

      9    this was shipped -- and I don't see that

     10    documented on here that that says that's

     11    shipped -- I can't answer the question because I

     12    don't know what this accrual column means.

     13               Q.      All right.      Well, I actually told

     14    you how to interpret it, because I said for the

     15    purpose of my question, let's assume it says

     16    shipped.

     17                       Well, hold on.       We can do this a

     18    different way.

     19                       MS. WICHT:      Would this be an

     20               okay time for a break while you

     21               find the document?

     22                       MR. FULLER:      Oh, sure.

     23               Absolutely.

     24                       THE VIDEOGRAPHER:        We're

    Golkow Litigation Services                                             Page 321
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further322Confidentiality
                                                           of 402. PageID #: 224321
                                                                               Review

      1               going off the record at 4:08.

      2                       (Recess taken.)

      3                       THE VIDEOGRAPHER:        We're back

      4               on the record at 4:30.

      5    BY MR. FULLER:

      6               Q.      All right.      I apologize.      I was

      7    looking for a document and I think it was about

      8    time for a break.         As it was.

      9                       And, Mr. Forst, your concern is

     10    whether accrual was actually shipped, right,

     11    related to document 4663?

     12               A.      That is correct.

     13               Q.      All right.      I'm going to pass to

     14    you P1.3786, which is Exhibit 25 for the record.

     15                                - - -

     16      (Cardinal-Forst Deposition Exhibit 25 marked.)

     17                                - - -

     18               Q.      Do you see this e-mail that

     19    Mr. Rausch prepared and sent to Gilberto

     20    Quintero?

     21               A.      Yes.

     22               Q.      And Michael Moné.        It says "CVS

     23    Talking Points" is the subject, correct?

     24               A.      Yes.

    Golkow Litigation Services                                             Page 322
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further323Confidentiality
                                                           of 402. PageID #: 224322
                                                                               Review

      1               Q.      And then it also says,

      2    "Attachments:       CVS Talking Points, October 22,

      3    2010," which would be right after this September

      4    of '10 e-mail, correct?

      5               A.      Yes.    September 30th, yes.

      6               Q.      And then Mr. Rausch writes,

      7    "Gilberto, Per your request, attached please

      8    find talking points specific to CVS store

      9    located in Sanford, Florida."

     10                       You know where that's at, Sanford,

     11    Florida, right?        You've been there?

     12               A.      I know where Sanford, Florida is.

     13               Q.      Well, let's turn to the next page.

     14    It's CVS Pharmacy 219.

     15                       Do you see that there?

     16               A.      Yes.

     17               Q.      Supply chain integrity and

     18    anti-diversion.        Now, let's blow up this graph

     19    so we can actually see it.

     20                       All right.      Do you see that there

     21    on the screen?

     22               A.      Yes.

     23               Q.      It says, "CVS Pharmacy 219," and

     24    then it has boxes for the average store as well?

    Golkow Litigation Services                                             Page 323
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further324Confidentiality
                                                           of 402. PageID #: 224323
                                                                               Review

      1               A.      Yes.

      2               Q.      And let's be fair.        It says, "CVS

      3    store average," and the other CVS stores.                So

      4    it's comparing 219 to similarly situated other

      5    CVS pharmacies, right?

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      Apparently, yes.

      9               Q.      Okay.    So let's -- and my question

     10    earlier was related to January of 2010 and up to

     11    September of 2010 and how many pills were being

     12    shipped and whether there was a significant

     13    increase, right?        Remember that conversation we

     14    had?

     15               A.      That is correct.

     16               Q.      All right.

     17                       MR. FULLER:      So, Ms. Gina,

     18               can you help us draw lines -- oh,

     19               there you go.       Lookie there.

     20    BY MR. FULLER:

     21               Q.      January 2010 and a line on

     22    September 2010.

     23                       Do you see that now with the

     24    lines?

    Golkow Litigation Services                                             Page 324
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further325Confidentiality
                                                           of 402. PageID #: 224324
                                                                               Review

      1               A.      Yes.

      2               Q.      All right.

      3                       MR. FULLER:      Now, Ms. Gina,

      4               if you can draw lines across.            All

      5               right.

      6    BY MR. FULLER:

      7               Q.      So like -- much like what our

      8    document says, which you said accruals didn't

      9    necessarily mean shipped, it says -- what does

     10    it say?     141,000 and some change as far as

     11    pills?

     12                       Now, I'm talking about on --

     13               A.      Yeah.    January 10th, yes.

     14               Q.      -- 4663.

     15               A.      Yeah.

     16               Q.      And then September -- and

     17    September is -- the accrual on the -- on 4663 is

     18    280, and it looks like we're about 280 on the

     19    other one as well, right, well above 250?

     20               A.      Okay.

     21               Q.      And that's in dosage unit

     22    quantity.       Do you see that on the side of the --

     23               A.      Yes.

     24               Q.      -- the graph?

    Golkow Litigation Services                                             Page 325
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further326Confidentiality
                                                           of 402. PageID #: 224325
                                                                               Review

      1               A.      Yes.

      2               Q.      Okay.    So from information

      3    Mr. Rausch is giving to Gilberto -- who is

      4    senior to Mr. Rausch and you guys, right?

      5               A.      That is correct.

      6               Q.      Okay.    He's giving his boss

      7    monthly information as far as distribution of

      8    oxycodone, at least according to this chart,

      9    right?

     10               A.      That is correct.

     11               Q.      Well, let's read and see what

     12    other information Mr. Gilberto got.              It says,

     13    "High quantity when compared to other CVS

     14    stores."

     15                       Do you see that there?

     16               A.      Yes.

     17               Q.      It says                      more than

     18    the average CVS store over the past three

     19    months,                                         dosage

     20    units -- pills -- of oxycodone compared to only

     21              for the average store.

     22                       Right?

     23               A.      Yes, I see that.

     24               Q.      Is that a significant difference

    Golkow Litigation Services                                             Page 326
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further327Confidentiality
                                                           of 402. PageID #: 224326
                                                                               Review

      1    in your mind --

      2                        MS. WICHT:     Object to the

      3               form.

      4               Q.       -- the           pills compared to

      5               pills?    I'm just trying to figure out

      6    if -- Mr. Forst, if that's a significant

      7    difference.

      8               A.       That's a significant difference.

      9                        MS. WICHT:     Object to the

     10               form.

     11               Q.       Okay.    Rapid rate of growth.

     12                        Well, now we know Mr. CVS said in

     13    his e-mail that there was no significant

     14    increase or shrinkage, right?            Isn't that what

     15    he said?

     16               A.       According to the e-mail, correct.

     17               Q.       Well, I mean --

     18               A.       Or according to the -- this

     19    document, yes.

     20               Q.       Right.    I mean, we don't think

     21    somebody altered his e-mail, do we?

     22               A.       No, I'm not saying that.

     23               Q.       Okay.

     24               A.       I'm just saying according to the

    Golkow Litigation Services                                             Page 327
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further328Confidentiality
                                                           of 402. PageID #: 224327
                                                                               Review

      1    document I have in front of me, yes.

      2               Q.      That's what it says, right?           Rapid

      3    growth.     "86 percent increase in quantity

      4    purchased (first nine months of 2010 compared to

      5    2009).     See graph to the right for additional

      6    detail."

      7                       So do you agree that that is a

      8    rapid rate of growth --

      9                       MS. WICHT:      Object to the

     10               form.

     11               Q.      -- for CVS 219?

     12               A.      That is a large rate of growth.

     13               Q.      I mean, listen, you can differ --

     14    you can disagree with Mr. Rausch.             He's the one

     15    that prepared this and said rapid rate of

     16    growth.     You can say he's wrong.          Don't feel bad

     17    about it.

     18                       Do you agree or disagree that

     19    that's a rapid rate of growth?

     20               A.      It appears --

     21                       MS. WICHT:      Object to the

     22               form.

     23               A.      -- to be a rapid rate of growth.

     24               Q.      Okay.

    Golkow Litigation Services                                              Page 328
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further329Confidentiality
                                                           of 402. PageID #: 224328
                                                                               Review

      1                       MS. WICHT:      Sorry.

      2               Q.      Unbalanced product mix.          Do you

      3    see that point that he has there?

      4               A.      Yes.

      5               Q.      "58 percent of all purchases are

      6    for oxycodone."

      7                       Now, generally speaking, the only

      8    thing CVS is buying is Control IIs from you

      9    guys, right?

     10               A.      Yes, as far as I'm familiar with.

     11    And I'm not sure whether we have information on

     12    the other products or not.

     13               Q.      Apparently we had some information

     14    that he was able to compare and figure out that

     15    almost 60 percent of their purchases are

     16    oxycodone products, right?

     17                       MS. WICHT:      Object to the

     18               form.    No foundation.

     19               Mischaracterizes the document.

     20               Q.      I'm sorry.      Did I mischaracterize

     21    this, Mr. Forst, or is that what it says?

     22               A.      Of the purchases from Cardinal --

     23    I don't know, because I don't know the

     24    background -- I don't know what other parts are

    Golkow Litigation Services                                             Page 329
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further330Confidentiality
                                                           of 402. PageID #: 224329
                                                                               Review

      1    in the mix.       I don't know what's behind that.

      2               Q.      Well, what could it be?          Let's ask

      3    you that.       Strike that.     It doesn't really

      4    matter.

      5                       It's information that Mr. Rausch

      6    felt significant enough to provide to

      7    Mr. Gilberto, right?

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      Yes.    I can -- yes.      Apparently

     11    the request was made to him to look at the

     12    store, so yes.

     13               Q.      And knowing Mr. Rausch, he's not

     14    going to give inaccurate or incomplete

     15    information to Mr. Gilberto, is he?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      I can't comment on Mr. Rausch's --

     19               Q.      Well, is he a standup guy?          Is he

     20    going to give him what he's asked for?

     21                       MS. WICHT:      Object to the

     22               form.

     23               Q.      Or do you know?       I mean, you

     24    worked with him for a good period of time.

    Golkow Litigation Services                                             Page 330
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further331Confidentiality
                                                           of 402. PageID #: 224330
                                                                               Review

      1               A.      He's going --

      2                       MS. WICHT:      Object to the

      3               form.

      4               A.      He's going to give him the

      5    information requested.          But I don't know what is

      6    included in this unbalanced product mix, so I

      7    don't know if he has access to the other

      8    controls or not.

      9               Q.      All right.      Having this

     10    information now, does it cause you any concern

     11    about CVS 219?

     12                       MS. WICHT:      Object to the

     13               form.

     14               A.      Again, the number appears large.

     15    I don't know what is happening around the store,

     16    but the number does seem like the growth is

     17    large.

     18               Q.      Would you cut them off if it was

     19    you?    If it was your decision, Mr. Forst,

     20    knowing what you know -- you've been in the

     21    industry almost 40 years, an expert of sorts --

     22    based on your training, background, and

     23    experience, would you cut this pharmacy off back

     24    in 2010?

    Golkow Litigation Services                                             Page 331
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further332Confidentiality
                                                           of 402. PageID #: 224331
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.    Calls for speculation.

      3               A.      My position at Cardinal was to

      4    review the orders.         The decision to cut off

      5    customers was above me.          So that would not be in

      6    my purview because, again, I don't know all the

      7    information about all the other CVS stuff.

      8               Q.      Well, hold on.       You say it

      9    wouldn't be in your purview.            Your purview was

     10    to --

     11               A.      I agree --

     12               Q.      I'm sorry.      Go ahead.

     13               A.      No.   Finish your question.

     14               Q.      Well, your purview was to evaluate

     15    threshold events and make a determination of

     16    whether you're going to release it or cut the

     17    threshold, right?

     18                       MS. WICHT:      Object to the

     19               form.

     20               Q.      Whether it was potentially

     21    suspicious orders?

     22               A.      Release it or cut the order, yes.

     23               Q.      And do you have the ability to

     24    halt a customer?

    Golkow Litigation Services                                             Page 332
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further333Confidentiality
                                                           of 402. PageID #: 224332
                                                                               Review

      1               A.      Have the ability to what?          I'm

      2    sorry.

      3               Q.      To stop shipping to a customer?

      4               A.      Yes, I can cut the orders and stop

      5    shipping.

      6               Q.      So would you stop shipping to

      7    CVS 219 back in September of -- when we see this

      8    type of growth, these type of numbers, would

      9    Mr. Forst stop shipments of controlled

     10    substances to CVS 219?

     11                       MS. WICHT:      Object to form.

     12               Calls for speculation.

     13               Q.      Now, you were back at this store

     14    sometime in 2010.        You've already testified to

     15    that.

     16               A.      But I didn't see any outward signs

     17    of diversion, so ...

     18               Q.      Do you always have to see outward

     19    signs of diversion?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      I would be uncomfortable selling

     23    that much to the store.

     24               Q.      Do you know if Cardinal cut them

    Golkow Litigation Services                                             Page 333
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further334Confidentiality
                                                           of 402. PageID #: 224333
                                                                               Review

      1    off in 2010, CVS 219?

      2               A.      I'm not sure when Cardinal cut off

      3    that -- CVS 219.

      4               Q.      Do you know if Cardinal ever cut

      5    them off?

      6               A.      I don't know that answer either.

      7               Q.      Do you know whether -- so sitting

      8    here today, you don't know whether Cardinal ever

      9    cut off CVS 219?

     10               A.      Whether it was a Cardinal function

     11    or DEA terminating their license, no, I don't.

     12    Not this store.

     13               Q.      So you know eventually this store

     14    got cut off?

     15               A.      Yes.

     16               Q.      Because both the store and

     17    Cardinal lost their ability to distribute and,

     18    for the CVS, receive controlled substances,

     19    right?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      That was a statement.

     23               Q.      I'm sorry?

     24               A.      Can you repeat your statement

    Golkow Litigation Services                                             Page 334
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further335Confidentiality
                                                           of 402. PageID #: 224334
                                                                               Review

      1    before right, please.

      2               Q.      Sure.    Eventually both Cardinal

      3    and CVS lost their ability to deal -- at least

      4    CVS 219 -- in controlled substances, correct?

      5                       MS. WICHT:      Object to the

      6               form.

      7               A.      When CVS 219 was -- lost their

      8    license by the DEA, yes.

      9               Q.      And Cardinal lost their license

     10    partially because of their conduct with CVS 219.

     11                       MS. WICHT:      Object to the

     12               form.

     13               Q.      And you know, sitting here today,

     14    that Cardinal continued to distribute these huge

     15    volume of controlled oxycodones to CVS 219 up

     16    until after they were served with an inspection

     17    warrant by the DEA?

     18                       MR. MOYLAN:      Objection.

     19                       MS. WICHT:      Object to form.

     20               No foundation.

     21               A.      I'm not familiar with an

     22    inspection.

     23               Q.      Okay.    Well, let's see.

     24                       Plaintiffs' 4214, Exhibit 26.

    Golkow Litigation Services                                             Page 335
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further336Confidentiality
                                                           of 402. PageID #: 224335
                                                                               Review

      1                                - - -

      2      (Cardinal-Forst Deposition Exhibit 26 marked.)

      3                                - - -

      4               Q.      So I will represent to you that

      5    Cardinal got served with its administrative

      6    inspection warrant in October 2011.

      7                       Now, look at this document.           This

      8    document is another Michael Moné affidavit or

      9    declaration.

     10                       Do you see that?

     11               A.      Yes.

     12               Q.      And it's filed in the matter of

     13    Cardinal Health versus Eric Holder.

     14                       Do you see that as well?

     15               A.      Yes.

     16               Q.      In the United States District

     17    Court for the District of Columbia.

     18                       Do you see that?

     19               A.      Yes.

     20               Q.      It says, "My name is Michael Moné.

     21    I am the Vice President for Supply Chain

     22    Integrity of Cardinal Health.            I have personal

     23    knowledge of the facts set forth and believe

     24    them to be true, based on my experience in the

    Golkow Litigation Services                                             Page 336
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further337Confidentiality
                                                           of 402. PageID #: 224336
                                                                               Review

      1    pharmaceutical industry or upon information

      2    provided to me by others.           This declaration

      3    covers the period since I assumed my current

      4    position.       If asked to do so, I could testify

      5    truthfully about the matters contained herein."

      6                       That's what Mr. Moné said, isn't

      7    it?

      8               A.      Yes.

      9               Q.      And let's go to what he says on

     10    paragraph 46 on page 25.           And you can tell at

     11    the top of this document he -- well, actually,

     12    if you go to the last page -- let's see.

     13                       He signed it on -- or executed it

     14    on February 6th of 2012.

     15                       Do you see that?

     16               A.      Yes.

     17               Q.      Let's see what he has to say at

     18    paragraph 46.

     19                       Mr. Moné says, "Cardinal Health

     20    had already lowered the oxycodone thresholds for

     21    these stores months ago.           On December 16, 2011,

     22    Cardinal Health lowered the oxycodone threshold

     23    for CVS 5195 to 18,000 dosage units.              And on

     24    November 10th, 2011, Cardinal Health lowered the

    Golkow Litigation Services                                             Page 337
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further338Confidentiality
                                                           of 402. PageID #: 224337
                                                                               Review

      1    monthly oxycodone threshold for CVS 219 to

      2    45,800 dosage units."

      3                       Did I read that right?

      4               A.      Yes, you did.

      5               Q.      So, clearly, Cardinal continued to

      6    ship and do business with store -- CVS store 219

      7    from the time point where you said you'd be

      8    nervous selling that type of volume to them all

      9    the way to the end of 2011.           Did you know this

     10    was happening?

     11                       MS. WICHT:      Object to the

     12               form.

     13               A.      Did I know -- clarify.

     14               Q.      That you were shipping this type

     15    of volume to a single store in Sanford, Florida.

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      I don't recall that, no.

     19               Q.      We saw all the threshold

     20    increases.      Who would have had to increase those

     21    thresholds for the chain?           Who would that go

     22    through?      Would that go through you?

     23               A.      No.   My routine role was not

     24    usually changing thresholds with the chain

    Golkow Litigation Services                                             Page 338
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further339Confidentiality
                                                           of 402. PageID #: 224338
                                                                               Review

      1    unless I was directed by someone to do that.

      2               Q.      Someone else would give you

      3    direction to do that, you wouldn't do that

      4    yourself?

      5               A.      Yes, but usually it was done

      6    through the analytics department.

      7               Q.      The numbers guys?

      8               A.      Yes.

      9               Q.      All right.      Well -- but each of

     10    these threshold events that we saw numerous

     11    threshold breaches, on that earlier document,

     12    those would come through you, right, because the

     13    shipments would have to stop as soon as they hit

     14    or reached that threshold, correct, each time,

     15    right?

     16               A.      Yes.

     17               Q.      And someone would have to review

     18    that and then make the affirmative decision to

     19    go ahead and ship that type of volume to

     20    Sanford, Florida, correct?

     21               A.      Someone would make the decision to

     22    ship or cut the held order.           So if these are

     23    true ships as opposed to accrual -- I mean, I

     24    don't know what --

    Golkow Litigation Services                                             Page 339
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further340Confidentiality
                                                           of 402. PageID #: 224339
                                                                               Review

      1               Q.      So is there still a question in

      2    your mind after we looked at the information

      3    given to Gilberto?

      4               A.      No, no, no.      I mean, I'm just

      5    referring to the document and the title here.

      6               Q.      Sure.    And what my point is, is it

      7    wasn't something that happened automatically,

      8    meaning they didn't get cleared automatically.

      9    Somebody actually had to look at that volume

     10    each time and evaluate that volume each time

     11    based on the information they had and then

     12    decide, "Okay.       It's a good idea to send over

     13    200,000 dosage units in one month to one

     14    pharmacy in Sanford, Florida."

     15                       Right?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      I can't answer that because I'm

     19    not sure what the quantities were that were held

     20    at each -- each time, even though they are over

     21    threshold.

     22               Q.      Well, we know what the threshold

     23    was, so it had to be at least at the threshold

     24    or above to be held based on your automated

    Golkow Litigation Services                                             Page 340
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further341Confidentiality
                                                           of 402. PageID #: 224340
                                                                               Review

      1    system, correct?         We know they had to reach that

      2    height, hundreds of thousands of pills a month,

      3    before they tripped the threshold?

      4               A.      But, again, going back to the

      5    report, all those dates are at the very end of

      6    the month.

      7               Q.      Okay.    I get that.      I get that.

      8               A.      And I don't know how many days are

      9    in certain months.         I'm not saying that the

     10    numbers are small.

     11               Q.      Whoa, whoa.      What's this about how

     12    many -- well, some days -- some months have 30.

     13    Some months have --

     14               A.      I understand that.

     15               Q.      Hold on.     Let me finish.

     16                       Some months have 31, with the

     17    exception of February, which is coming up soon.

     18    It has 28, but every fourth year it has 29.                So

     19    that's how many days are in the month, okay?

     20                       So whether it's 30 or 31, that

     21    justifies a quarter of a million pills into one

     22    pharmacy?

     23               A.      No.

     24               Q.      Okay.

    Golkow Litigation Services                                             Page 341
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further342Confidentiality
                                                           of 402. PageID #: 224341
                                                                               Review

      1               A.      What I'm trying to explain is

      2    there are a number of, like, Mondays and

      3    Tuesdays in a month when most pharmacies order.

      4    So, again, the number is large.

      5               Q.      Irrespective of how many Mondays

      6    or Tuesdays in the month, you wouldn't have been

      7    comfortable shipping this type of volume to this

      8    pharmacy, correct?

      9               A.      That number is large.

     10                       MS. WICHT:      Object to the

     11               form.

     12               Q.      No matter how many Mondays or

     13    Tuesdays in the month, you would have not been

     14    comfortable sending this type of volume to that

     15    pharmacy, correct?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      The number is large.

     19                       MR. FULLER:      All right.      I'll

     20               certify the question.

     21    BY MR. FULLER:

     22               Q.      And let me ask if you know -- and

     23    maybe you don't know.          CVS, in and of itself,

     24    makes up about 20 percent -- I mean, they're a

    Golkow Litigation Services                                             Page 342
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further343Confidentiality
                                                           of 402. PageID #: 224342
                                                                               Review

      1    huge chain.       They make up about 20 percent of

      2    Cardinal's business, correct?

      3               A.      I don't know the exact number.

      4               Q.      They make up a significant

      5    percentage of Cardinal's business, correct?

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      Yes.

      9               Q.      And Cardinal, just shortly prior

     10    to this, went through the painful process of

     11    losing the Walgreens business to ABC, correct?

     12                       MS. WICHT:      Object to the

     13               form.

     14               A.      Walgreens did leave and go to ABC,

     15    but I'm not sure of the process.

     16               Q.      Chains get treated differently at

     17    Cardinal than other customers, don't they?

     18                       MS. WICHT:      Object to the

     19               form of the question.         Vague.

     20               A.      I don't know.      The orders don't

     21    get treated differently.

     22               Q.      Well --

     23               A.      The orders that are reviewed

     24    anyway.

    Golkow Litigation Services                                             Page 343
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further344Confidentiality
                                                           of 402. PageID #: 224343
                                                                               Review

      1               Q.      -- hold on.      Wait a second.

      2                       The orders that get reviewed don't

      3    get treated differently?           So the retail

      4    independents, you may actually conduct an

      5    on-site investigation.          Chains don't get that.

      6    That's reviewing for orders, right?

      7                       MS. WICHT:      Object to the

      8               form.

      9               Q.      Right?

     10               A.      The -- could you repeat your

     11    question, please.

     12               Q.      Sure.    You said that orders don't

     13    get treated differently.           The process that's

     14    gone through to clear orders to set thresholds,

     15    the information that's gleaned, because you

     16    don't get it from CVS, is clearly different,

     17    right?

     18                       MS. WICHT:      Object to the

     19               form.

     20               A.      The information is different, yes.

     21               Q.      So chains are treated differently

     22    than retail independents, correct?

     23                       MS. WICHT:      Object to the

     24               form.

    Golkow Litigation Services                                             Page 344
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further345Confidentiality
                                                           of 402. PageID #: 224344
                                                                               Review

      1               A.      Chains are treated in a different

      2    manner.     And I'm not sure all the parameters of

      3    how they are managed on the analytical side --

      4               Q.      I get that.

      5               A.      -- and arrived at that.

      6               Q.      I get that.      My only point is,

      7    chains are treated differently, to the extent

      8    you may not know all the details, right?

      9               A.      That is correct.

     10                       MS. WICHT:      Object to the

     11               form.

     12               Q.      Okay.    Did you make a

     13    recommendation after your visit -- site visit to

     14    219?    If I get their due diligence file, will I

     15    see a report in there from your site visit with

     16    a recommendation?        Sorry.     From your

     17    surveillance visit.

     18               A.      A recommendation on?

     19               Q.      Recommendation as to whether

     20    they're at risk.        My understanding is that most

     21    of the investigators, at least according to

     22    Mr. Morse, when they would do an investigation

     23    of some sorts, would make a recommendation,

     24    whether high risk, no risk, moderate risk for

    Golkow Litigation Services                                             Page 345
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further346Confidentiality
                                                           of 402. PageID #: 224345
                                                                               Review

      1    diversion issues.

      2               A.      I believe my report was -- I

      3    visited the store and I didn't see any red flags

      4    at the store when I was at the time.

      5               Q.      Okay.    And that would be a written

      6    report that would be in that store's -- on that

      7    system you talked about earlier, right, with its

      8    due diligence file?

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      There should be some report there.

     12               Q.      Would you ever ask the numbers

     13    people for any sort of analytics when you were

     14    doing reviews?

     15               A.      Occasionally.

     16               Q.      What type of information would you

     17    ask for from the analytics people?

     18               A.      Usually it was can you tell me

     19    more about the state demographics and

     20    information like that or area demographics

     21    like --

     22               Q.      Population?

     23               A.      Not necessarily population, but

     24    like the number of hospital facilities in

    Golkow Litigation Services                                             Page 346
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further347Confidentiality
                                                           of 402. PageID #: 224346
                                                                               Review

      1    certain areas, et cetera.

      2               Q.      And would you have a certain -- I

      3    want to say scope, but I don't know if that's

      4    the right word.

      5                       So if you're looking at a

      6    pharmacy, say, in Portsmouth, Ohio -- do you

      7    know where Portsmouth is?

      8               A.      Yes.

      9               Q.      -- how big of an area would you

     10    ask for?      Just within the county?         Within the

     11    town?     Would you ask for the whole southern part

     12    of the state?

     13               A.      I would usually at least county,

     14    if not -- if it was a rural area, you'd ask

     15    for -- I would probably try to look at like five

     16    or six counties, and it being in the center

     17    around it.

     18               Q.      The surrounding areas?

     19               A.      Yes.

     20               Q.      What else?      What other type of

     21    analytical information would you ask for?

     22               A.      If we had other stores there that

     23    we could compare to the store of interest.                And,

     24    if not, I mean, is there something as an

    Golkow Litigation Services                                              Page 347
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further348Confidentiality
                                                           of 402. PageID #: 224347
                                                                               Review

      1    analytics department that you could give me to,

      2    you know, give me some relative information to

      3    make a decision on that.           A store, if it was a

      4    store, or if it was an area or whatever.

      5               Q.      Were there regular reports that

      6    your analytics people would send to you guys,

      7    you pharmacists?        I've been told that there's

      8    like a 75 percent of threshold report, that

      9    there are red flags and yellow flags for growth

     10    in certain -- certain percentage growth over

     11    monthly periods.

     12               A.      Is this in a document of some --

     13               Q.      That's my understanding.          What do

     14    you remember?

     15               A.      I remember an occasional document,

     16    but I don't remember monthly documents like

     17    that.

     18               Q.      When you say "occasional

     19    document," occasional document --

     20               A.      Oh, it's like maybe every three or

     21    four months you would see a document like that.

     22    Now, I don't know if the document was produced

     23    every month and it wasn't shared.             But, yes, I

     24    know there was some documents like that with

    Golkow Litigation Services                                             Page 348
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further349Confidentiality
                                                           of 402. PageID #: 224348
                                                                               Review

      1    different demographic information on them.

      2               Q.      And are you referring to the

      3    75 percent of thresholds or the flagged one that

      4    I mentioned, because I sort of mentioned two.

      5    Or let me ask it differently.

      6                       When you say you recall that type

      7    of document, what information would be in the

      8    documents that you do recall?

      9               A.      It would be like sections of the

     10    country.      God, that's been so long ago.           I can't

     11    really -- and it would be like states with oxy

     12    or hydro as their major purchases.              Again, it's

     13    been so long ago, I can't -- I don't -- I

     14    can't -- I'm not going to guess to recall what

     15    was all in that document.

     16               Q.      Were there any documents that you,

     17    yourself, particularly liked working with that

     18    you would regularly request?

     19               A.      I would look at the 75 percent

     20    report.     That was a regular document that all

     21    the pharmacists had access to, and that was a

     22    report to show about where in -- under the

     23    threshold the customer was so we could try to do

     24    some advanced work.         If they were getting close

    Golkow Litigation Services                                             Page 349
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further350Confidentiality
                                                           of 402. PageID #: 224349
                                                                               Review

      1    to thresholds, just to make sure that --

      2               Q.      You say "advanced work."

      3               A.      Well, I mean, like every month as

      4    you -- as you purchase, the percentage of your

      5    threshold -- the report would say when these

      6    customers get to 75 percent.            And then we would

      7    look at them at what point in time if they got

      8    to 75 percent.       If it was the last part of the

      9    week, we would say -- you know, we would look

     10    and say, "These thresholds look like they're set

     11    correctly for the customers that we have no

     12    concerns on."

     13                       So it was just a guide to see how

     14    much work might be coming down the pike at the

     15    end of the month.

     16               Q.      And you staggered the cycles,

     17    right, at some point?          Do you know what I'm

     18    referring to?       That was a poor question.

     19               A.      Yeah.    They were on different --

     20    each distribution center --

     21               Q.      Yes, you're right.

     22               A.      -- the report was staggered so

     23    that the workload was pretty much smoothed out

     24    as opposed to --

    Golkow Litigation Services                                             Page 350
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further351Confidentiality
                                                           of 402. PageID #: 224350
                                                                               Review

      1               Q.      So not all the cycles ended at the

      2    end of the month, correct?

      3               A.      Correct.     So it wasn't one big

      4    push at the end of the month, which gave us more

      5    time to review the threshold events as opposed

      6    to trying to push them through quickly.

      7               Q.      And going back to your 75 percent

      8    comment.      So if -- say we're only on the 15th of

      9    March and the customer's already reached

     10    75 percent.       That might be a concern, right?

     11               A.      It might be a concern, but it

     12    wasn't necessarily a concern because some

     13    customers -- like most hospitals order like once

     14    a month.      So if they ordered on whatever the

     15    fourth or fifth day of the month was and they

     16    were at 75 percent, that wasn't going to be a

     17    concern, because if you look at their ordering

     18    history, you could see what their pattern

     19    normally was.

     20               Q.      Sure.    Sure.    And that's fine.

     21                       Now, how about retail pharmacies?

     22    My understanding is that they try to maintain

     23    very low inventories so that they don't

     24    necessarily order all their pills at the

    Golkow Litigation Services                                             Page 351
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further352Confidentiality
                                                           of 402. PageID #: 224351
                                                                               Review

      1    beginning of the month.          They place repeated

      2    orders throughout the month.

      3               A.      It depends on how their business

      4    model works.       Some people are afraid to run out

      5    of stuff because of shortages or things like

      6    that, so they'll have a larger shelf amount to

      7    get them through.

      8                       For a hospital as an example, I

      9    had to keep at least three to four weeks of

     10    backup stock in case of emergencies.              So it

     11    depends on how they run their business unit.

     12               Q.      So, say, for example, that it's

     13    not a pharmacy that -- or a hospital that orders

     14    in one lump at the beginning of the month, it's

     15    one that does it sporadically.            If they're

     16    hitting 75 percent come mid month, what do you

     17    do?    Is that something that would be triggered

     18    first of all?

     19               A.      No.   It's just a look at that

     20    customer.       Some of the pharmacists would take

     21    the report and see if they needed to possibly do

     22    a site visit.       If that customer, you know,

     23    has --

     24               Q.      Sort of the --

    Golkow Litigation Services                                             Page 352
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further353Confidentiality
                                                           of 402. PageID #: 224352
                                                                               Review

      1               A.      -- you know, threshold amounts

      2    that seem to be a lot higher in -- than, you

      3    know, one or two occasionally or something like

      4    that, they'd look at it.           And if it was a

      5    hospital and Bill was doing it, he would call

      6    the hospital and speak to them to see if there

      7    was a change in their purchasing pattern or if

      8    there is something on the shortage list.

      9                       So, I mean, there's several

     10    different things that you could look at or try

     11    to look at just to see where your customer was

     12    falling.      And, you know, certainly look for

     13    diversion, but also for customers that you were

     14    very sure of that there was no diversion going

     15    on so that you're not interfering with the

     16    customer at the end of the month or at the end

     17    of their cycle.

     18               Q.      So let me ask.       So the 75 percent,

     19    that was like a type of report you had --

     20               A.      Mm-hmm.

     21               Q.      -- that would sort of try to give

     22    you sort of an overview of what's going on,

     23    right?

     24               A.      Correct.

    Golkow Litigation Services                                             Page 353
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further354Confidentiality
                                                           of 402. PageID #: 224353
                                                                               Review

      1               Q.      There's also other triggers out

      2    there that could be potential signs of

      3    diversion, correct?

      4                       MS. WICHT:      Object to the

      5               form.

      6               A.      Other triggers out there?

      7               Q.      Yeah, other things that could be

      8    signs of a potential diversion.             For example, I

      9    think one of the things mentioned in that

     10    document Mr. Rausch prepared for Gilberto was

     11    the percentage of oxycodone and balanced --

     12               A.      Correct.

     13               Q.      -- whatever it was.

     14               A.      Correct.

     15               Q.      And one of the things that my

     16    understanding is you guys -- I say "you guys" --

     17    Cardinal compared was, for example, controlled

     18    with non-controls.         Percentage of cash sales.

     19               A.      Yes.    Further along in the process

     20    when we had more analytics, yes, we would

     21    compare them.

     22                       THE COURT REPORTER:        We had?

     23                       MR. FULLER:      More analytics.

     24                       THE WITNESS:      More analytics.

    Golkow Litigation Services                                             Page 354
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further355Confidentiality
                                                           of 402. PageID #: 224354
                                                                               Review

      1               Sorry.

      2    BY MR. FULLER:

      3               Q.      And you guys ended up with this

      4    Tableau system in place -- we may disagree or

      5    not be able to --

      6               A.      Correct.

      7               Q.      -- lock down when.

      8               A.      It was in 2012, 2013 when it was

      9    probably introduced.         I'm not exactly familiar.

     10               Q.      So my question would be, what

     11    other automated type of triggers or -- strike

     12    that.     Let me ask it differently.

     13                       When a threshold happens,

     14    threshold -- meaning threshold breaching the

     15    threshold, there was an automated system in

     16    place that would hold the order, correct?

     17               A.      That is correct.

     18               Q.      There's an e-mail that went out to

     19    certain specific people, correct?

     20               A.      Later in the process, yes.

     21               Q.      There was also a report that all

     22    these pharmacies who had held orders would be

     23    put on?

     24               A.      I'm not --

    Golkow Litigation Services                                             Page 355
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further356Confidentiality
                                                           of 402. PageID #: 224355
                                                                               Review

      1               Q.      You can't go into your system in

      2    the morning and check and see what all the held

      3    orders are?

      4               A.      Oh, yes.     That was -- that was the

      5    held order report, yes.

      6               Q.      Okay.

      7               A.      Yes.

      8               Q.      There you go.      Held order report.

      9    Who would have thunk?

     10               A.      I thought you meant like an end of

     11    the month report or something.

     12               Q.      No, no, just a report that you can

     13    access.

     14               A.      Right.

     15               Q.      And certainly you probably

     16    accessed it or somebody accessed it every day

     17    because you probably have customers calling

     18    somebody to find out why their order was held,

     19    right?

     20               A.      At the beginning, it was a report

     21    that was printed by IT and given to us.               Later

     22    on in the system we could generate that from the

     23    distribution centers that the pharmacists were

     24    covering, so we could do it during the day.

    Golkow Litigation Services                                             Page 356
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further357Confidentiality
                                                           of 402. PageID #: 224356
                                                                               Review

      1               Q.      Oh, as they happened?

      2               A.      So as -- yeah, you would check

      3    periodically to see the orders that were being

      4    held.

      5               Q.      So here's my question:         Are

      6    there -- and I would label that as a trigger,

      7    okay?     Meaning that once they hit the threshold,

      8    it triggered some sort of other event.               It

      9    triggered the held order.           It triggered this --

     10               A.      Well, the threshold was the held

     11    order event that it triggered.

     12               Q.      -- breached threshold report or

     13    thing that you can look at --

     14               A.      Right.

     15               Q.      -- right?

     16               A.      They're all essentially the same,

     17    whether it's on the computer screen, whether

     18    it's on the piece of paper or wherever.               It's

     19    all essentially the same information.               It's just

     20    presented differently.

     21               Q.      Sure.    So my question is, with

     22    these other potential red flags or indicators of

     23    maybe potential diversion, were there other

     24    triggers that would go off?

    Golkow Litigation Services                                             Page 357
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further358Confidentiality
                                                           of 402. PageID #: 224357
                                                                               Review

      1                       So, for example, at one point in

      2    time, ordering more hydrocodone than

      3    oxycodone -- assuming you ordered IIs and IIIs

      4    from you guys -- was considered a potential sign

      5    of diversion, at least according to Mr. Morse in

      6    his testimony.

      7                       Could there or would there be

      8    other triggers -- and I'm not -- I'm just using

      9    that as an example -- set up to alert you guys

     10    of, "Hey, maybe this is something we want to

     11    look at," other than just the thresholds of the

     12    75 percent reports?

     13               A.      That would have been through the

     14    analytics department setting up requests or

     15    whatever made by --

     16               Q.      But I don't mean just requests.            I

     17    mean something that was routinely shot out.

     18               A.      Well, that would come from the

     19    analytics department.

     20               Q.      Right.    But I'm assuming it would

     21    have to come to you guys because you guys are

     22    the ones that are evaluating the potential

     23    suspicious orders, right?

     24               A.      As the system grew, there were

    Golkow Litigation Services                                               Page 358
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further359Confidentiality
                                                           of 402. PageID #: 224358
                                                                               Review

      1    more and more reports available to the

      2    pharmacist.

      3               Q.      So what other type of reports --

      4               A.      And, again, after 2012, my role

      5    slowly changed away from reviewing the orders

      6    because of Tableau.

      7               Q.      So explain that to me.         How did

      8    Tableau change what you were doing?

      9               A.      They changed the process from more

     10    of a qualitative to a quantitative process.                So

     11    where the pharmacist was reviewing the orders

     12    and looking for all the information, it became

     13    more of a looking at the numbers more carefully

     14    and still using the qualification around the

     15    numbers.

     16               Q.      So more of an objective versus

     17    subjective standard?

     18               A.      It became more and more objective,

     19    yes.

     20                       MR. FULLER:      How much more

     21               time we got, Mikey Mike?

     22                       THE VIDEOGRAPHER:        An hour

     23               and ten.

     24

    Golkow Litigation Services                                             Page 359
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further360Confidentiality
                                                           of 402. PageID #: 224359
                                                                               Review

      1    BY MR. FULLER:

      2               Q.      So you mentioned as it progressed,

      3    the pharmacist would get more and more reports.

      4    What type of reports?

      5               A.      Well, the reports -- I can't say

      6    there were more and more reports.             The Tableau

      7    function allowed them to pull up more

      8    information pertinent to either the type of

      9    customer, the drug family.

     10                       Again, I didn't work with the

     11    Tableau reports that much, so -- it could see a

     12    scatter plot of all the pharmacies and where

     13    they fall in their purchases of that drug

     14    family.     And you could generate that on

     15    customers, on an individual basis.              So each

     16    customer's plot would be different.

     17               Q.      Because the Tableau document, you

     18    could actually change the dashboard?

     19               A.      You could change the parameters of

     20    what you were looking for to focus in on what --

     21    the information you were looking for, yes.

     22               Q.      So -- and I guess that's my

     23    question.       Were there more -- let's just say,

     24    for example -- I was deposing Mr. Morse.               You

    Golkow Litigation Services                                             Page 360
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further361Confidentiality
                                                           of 402. PageID #: 224360
                                                                               Review

      1    know Steve, right?

      2               A.      Yes.

      3               Q.      I was deposing him over in Texas,

      4    where you hail from as well, and we looked at a

      5    pharmacy out of Woodstock that he got provided

      6    up in New York.

      7               A.      Okay.

      8               Q.      He got provided the Tableau

      9    document and he says, "Yeah, when I looked at

     10    it, it stuck out to me that they were getting

     11    significantly more hydro, almost all hydro,

     12    compared to the OxyContin" -- "or oxycodone."

     13                       I'm like, "Well, that would be a

     14    red flag."

     15                       He's like, "Yes, it would be

     16    during that time frame."

     17                       And the only reason he went to

     18    look at that was because the DEA requested from

     19    Cardinal the hydro and oxycodone purchases by

     20    that pharmacy.       So the e-mail reads, "Hey, we

     21    need someone to go do a site visit," so

     22    Mr. Morse goes and does a site visit.

     23                       My point being -- is that being

     24    that that's a red flag, was there something in

    Golkow Litigation Services                                             Page 361
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further362Confidentiality
                                                           of 402. PageID #: 224361
                                                                               Review

      1    the system set up to trigger, say, "Hey, look at

      2    me.    I have this large number of hydro versus

      3    oxycodone.      That might be a red flag somebody

      4    wants to look at," because, as Mr. Morse pointed

      5    out, he didn't have access to those reports, but

      6    had it been brought to his attention, he

      7    certainly would have looked into it.              But it

      8    didn't get brought to his attention until the

      9    DEA made the inquiry.

     10                       So what I'm trying to figure out,

     11    was Cardinal being proactive in setting flags or

     12    alarms like it did with thresholds or 75 percent

     13    reports with any of these other factors that you

     14    guys looked at when you were looking at

     15    potential diversion issues?

     16                       MS. WICHT:      Object to the

     17               form.

     18               A.      As the anti-diversion program

     19    evolved, there were more and more things that we

     20    were able to look at and see.            So if you're

     21    using the hydrocodone and oxycodone ratio as an

     22    example, we did know that -- I mean, certain

     23    states, depending on the state, the requirements

     24    of the state -- for example, Texas required a

    Golkow Litigation Services                                             Page 362
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further363Confidentiality
                                                           of 402. PageID #: 224362
                                                                               Review

      1    triplicate prescription.           So you would see a lot

      2    more hydrocodone in that state.             States that

      3    didn't require triplicate prescriptions, they

      4    could be both or a mixture of each.

      5                       You also had to look at -- or you

      6    could look at, like, what are the schools of

      7    medicine and the residents.           You look at what

      8    the residents are taught while they're doing it,

      9    and the -- you know, the distribution of the

     10    schools and how those are taught.             I mean, you

     11    could see those little patterns.

     12                       So, yes, you could -- you could

     13    ask for those things.          Specifically something

     14    would happen across the board.            You would stay

     15    with, you know, what's the percentage of oxy in

     16    the group or percentage of hydro in the group,

     17    or a combination of that.           The top four drugs

     18    you would ask that.

     19                       So we had access to all those.

     20               Q.      Well, no.     I understand that you

     21    had access to it.        And Mr. Morse made that

     22    clear, "If we wanted to look at it, we could."

     23    He said, "Even though I didn't have direct

     24    access, if I wanted to see it, I could go ask

    Golkow Litigation Services                                             Page 363
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further364Confidentiality
                                                           of 402. PageID #: 224363
                                                                               Review

      1    somebody."

      2               A.      Right.

      3               Q.      But if it's not drawn to our

      4    attention -- it's like thresholds.              You guys

      5    service, what, 30,000 customers, somewhere in

      6    that neighborhood?

      7               A.      The number sounds --

      8               Q.      Ballpark?

      9               A.      -- in the ballparkish, yes.

     10               Q.      Okay.    Mr. Forst, sitting at your

     11    desk just up the road here in Ohio, you have no

     12    idea if a threshold is breached unless the

     13    trigger goes off and it's brought to your

     14    attention, correct?

     15               A.      That's correct.

     16               Q.      So the same thing with the other

     17    potential triggers -- and I'm just using that

     18    term generically -- was there some that

     19    automated?      Not that you had to go ask for it,

     20    because like Mr. Morse mentioned, he would have

     21    never asked about Woodstock, New York and that

     22    particular pharmacy and the number of hydro

     23    unless the DEA inquired.           Was there some sort of

     24    automated thing that would just trigger it?

    Golkow Litigation Services                                             Page 364
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further365Confidentiality
                                                           of 402. PageID #: 224364
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               A.      Again, as the system evolves,

      4    there are more and more things that you could

      5    look at.      Suggestions from the pharmacists went

      6    to the analytics people about "I would like to

      7    be able to see this."

      8               Q.      Right.

      9               A.      If it was possible, they would

     10    certainly try to do that for you as a group and

     11    roll it out as a program that you could -- I

     12    mean, we also had SQ -- an SQL program so that

     13    we could -- if we had the right parameters, we

     14    could put in the customer and pull the

     15    information for ourselves.

     16                       So there was tools that we could

     17    look for things.        Either they would supply

     18    specific information back to us, or if we -- it

     19    was a special thing, we had the ability to

     20    better access that information on our own.                And

     21    if it wasn't accessible by us, we could ask for

     22    the information, and they could run reports for

     23    us.

     24               Q.      Now, let me -- and this may be --

    Golkow Litigation Services                                             Page 365
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further366Confidentiality
                                                           of 402. PageID #: 224365
                                                                               Review

      1    and don't take this the wrong way, but this may

      2    be above your pay grade.           But it's my

      3    understanding, working with Tableau, that

      4    Tableau has the ability to set triggers.               You

      5    tell the software that if this happens, they'll

      6    give you a notification.           For example, hydro,

      7    excess of oxycodone.         Or another one that I

      8    talked to Mr. Morse about was the hydro 10/325s

      9    being the more abused substance.             We saw on a

     10    dashboard how that was like over 80 percent,

     11    which, according to some other documents at

     12    Cardinal, put it to the 95th percentile, which

     13    he agreed would be a red flag.

     14                       Were there flags like that that

     15    would go off -- well, strike that.

     16                       To your knowledge, there weren't

     17    flags like that that were just automatic?                It

     18    required someone to ask for it, correct?

     19               A.      With the Tableau system that I was

     20    familiar with --

     21               Q.      Yes, sir.

     22               A.      -- those were not in place yet.

     23    So they may have been put in place after I moved

     24    away from that.        But, again, I'm not a

    Golkow Litigation Services                                             Page 366
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further367Confidentiality
                                                           of 402. PageID #: 224366
                                                                               Review

      1    programmer, and I'm not familiar with the

      2    dynamics of Tableau.

      3                       I'm not saying yes or no, that you

      4    can or cannot do that.

      5               Q.      Right.    You just don't know --

      6    you're not aware of it being in place during

      7    your time frame --

      8               A.      Correct.

      9               Q.      -- looking at these orders?

     10               A.      Correct.

     11               Q.      Now, we know they had the ability

     12    to do the threshold issue, at least back to '08,

     13    when those were being put into place, correct?

     14                       MS. WICHT:      Object to the

     15               form.

     16               A.      The threshold issue --

     17               Q.      Yeah, where the thresholds would

     18    trigger and you would get a notification --

     19               A.      Oh, yes.

     20               Q.      -- of the thresholds --

     21               A.      Yes.

     22               Q.      -- and it would stop the order.

     23    It was an automated process.

     24               A.      Yes.

    Golkow Litigation Services                                             Page 367
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further368Confidentiality
                                                           of 402. PageID #: 224367
                                                                               Review

      1               Q.      So we know at least back to '08

      2    they had the ability to put in this automated

      3    process, whether it be you're breaching a

      4    certain number or oxy is greater than hydro, or

      5    your hydro 10s are exceeding 50 percent,

      6    whatever, there was at least the technology out

      7    there to do it, correct?

      8               A.      The technology --

      9                       MS. WICHT:      Object to the

     10               form.

     11               A.      -- for thresholds were -- yeah,

     12    2008.     I don't -- I'm not familiar with the

     13    technology as it moved through and as it grew,

     14    what more and more could be done with the

     15    systems that we used.          That would be an IT

     16    question.

     17                       MR. FULLER:      Fair enough.

     18               Let's take another quick break.

     19                       THE VIDEOGRAPHER:        We're

     20               going off the record at 5:20.

     21                       (Recess taken.)

     22                       THE VIDEOGRAPHER:        We're back

     23               on the record at 5:35.

     24

    Golkow Litigation Services                                             Page 368
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further369Confidentiality
                                                           of 402. PageID #: 224368
                                                                               Review

      1                       MR. FULLER:      All right.

      2               Let's go to 3708.

      3                                - - -

      4      (Cardinal-Forst Deposition Exhibit 28 marked.)

      5                                - - -

      6                       MR. FULLER:      3708 for the

      7               record is going to be Plaintiffs'

      8               Exhibit Number 28, I think.

      9                       MS. WICHT:      Was there a 27?

     10               I think it's --

     11                       MR. FULLER:      Oh, never mind.

     12               Yeah.    Well, yeah.      I have it --

     13                       MS. WICHT:      It's stickered

     14               28.    Okay.    That's fine.      It's 28.

     15                       MR. FULLER:      It is.    Sorry.

     16                       MS. WICHT:      That's okay.

     17                       MR. FULLER:      For the record,

     18               I think we're skipping 27, or if I

     19               can peel it off, I'll use it.

     20                       MS. WICHT:      That's fine.

     21    BY MR. FULLER:

     22               Q.      Now, this e-mail is October 19th

     23    of '07.     Do you see that from a Steve Lawrence?

     24    Do you know who Steve Lawrence is?

    Golkow Litigation Services                                             Page 369
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further370Confidentiality
                                                           of 402. PageID #: 224369
                                                                               Review

      1               A.      Yes, I'm familiar with

      2    Mr. Lawrence.

      3               Q.      It sounds familiar?        Do you not

      4    know who he is?

      5               A.      Yes, I'm familiar with Steve

      6    Lawrence.

      7               Q.      Okay.    What was Mr. Lawrence's

      8    position; is, was?

      9               A.      He was one of the executive

     10    officers I believe at the time, or he was over

     11    the sales group.

     12               Q.      When you say "executive officers,"

     13    he's relatively high up, right?

     14               A.      He was, yes.      I think he's now the

     15    CEO.

     16               Q.      Sure.

     17               A.      I don't know that for a fact.

     18               Q.      I mean, did you just, like, make

     19    that up?

     20               A.      No.

     21               Q.      Heard it somewhere?

     22               A.      Yes.

     23               Q.      Okay.    So he sends this e-mail --

     24    and this is October of '07, October 19th, 2007

    Golkow Litigation Services                                             Page 370
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further371Confidentiality
                                                           of 402. PageID #: 224370
                                                                               Review

      1    to Mr. Reardon, Mr. Michael -- is that Ambrose?

      2    We'll go with it.         A-m-b-r-o-s-e for the record.

      3    Michael Bender, Jeff Brannon, Jim Worley, Eric

      4    Brantley.

      5                       You know who Mr. Brantley is,

      6    right?

      7               A.      Yes, I know Mr. Brantley.

      8               Q.      Okay.    He's in anti-diversion,

      9    correct?

     10               A.      He was in quality and regulatory

     11    affairs when I got there.           I'm not sure what

     12    his --

     13               Q.      QRA?

     14               A.      Right -- his title was or where

     15    his functionality was.

     16               Q.      Okay.    Fair enough.

     17                       So this is regarding Martinez

     18    Pharmacy, Laredo, Texas.           This is Mr. Lawrence

     19    writing here at the end.           He says, "My marketing

     20    analytics group could help here.             If we new" --

     21    and I think he meant k-n-e-w instead of n-e-w --

     22    'the triggers' we could develop a report which

     23    would only show those stores that hit the

     24    triggers.       The data is in SDW and we can get

    Golkow Litigation Services                                             Page 371
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further372Confidentiality
                                                           of 402. PageID #: 224371
                                                                               Review

      1    history by location by item going back 33

      2    months.     We could build a table to the CINs" --

      3    what are CINs; do you know?

      4               A.      I believe those are the drug code

      5    numbers for the purchases -- like their item

      6    numbers, I believe.

      7               Q.      Okay.    -- "build a table to the

      8    CINs for all these products and monitor the

      9    items sales against your defined triggers.                I'd

     10    be more than glad to sit down with everyone and

     11    see if we can't create something that is less

     12    manual and hopefully more accurate."

     13                       Did I read that right?

     14               A.      Yes.

     15               Q.      So -- and, again, this is before

     16    you got there.       But even Mr. Lawrence, at least

     17    at this time frame -- and this is the time frame

     18    that things are starting to happen with the DEA,

     19    correct?

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      I'm not familiar with that time

     23    frame before I came there, when the DEA started

     24    actually looking more and more.

    Golkow Litigation Services                                             Page 372
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further373Confidentiality
                                                           of 402. PageID #: 224372
                                                                               Review

      1               Q.      Sure.    But you know, at least come

      2    the time you got there, they had suspended the

      3    licenses --

      4               A.      Yes, I did.

      5               Q.      -- at four different distribution

      6    centers?      Right?

      7               A.      Three, and I think we turned in --

      8               Q.      Voluntarily turned in one?

      9               A.      Yes.

     10               Q.      After they issued an

     11    administrative warrant, correct?

     12               A.      I don't know that process, but --

     13               Q.      Okay.    But -- and this is just

     14    what we were talking about earlier, right,

     15    triggers, and Mr. Lawrence is proposing that his

     16    group -- and I think you're right.              SDW -- let's

     17    see if it says.        It doesn't say at the bottom of

     18    his name.       I think he's in some sort of sales

     19    and marketing group.         But he offers to help

     20    create these, doesn't he?

     21                       MS. WICHT:      Object to the

     22               form.

     23               Q.      To create a system to set off

     24    triggers; "you guys just give me the criteria"?

    Golkow Litigation Services                                             Page 373
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further374Confidentiality
                                                           of 402. PageID #: 224373
                                                                               Review

      1               A.      Apparently --

      2                       MS. WICHT:      Object to the

      3               form.

      4               A.      -- by this document.

      5                       Apparently that's what this

      6    document says, yes.

      7               Q.      Okay.    Now, would you agree with

      8    me at least that having triggers on these

      9    different risk factors for potential diversion

     10    may be a helpful tool?

     11                       MS. WICHT:      Object to the

     12               form.

     13               A.      They may or may not be a helpful

     14    tool.     It depends on how the triggers are set up

     15    and what he's looking at.

     16               Q.      Well -- and that's the thing.

     17    Someone with knowledge is going to have to help

     18    have input on setting up these triggers,

     19    correct?      Just like when they started initially

     20    setting up this threshold system and setting

     21    triggers for these thresholds, if you don't do

     22    it right, it's not going to work right.               It's

     23    only as good as the effort and substance that

     24    you put into it, correct?

    Golkow Litigation Services                                             Page 374
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further375Confidentiality
                                                           of 402. PageID #: 224374
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               A.      That is correct.

      4               Q.      So at least according to

      5    Mr. Lawrence, it appears that the technology is

      6    there at Cardinal to be able to monitor for

      7    triggers; can we agree with that?

      8                       MS. WICHT:      Objection to the

      9               form.    Foundation.      Calls for

     10               speculation.

     11               A.      Again, I wasn't there at this

     12    time.     Based on this statement, that's what it

     13    appears.

     14               Q.      Okay.    And, again, you mentioned

     15    you know Mr. Lawrence.          Do you have any reason

     16    to doubt his veracity and the statements he

     17    makes?

     18               A.      I don't know Mr. --

     19                       MS. WICHT:      Object to the

     20               form.

     21               A.      I don't know Mr. Lawrence that

     22    well.     I just know that he's one of the higher

     23    officers at Cardinal Health.

     24               Q.      Fair enough.

    Golkow Litigation Services                                             Page 375
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further376Confidentiality
                                                           of 402. PageID #: 224375
                                                                               Review

      1               A.      I've never personally met

      2    Mr. Lawrence, to my knowledge.

      3               Q.      Okay.    Was he based out of the

      4    corporate office here?

      5               A.      Yes, I believe that is correct.

      6               Q.      But you still never met him in

      7    person?

      8               A.      I might have seen him in the hall

      9    and knew who he was, but I didn't have a

     10    conversation with him or introduce myself to him

     11    or anything like that.

     12               Q.      No actual interaction that you're

     13    aware of?

     14               A.      That I'm aware of, no.

     15               Q.      Okay.    And you have no idea

     16    whether anybody ever took Mr. Lawrence up on his

     17    offer set out in this e-mail, do you?

     18               A.      Again, before my time, so I don't

     19    know.

     20                                - - -

     21      (Cardinal-Forst Deposition Exhibit 27 marked.)

     22                                - - -

     23                       MR. FULLER:      This doesn't

     24               have at P1 number, but it's

    Golkow Litigation Services                                             Page 376
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further377Confidentiality
                                                           of 402. PageID #: 224376
                                                                               Review

      1               Cardinal Health, Inc.'s Second

      2               Supplemental Objections and

      3               Responses to Plaintiffs' First

      4               Combined Discovery Requests filed

      5               today.    And it's going to be

      6               Plaintiffs' Exhibit 27.          I'm sorry.

      7    BY MR. FULLER:

      8               Q.      And, Mr. Forst, I want to tell

      9    you, I know you ain't seen this document before,

     10    because it just got filed a little bit ago.

     11                       But do you see where it says, "In

     12    Re:    National Prescription Opioid Litigation"?

     13               A.      Yes.

     14               Q.      Yeah.    Unfortunately, I just got

     15    the document, so I don't think we're going to

     16    have it on the screen.          Oh, we may.      Hold on.

     17    There we go.       "In Re:     National Prescription

     18    Opioid Litigation," do you see that?

     19               A.      Yes, I do.

     20               Q.      Okay.    And as I read the title,

     21    Cardinal Health, Inc.'s Second Supplemental

     22    Objections and Responses to Plaintiffs' First

     23    Combined Discovery."

     24                       Do you see that there?

    Golkow Litigation Services                                             Page 377
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further378Confidentiality
                                                           of 402. PageID #: 224377
                                                                               Review

      1               A.      Yes, I do.

      2               Q.      And then if you'll turn to page 7.

      3                       MS. WICHT:      Just note for

      4               purposes of the record that the

      5               document is designated "Highly

      6               Confidential Pursuant to the

      7               Protective Order."

      8               Q.      That means you cannot talk about

      9    it outside of this room or a little drone will

     10    swoop down -- it's owned by Amazon, by the

     11    way -- and scoop you up, Mr. Forst, okay?

     12               A.      Amazon doesn't know where I live.

     13               Q.      They have drones, though.          They

     14    can track you.

     15                       MS. WICHT:      You'd be the only

     16               person in the country, if that's

     17               true.

     18                       I'm sorry.      What page?

     19                       MR. FULLER:      Page 7.

     20                       MS. WICHT:      Thank you.

     21    BY MR. FULLER:

     22               Q.      And you see there at the top it's

     23    Supplemental Response to -- excuse me.

     24    Supplemental Response and Objection to Request

    Golkow Litigation Services                                             Page 378
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further379Confidentiality
                                                           of 402. PageID #: 224378
                                                                               Review

      1    Number 2, January 22, 2019, which I think is

      2    today.

      3               A.      Yes, I see that.

      4               Q.      And if you go down to the second

      5    paragraph, it says, "Ingredient Limit Reports,"

      6    and that's what we talked a little bit about

      7    earlier.

      8                       Do you recollect that?

      9               A.      Yes, I do.

     10               Q.      -- "were created on a monthly

     11    basis for each of the following customer

     12    classifications:        Hospitals/managed care, retail

     13    customers, and other."

     14                       Then it gives a cite to the

     15    record.     And then it says, "For each customer

     16    classification Cardinal Health calculated the

     17    total grams of each controlled substance in

     18    Schedules II through V purchased in the last 12

     19    months.     Cardinal Health then calculated the

     20    monthly average grams purchased by customers in

     21    each classification."

     22                       Now, having this information,

     23    Mr. Forst, can we figure out, assuming we have

     24    sales data, what the average is?

    Golkow Litigation Services                                             Page 379
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further380Confidentiality
                                                           of 402. PageID #: 224379
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               A.      Based on the information that was

      4    just put in front of me, I don't know the answer

      5    to that question.

      6               Q.      Well, let's look at it for a

      7    second.     It says, "For each customer

      8    classification" -- which that has been set out

      9    above as hospital/managed care, retail

     10    customers, and other -- "Cardinal Health

     11    calculated the total grams of each controlled

     12    substances in Schedule II through V purchased in

     13    the last 12 months."

     14                       Now, Cardinal obviously would have

     15    the sales data that it sold as far as product

     16    for the last 12 months, right?

     17               A.      That would seem reasonable, yes.

     18               Q.      I'm glad I am finally being

     19    reasonable, Mr. Forst.

     20                       Now, what we don't know -- and

     21    they say they use this information to calculate

     22    the monthly average, right?           But the problem

     23    with this answer is it doesn't tell us for what

     24    geographical area, does it?           We don't know if

    Golkow Litigation Services                                             Page 380
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further381Confidentiality
                                                           of 402. PageID #: 224380
                                                                               Review

      1    it's by county, state, or the entire nation, do

      2    we?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      Again, I don't know what's all in

      6    the document, so I can't answer that question.

      7               Q.      No.   I'm just asking, those two

      8    sentences, it doesn't tell us whether it's the

      9    state, county, or the entire country, does it?

     10               A.      Those two sentences do not state

     11    that.

     12               Q.      All right.      Well, let's keep

     13    reading because maybe it does.

     14                       "Cardinal Health then multiplied

     15    the resulting averages by a factor approved by

     16    the DEA."

     17                       Again, this mentions something

     18    that you and I chatted about earlier.               You know

     19    of no DEA approval related to any multiplying

     20    factor, do you, Mr. Forst?

     21               A.      I'm not aware of one.

     22               Q.      You haven't seen anything in

     23    writing on it?       You haven't been told about it?

     24    Nothing that you recollect related to an

    Golkow Litigation Services                                             Page 381
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further382Confidentiality
                                                           of 402. PageID #: 224381
                                                                               Review

      1    approval by the DEA, correct?

      2               A.      Unless it was those factors that

      3    were at the very beginning of the 3, 8, and

      4    whatever that number -- if that's the same

      5    factor, the first time I've seen that is when I

      6    was in here.

      7               Q.      So before that, you haven't --

      8    before being in here, you hadn't seen those --

      9               A.      I didn't -- if you would have

     10    asked me the factor, I would have not known what

     11    you were talking about there.

     12               Q.      You would have thought I was

     13    crazy?

     14               A.      Well, I already thought that,

     15    but ...

     16               Q.      Fair enough.

     17               A.      No, I would not know what those

     18    were.

     19               Q.      Fair enough.

     20                       It says, "factors approved by the

     21    DEA, which resulted in the maximum amount of

     22    those substances that customers could purchase

     23    or receive in a month without the orders being

     24    included in the Ingredient Limit Report."

    Golkow Litigation Services                                             Page 382
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further383Confidentiality
                                                           of 402. PageID #: 224382
                                                                               Review

      1                       Do you see that?       Did I get that

      2    right?

      3               A.      Yes, I see that.

      4               Q.      Okay.    The next says, "The factors

      5    as they were applied by Cardinal Health were

      6    included on the face of the report provided to

      7    the DEA."

      8                       And I think we saw that.          We saw a

      9    factor of 4 at some point in that Ingredient

     10    Limit Report that I showed you.

     11                       Do you recall that?

     12               A.      I remember a report with -- a

     13    report with factor of 4.           Whether it's this

     14    report or not, I'm not sure.

     15               Q.      Fair enough.      And you don't have

     16    any idea where that factor came from, do you?

     17               A.      No, I do not.

     18               Q.      Okay.    Mr. Forst, what -- again,

     19    you came in right during the time of the

     20    suspension of -- suspension or surrendering the

     21    four different distribution licenses; is that

     22    right?

     23               A.      Correct.     It was four or five

     24    months after that, I believe.

    Golkow Litigation Services                                             Page 383
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further384Confidentiality
                                                           of 402. PageID #: 224383
                                                                               Review

      1               Q.      Well, I mean, actually, your start

      2    date was the 1st, and the suspensions and

      3    surrendering occurred between the end of

      4    November and then the first part of January.

      5               A.      So three months about.

      6               Q.      So what type of look-back or

      7    review did Cardinal do, to your knowledge,

      8    related to the allegations made by the DEA to

      9    determine what the problems were?

     10                       MS. WICHT:      Object to the

     11               form of the question.

     12                       And I just would caution you

     13               that I don't know whether that's a

     14               conversation you discussed with

     15               attorneys for Cardinal Health at

     16               the time.     But if you did, those

     17               conversations would be privileged,

     18               and you shouldn't include them.

     19                       MR. FULLER:      I disagree on

     20               this issue.      If there is any

     21               sort --

     22                       MS. WICHT:      You're free to

     23               disagree --

     24                       MR. FULLER:      -- of review

    Golkow Litigation Services                                             Page 384
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further385Confidentiality
                                                           of 402. PageID #: 224384
                                                                               Review

      1               that was done --

      2                       MS. WICHT:      -- but that's my

      3               instruction to the witness.

      4               A.      I can't remember any discussions

      5    about that.

      6               Q.      What type of review was done of

      7    the prior shipments that made up the actions by

      8    the DEA?

      9               A.      From when I was there --

     10                       MS. WICHT:      Object to the

     11               form.

     12               A.      I'm not aware of the process that

     13    occurred before I was there.            All I'm aware of

     14    is it was a decentralized process.

     15               Q.      Well, I understand that, but I'm

     16    asking what type of look-back did Cardinal do to

     17    see what the problems were?           Did they relook at

     18    the suspicious orders or the potential orders

     19    that the DEA was alleging were suspicious?                What

     20    type of retrospective review did they do?

     21               A.      I'm not familiar --

     22                       MS. WICHT:      Object to the

     23               form.

     24               A.      I'm not familiar with that

    Golkow Litigation Services                                              Page 385
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further386Confidentiality
                                                           of 402. PageID #: 224385
                                                                               Review

      1    information.

      2               Q.      Do you know who did that review?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      I don't know who did that review.

      6               Q.      Okay.    Were you ever provided the

      7    results of that review --

      8                       MS. WICHT:      Object to the

      9               form.

     10               Q.      -- so that you could apply them in

     11    developing and working on these new systems

     12    going forward.

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      I don't know what that document

     16    would look like, so I don't know.

     17               Q.      Okay.    Turn to page 27 of this

     18    document, if you don't mind.            Down there near

     19    the bottom of the page, it says, "QRA

     20    Pharmacists."

     21                       Do you see that on the right-hand

     22    side?

     23               A.      Yes.

     24               Q.      It says, "QRA Pharmacists received

    Golkow Litigation Services                                             Page 386
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further387Confidentiality
                                                           of 402. PageID #: 224386
                                                                               Review

      1    daily notification of all threshold events and

      2    reviewed each held order and the rationale

      3    provided by the customer to determine whether,

      4    based on the totality of the information

      5    available, the order appeared reasonable and was

      6    not likely to be diverted."

      7                       Now, when it says "QRA

      8    Pharmacists," that would be including you,

      9    correct?

     10               A.      I would imagine that would be,

     11    yes, me.

     12               Q.      And when it says it reviewed the

     13    rationale provided by the customers, did the

     14    customers always provide a rationale related to

     15    a threshold event?

     16               A.      If we had the rationale, that's

     17    what we did review.

     18               Q.      Okay.

     19               A.      And, again, this is early in the

     20    process.

     21               Q.      And then it reads that "The

     22    information available may have included, for

     23    example, the customer's profile."

     24                       Well, if they're a customer, you'd

    Golkow Litigation Services                                             Page 387
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further388Confidentiality
                                                           of 402. PageID #: 224387
                                                                               Review

      1    certainly have that to your availability,

      2    correct?

      3               A.      Yes.

      4               Q.      "The customer's business type" --

      5    and those are the categories that we discussed

      6    earlier.      Independent retail?

      7               A.      Yes.

      8               Q.      Chain, government, hospital,

      9    whatever the case may be, correct?

     10               A.      Yes.

     11               Q.      This is information about whether

     12    Cardinal was the primary or secondary

     13    distributor, the drug family that triggered the

     14    threshold event, the customer's total number of

     15    threshold events in general for a specific drug

     16    family -- or excuse me -- in general and for the

     17    specific drug family and the customer's monthly

     18    drug family limit.

     19                       Did I read that correctly?

     20               A.      Yes.

     21               Q.      Now, was it during this time that

     22    the -- let me make sure I get it right --

     23    anti-diversion customer profiles were being

     24    created or utilized?

    Golkow Litigation Services                                             Page 388
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further389Confidentiality
                                                           of 402. PageID #: 224388
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3                       What time frame are we

      4               talking about?

      5               Q.      Go ahead.     You can answer.

      6               A.      I'm trying to find -- find a time

      7    frame.     I can't answer that because I'm not

      8    really sure of the time frame that that -- one

      9    of the forms came out.          But we did have

     10    information that we could evaluate.

     11               Q.      So let me also ask you -- I showed

     12    you the policy and procedure that was enacted in

     13    June of 2006 earlier today.

     14                       Do you remember that?

     15               A.      Yes, the one from the distribution

     16    centers.

     17               Q.      That Mr. Reardon signed?

     18               A.      Yes.

     19               Q.      Do you know when that went out of

     20    effect and new policies and procedures were

     21    being put in place?         Because I'll tell you, the

     22    only thing I can find related to the thresholds

     23    and stuff wasn't enacted until December of 2008.

     24                       Does that sound right?

    Golkow Litigation Services                                             Page 389
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further390Confidentiality
                                                           of 402. PageID #: 224389
                                                                               Review

      1                       MR. FULLER:      Object to the

      2               form.

      3               A.      I don't know that -- I don't know

      4    that information.         I don't know when one stopped

      5    and when one started.

      6               Q.      So, for example, if we go back to

      7    4570 -- excuse me.         4547.

      8                       MS. WICHT:      Do you know the

      9               exhibit number?       Sorry.     10?

     10                       MR. FULLER:      Exhibit 10.

     11                       MS. WICHT:      Thank you.

     12    BY MR. FULLER:

     13               Q.      If you don't want to keep digging,

     14    it's right in front of you on the screen,

     15    Mr. Forst.

     16               A.      That's fine.

     17               Q.      So this is one of those documents

     18    that you owned, right?

     19               A.      Yes.    According to the system, I

     20    was the owner of this document.

     21               Q.      And it was new and first enacted

     22    when?     When was the issue date?

     23               A.      Well, the issue date for this

     24    document is 12/22/08.          The previous issue new,

    Golkow Litigation Services                                             Page 390
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further391Confidentiality
                                                           of 402. PageID #: 224390
                                                                               Review

      1    there is a new -- I believe there was a new

      2    policies and procedures system that was set up.

      3    So any document that was added to this system

      4    possibly had the previous issue as new, so ...

      5               Q.      Well, that's because there's no

      6    older versions, right?

      7               A.      Not necessarily.

      8                       MS. WICHT:      Object to the

      9               form.

     10               A.      Not necessarily.

     11               Q.      Okay.    So you believe there's an

     12    older version of an on-site investigation policy

     13    and procedure?

     14                       Now, here's what I'm trying to

     15    lock down:      I'm trying to figure out when the

     16    changes occurred in policies and procedures.

     17    The Defendants have been ordered to tell us step

     18    by step, year by year, when policies and

     19    procedures went out, when new ones came in.                And

     20    I'm having trouble from this time frame, because

     21    as you saw, we have June of '06, right?

     22               A.      Yes.

     23               Q.      And then I don't see any new ones

     24    until December of '08.          Can you tell us when

    Golkow Litigation Services                                              Page 391
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further392Confidentiality
                                                           of 402. PageID #: 224391
                                                                               Review

      1    these new ones went into place?

      2               A.      No.

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      No, I can't, because, again, I

      6    believe this is a new system that houses the

      7    forms.     So if this is a new one or if it's one

      8    that has just been revised and it's new to the

      9    system, new would be the default of the system,

     10    that there's nothing here before this.

     11                       Well, if it's a new system, there

     12    wouldn't be anything there before it.

     13               Q.      Okay.

     14               A.      Because I know these documents in

     15    the system are referenced, and if one replaces

     16    another, but if they're all just being loaded

     17    into the system, my understanding is that means

     18    it's new.

     19               Q.      Well, that's fine.        I'm just

     20    trying --

     21               A.      If you needed to clarify it, you

     22    would probably need to talk to someone that runs

     23    the policies and procedures system that they

     24    have that houses this -- all this information.

    Golkow Litigation Services                                             Page 392
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further393Confidentiality
                                                           of 402. PageID #: 224392
                                                                               Review

      1               Q.      And who runs that; do you know?

      2    Or any idea who did run it?

      3               A.      Jason Stouffer I think is a

      4    contact.

      5               Q.      Now, is that -- does he run --

      6               A.      And he is totally -- it is all the

      7    policies of Cardinal Health.

      8               Q.      So it's not just the

      9    anti-diversion; it's everybody?

     10               A.      Everything is housed in one place

     11    as my understanding.

     12               Q.      Jason is the keeper of all that?

     13               A.      Jason Stouffer either is the

     14    keeper, or he could direct you to the keeper if

     15    he's still there, so yes.

     16               Q.      Okay.    Oh, I've been told that in

     17    2012, related to the DEA guidance, that Cardinal

     18    created more objective criteria for determining

     19    or looking at diversion issues.

     20                       Do you know what those new

     21    objective criteria were in 2012?

     22               A.      I can't recall them off the top of

     23    my head.

     24               Q.      Can you give me an example of one?

    Golkow Litigation Services                                             Page 393
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further394Confidentiality
                                                           of 402. PageID #: 224393
                                                                               Review

      1               A.      I don't want to speculate.          I just

      2    can't think of it off the top of my head right

      3    now.

      4               Q.      Well, is it the objective criteria

      5    such as the percentage of controls versus

      6    non-controls or the percentage of cash sales?

      7               A.      Those would sound familiar, so

      8    yes.

      9               Q.      You may not be sure, but you think

     10    those are some of them?

     11               A.      Yes, yes.

     12               Q.      So, again, my question is going to

     13    go to triggers.        So if that's an objective

     14    criteria, just knowing the percentage, you would

     15    agree with me doesn't do anything for us?                We

     16    have to have some sort of what's the triggering

     17    event if we're making it objective and not

     18    subjective?

     19                       Does that question make sense?

     20               A.      No.   I'm sorry.

     21                       MS. WICHT:      Object to the

     22               form.

     23               Q.      So making something objective

     24    means what to you?

    Golkow Litigation Services                                             Page 394
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further395Confidentiality
                                                           of 402. PageID #: 224394
                                                                               Review

      1               A.      It means that you have more and

      2    more data that you're looking at that's --

      3               Q.      The base?

      4               A.      The base quantifiable data --

      5               Q.      Right.

      6               A.      -- as opposed to being subjective

      7    for -- an individual might look at something and

      8    the -- two different individuals could come to a

      9    different conclusion on --

     10               Q.      Right.

     11               A.      -- the subject.

     12               Q.      So when we're looking at data and

     13    these percentages, someone could say, "Well, I

     14    don't worry about it being high until after it's

     15    50 percent."

     16                       Somebody else could say, "Well,

     17    anything above 25 is high to me."

     18                       So what I'm trying to figure out

     19    is what the threshold level was for concern on

     20    these objective criteria.           Because you have to

     21    have something to measure it against.               Just

     22    having a percentage doesn't do you any good

     23    unless you're measuring against a mark, right?

     24               A.      Right.

    Golkow Litigation Services                                             Page 395
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further396Confidentiality
                                                           of 402. PageID #: 224395
                                                                               Review

      1                       MS. WICHT:      Object to the

      2               form.

      3               Q.      So do you know what that measuring

      4    mark was for these objective criteria?

      5               A.      I don't know what that measuring

      6    mark was.       That was --

      7               Q.      Did you -- and I know we're taxing

      8    your memory on -- you know, some time ago.

      9                       But to your recollection, was

     10    there some sort of mark that Cardinal did put in

     11    place related to the differing objective

     12    criteria?       Or maybe they just said there was an

     13    objective criteria and never placed a mark.

     14               A.      I don't know that answer.

     15                       MR. FULLER:      Okay.    Let's

     16               take another quick break.          Let me

     17               look at my notes.        But I may be

     18               done with you, Mr. Forst.

     19                       THE VIDEOGRAPHER:        We're

     20               going off the record at 6:08.

     21                       (Recess taken.)

     22                       THE VIDEOGRAPHER:        We're back

     23               on the record at 6:17.

     24

    Golkow Litigation Services                                             Page 396
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further397Confidentiality
                                                           of 402. PageID #: 224396
                                                                               Review

      1    BY MR. FULLER:

      2               Q.      Mr. Forst, during your time at

      3    Cardinal, did you have any concerns about the

      4    distribution patterns of the controlled

      5    substances?

      6                       MS. WICHT:      Object to the

      7               form.

      8               A.      Could you repeat that.         I'm sorry.

      9               Q.      Sure.    During your time at

     10    Cardinal, did you have any concerns about the

     11    distribution patterns of the orders that they

     12    were filling across the country?

     13                       MS. WICHT:      Object to the

     14               form.

     15               A.      Not any orders that I reviewed,

     16    no.

     17               Q.      Did you have any concern about

     18    other orders they were filling?

     19               A.      I wouldn't have --

     20                       MS. WICHT:      Object to the

     21               form.

     22               A.      I wouldn't have seen all those

     23    orders, so I can't --

     24               Q.      Would you have seen --

    Golkow Litigation Services                                             Page 397
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further398Confidentiality
                                                           of 402. PageID #: 224397
                                                                               Review

      1               A.      -- answer that question.

      2               Q.      I'm sorry.      Go ahead.

      3               A.      I can't answer that because I saw

      4    the orders that I saw.          Other orders were

      5    processed by other people.

      6               Q.      Before you went to do the

      7    surveillance on pharmacy 2 -- CVS 219, I believe

      8    it was -- is that right?           219?

      9               A.      I believe -- I believe that's the

     10    correct number on it.

     11               Q.      Okay.    Would you have been

     12    provided with that sales data that you mentioned

     13    today made you nervous about distributing to?

     14                       MS. WICHT:      Object to the

     15               form.

     16               A.      I don't remember the information

     17    that I was provided with.

     18               Q.      So you can't say one way or

     19    another whether --

     20               A.      No, I cannot.

     21               Q.      -- that was provided to you or

     22    not?

     23               A.      No, I cannot.

     24               Q.      Did those numbers cause you

    Golkow Litigation Services                                             Page 398
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further399Confidentiality
                                                           of 402. PageID #: 224398
                                                                               Review

      1    concern being what I showed you today as to the

      2    sales pattern with at least CVS 219?

      3                       MS. WICHT:      Object to the

      4               form.

      5               A.      As I said previously, those

      6    numbers are high.

      7                       MR. FULLER:      I don't have

      8               anything further.

      9                       MS. WICHT:      We don't have any

     10               questions.

     11                       THE VIDEOGRAPHER:        We're

     12               going off the record at 6:19 p.m.

     13                                - - -

     14                  Thereupon, at 6:19 p.m., on Tuesday, January

     15    22, 2019, the deposition was concluded.

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    Golkow Litigation Services                                             Page 399
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further400Confidentiality
                                                           of 402. PageID #: 224399
                                                                               Review

      1                            CERTIFICATE
      2    STATE OF OHIO              :

                                                   SS:
      3    COUNTY OF FRANKLIN         :
      4

      5                  I, CHRISTOPHER J. FORST, do hereby certify
      6    that I have read the foregoing transcript of my
      7    cross-examination given on January 22, 2019; that
      8    together with the correction page attached hereto
      9    noting changes in form or substance, if any, it is
     10    true and correct.
     11                                     _____________________________

                                            CHRISTOPHER J. FORST
     12

     13                  I do hereby certify that the foregoing
     14    transcript of the cross-examination of CHRISTOPHER J.
     15    FORST was submitted to the witness for reading and
     16    signing; that after he had stated to the undersigned
     17    Notary Public that he had read and examined his
     18    cross-examination, he signed the same in my presence
     19    on the _______ day of _________________, 2019.
     20

                                            _____________________________
     21                                     NOTARY PUBLIC - STATE OF OHIO
     22

     23    My Commission Expires:
     24    _________________, ______.

    Golkow Litigation Services                                             Page 400
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further401Confidentiality
                                                           of 402. PageID #: 224400
                                                                               Review

      1                            CERTIFICATE
      2    STATE OF OHIO             :
                                                   SS:
      3    COUNTY OF FRANKLIN :
      4              I, Carol A. Kirk, a Registered Merit
           Reporter and Notary Public in and for the State of
      5    Ohio, duly commissioned and qualified, do hereby
           certify that the within-named CHRISTOPHER J. FORST was
      6    by me first duly sworn to testify to the truth, the
           whole truth, and nothing but the truth in the cause
      7    aforesaid; that the deposition then given by him was
           by me reduced to stenotype in the presence of said
      8    witness; that the foregoing is a true and correct
           transcript of the deposition so given by him; that the
      9    deposition was taken at the time and place in the
           caption specified and was completed without
     10    adjournment; and that I am in no way related to or
           employed by any attorney or party hereto or
     11    financially interested in the action; and I am not,
           nor is the court reporting firm with which I am
     12    affiliated, under a contract as defined in Civil Rule
           28(D).
     13
                     IN WITNESS WHEREOF, I have hereunto set my
     14    hand and affixed my seal of office at Columbus, Ohio
           on this 25th day of January 2019.
     15
     16
     17
     18                             _____________________________
                                    CAROL A. KIRK, RMR
     19                             NOTARY PUBLIC - STATE OF OHIO
     20    My Commission Expires: April 9, 2022.
     21                         - - -
     22
     23
     24

    Golkow Litigation Services                                             Page 401
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-9
               Confidential           Filed:to07/24/19
                                Subject         Further402Confidentiality
                                                           of 402. PageID #: 224401
                                                                               Review

      1                    DEPOSITION ERRATA SHEET
      2    I, CHRISTOPHER J. FORST, have read the transcript

           of my deposition taken on the 22nd day of January
      3    2019, or the same has been read to me.               I request that

           the following changes be entered upon the record for
      4    the reasons so indicated.           I have signed the signature

           page and authorize you to attach the same to the
      5    original transcript.
      6    Page    Line    Correction or Change and Reason:
      7    ___    ____    ___________________________________________
      8    ___    ____    ___________________________________________
      9    ___    ____    ___________________________________________
     10    ___    ____    ___________________________________________
     11    ___    ____    ___________________________________________
     12    ___    ____    ___________________________________________
     13    ___    ____    ___________________________________________
     14    ___    ____    ___________________________________________
     15    ___    ____    ___________________________________________
     16    ___    ____    ___________________________________________
     17    ___    ____    ___________________________________________
     18    ___    ____    ___________________________________________
     19    ___    ____    ___________________________________________
     20    ___    ____    ___________________________________________
     21    ___    ____    ___________________________________________
     22    ___    ____    ___________________________________________
     23    ___    ____    ___________________________________________
     24    Date ______________ Signature ________________________

    Golkow Litigation Services                                             Page 402
